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                 Exhibit 2
                           Marcellus Ball Deposition
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        MARCELLUS BALL v CITY OF DETROIT, SEVERY, MCCORD, ADAMS
                         Deposition of Marcellus Ball

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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

           In the Matter of:

           MARCELLUS BALL,

                 Plaintiff,                      Case No. 21-11653
                                                Hon. David M. Lawson
           vs.                         Magistrate Judge: Kimberly G. Altman

           CITY OF DETROIT, a municipal
           corporation, IAN SEVERY, an individual,
           DONNA McCORD, an individual, and
           JASON ADAMS, an individual,

                 Defendants.
           __________________________________/

                    ZOOM VIDEO CONFERENCE DEPOSITION OF MARCELLUS BALL

                               Transcript of the deposition taken in the

           above-entitled matter by Zoom video conferencing, on

           Wednesday, February 23, 2022 commencing at or about 10:00 a.m.

           APPEARANCES:

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       9      (Notice of Deposition)

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           MARCELLUS BALL v CITY OF DETROIT, SEVERY, MCCORD, ADAMS
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                                                                           Page 5
       1                         Wednesday, February 23, 2022 – 10:01 a.m.

       2                         (Deposition taken by Zoom video

       3                         conferencing.   The term “inaudible” is

       4                         used where audio fades out or audio

       5                         interference causes testimony to be

       6                         unintelligible.)

       7                         REPORTER:   Please raise your right hand.

       8         Do you solemnly swear to tell the truth, the whole truth

       9         and nothing but the truth?

      10                         MR. BALL:   I do.

      11                           MARCELLUS BALL

      12         having been called as a witness, was sworn to testify to

      13         the truth, the whole truth and nothing but the truth, was

      14         examined and testified as follows:

      15                         EXAMINATION

      16     BY MR. SMITH:

      17     Q   Thank you and good morning, Mr. Ball.     Mr. Ball, please

      18         state your full name for the record.

      19     A   My name is Marcellus Anthony Ball.

      20     Q   And Mr. Ball, I’m just going to go over some preliminary

      21         ground rules for this deposition so I can make sure that

      22         we’re on the same page.     I’m going to ask you some

      23         questions and I ask that you answer those questions based

      24         on your personal knowledge and that you not guess or

      25         speculate.   Do you understand?


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                                                                            Page 6
       1     A   Yes, sir.

       2     Q   Okay.    And we have Madame Court Reporter here who’s going

       3         to be making a transcript of everything we say, so to

       4         keep that record clean and clear, I’m going to ask that

       5         you give verbal responses using yes or no or whatever the

       6         situation may call for, you answer verbally as opposed to

       7         with gestures or sounds like ut-huh, ah-huh.

       8                     That way, we can make sure we have a good

       9         record made.    You understand?

      10     A   Yes, I do.

      11     Q   Okay.    Now, I’m going to make a deal with Mr. Ball.          I

      12         want to let me finish my question before you answer and

      13         once I complete my question, I will let you finish your

      14         answer before I move on to the next question or follow up

      15         with anything else.    Can we agree on that?

      16     A   That sounds good to me.

      17     Q   Okay.    Now, if you don’t understand a question or you

      18         don’t hear a question, I want you to let me know so I can

      19         either repeat the question you didn’t hear or rephrase

      20         the question you didn’t understand.     Does that seem fair

      21         to you?

      22     A   Very.

      23     Q   Okay.    Now, also, if you answer a question, I’m going to

      24         assume that you understood the question.       Do you

      25         understand?


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                                                                           Page 7
       1     A   Yes, sir

       2     Q   Okay.    And if you need a bathroom break, just let me

       3         know.    The only issue I have is, we won’t – I’ll put an

       4         objection on the record if there’s any bathroom breaks

       5         after I’ve asked a question, but before you answer.            Is

       6         that fair?

       7     A   Yes.

       8     Q   Okay.    Now, are you taking any medication or do you have

       9         any kind of medical condition that would interfere with

      10         your ability to understand, hear, or answer my questions

      11         completely?

      12     A   No.

      13     Q   Okay.

      14                     MR. SMITH:   And let the record reflect that

      15         this is the deposition of Marcellus Ball taken pursuant

      16         to Notice and may be used for all purposes allowable

      17         under the Federal Court Rules.

      18     Q   (By Mr. Smith)    Now Mr. Ball, in that Notice that was

      19         forwarded to your Counsel, you were requested to bring

      20         any documents, text messages, things of that sort, that

      21         you will be relying on in your deposition today.

      22                     MR. SMITH:   Brother Counsel, Mr. Ball, did you

      23         bring any documents subject to that Notice?

      24                     MR. SKLAR:   Those were produced, so it was

      25         already produced for you.


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                                                                           Page 8
       1                     MR. SMITH:   Okay.   Just so we’re clear Brother

       2         Counsel, we’re referencing the text message and the

       3         attached letter?

       4                     MR. SKLAR:   You’re asking me?

       5                     MR. SMITH:   Yes.

       6                     MR. SKLAR:   Yes.    Whatever the Response to

       7         Request for the Production of Documents is what he has.

       8                     MR. SMITH:   Gotcha.   Okay.

       9     Q   (By Mr. Smith)    Then Mr. Ball, what is your date of

      10         birth?

      11     A   4-1-60.

      12     Q   I’m sorry.    I didn’t hear you, sir?

      13     A   April 1st, 1960.

      14     Q   And what’s your current age?

      15     A   Sixty-one.

      16     Q   And what is your educational background beyond high

      17         school?

      18     A   I have a Bachelor’s Degree from Eastern Michigan

      19         University and a business certificate from Wayne State

      20         University.

      21     Q   When did you earn the Bachelor’s?

      22     A   1986.

      23     Q   And do you have any type of military background?

      24     A   No, sir.

      25     Q   And what’s your current address?      You don’t have to give


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                                                                            Page 9
       1         me the address.    Street name and city and zip code will

       2         be fine.

       3     A   Street name?

       4     Q   Yes.    Street name, city and zip code and state will be

       5         fine.

       6     A   Huntcliff Village Court, Sandy Springs, Georgia.

       7     Q   Mr. Ball, what’s your home phone number?

       8     A   248.508.2754.

       9     Q   And given that you’re in Georgia, I take it that’s a cell

      10         phone number?

      11     A   Yes, sir.

      12     Q   Okay.    So you have no land line?

      13     A   No, sir.

      14     Q   And Mr. Ball are you currently married?

      15     A   No, sir.

      16     Q   Ever been married?

      17     A   Yes, sir.

      18     Q   When were you married?

      19     A   I was married from 1996 to 2010.

      20     Q   And how did that marriage end?

      21     A   In divorce.

      22     Q   And how many children do you have Mr. Ball if you have

      23         children at all?

      24     A   One.

      25     Q   Okay.    And where are you currently employed?


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                                                                           Page 10
       1     A   The City of Atlanta, Office of Investigator General.

       2     Q   I’m having a little trouble hearing you.       Did you say

       3         City of Atlanta, Office of Investigator General?

       4     A   Yes, sir.

       5     Q   And what do you do at the City of Atlanta OIG?

       6     A   I’m Senior Investigator.

       7     Q   And when did you begin your employment with Atlanta’s

       8         OIG?

       9     A   About in November the 19th or 20th, somewhere around that

      10         time.

      11     Q   And I want to make sure I heard that right.       Did you say

      12         November 19th of 2020?

      13     A   Nineteenth or 20th of 2021.

      14     Q   2021.    Now, in this job with the Atlanta OIG, are you on

      15         a salary or are you paid hourly?

      16     A   I’m salary.

      17     Q   And what is the salary you earn in that particular

      18         position?

      19     A   Fifty-two thousand dollars a year. ($52,000).

      20     Q   And does that particular job that you’re in now offer you

      21         health care benefits?

      22     A   Yes, it does.

      23     Q   And is that who you receive health care benefits through?

      24     A   Yes, sir.

      25     Q   And what type of working hours do you keep in that


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       1         position?    Is that like a 9:00 to 5:00 or what does your

       2         schedule look like?

       3     A   They fluctuate, but mainly 9:00 to 5:00.

       4     Q   And about how many hours a week do you work?

       5     A   Forty.

       6     Q   And do you have the opportunity for overtime in that

       7         position?

       8     A   Being on salary, we don’t get overtime.      It just, you

       9         know.

      10     Q   Okay.    Now Mr. Ball, do you have any prior experience

      11         with depositions?    Have you ever been deposed before?

      12     A   Yes, sir.

      13     Q   About how many times have you been deposed?

      14     A   At least five that I can recall.

      15     Q   Let’s talk about those depositions.     On the first

      16         instance, why were you being deposed?

      17     A   On the first incident?

      18     Q   The first time you were deposed.     You said you can recall

      19         about five incidents.    On the first one you can

      20         recall --

      21     A   On my – oh, I’m sorry.

      22     Q   Yeah, just let me finish the question.      You said you can

      23         recall five times that you were deposed.       Tell me about

      24         the first time you were deposed.     Why were you deposed in

      25         that matter?


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                                                                           Page 12
       1     A   We were being sued.      My crew was being sued by a

       2         Defendant.

       3     Q   Who is “we?”

       4     A   That was like 25 years ago.

       5     Q   Okay.

       6     A   I can’t give you the instance.      All these times were very

       7         long times ago.    I was working the streets.

       8     Q   Were those depositions related to litigation involving

       9         the City of Detroit?

      10     A   Well, the City of Detroit.       I was being sued and being

      11         represented by the City of Detroit if that’s what you

      12         want to call it.

      13                     MR. SKLAR:   Yeah.   Let me object just to lack

      14         of foundation.

      15                     MR. SMITH:   Understood.

      16     Q   (By Mr. Smith)    The other incidents that you were

      17         deposed, so let me rephrase it this way.       All the

      18         incidents that you can recall being deposed in involved

      19         your employment with the City of Detroit?

      20     A   Correct.

      21     Q   And I want to make sure I heard you right.      You said

      22         those depositions occurred some time ago?

      23     A   Yes, sir.    I just recently had one with one of the City

      24         attorneys.    He just retired I think last summer.        That’s

      25         the last one I had.


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       1     Q   And were you deposed as a witness or as a named Defendant

       2         in that matter?

       3     A   I think I was a named Defendant.       It was a gentleman who

       4         said he was falsely arrested as a result of a bad

       5         identification by a victim.

       6     Q   Now, outside of being a named Defendant in that

       7         particular city matter, have you been involved as a party

       8         in any other litigation?

       9     A   As far as I’m trying to follow you on that.

      10     Q   Sure.    Whether in your work capacity or in your personal

      11         life, have you ever been involved as a named party

      12         whether Plaintiff or Defendant in any other litigation?

      13     A   My divorce.

      14     Q   Now Mr. Ball, did you meet with your attorney to prepare

      15         for this deposition today?

      16     A   Yes.

      17                     MR. SKLAR:   By phone, not personally but,

      18         Marcellus, you are not to talk about the contents of that

      19         conversation.    Okay?

      20                     THE WITNESS:   Yes.

      21                     MR. SKLAR:   You are not to talk about the

      22         contents of any communications between you and I.

      23                     THE WITNESS:   Yes, sir.

      24                     MR. SKLAR:   It’s attorney-client privilege.

      25     Q   (By Mr. Smith)     Mr. Ball, was there anyone else on the


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                                                                          Page 14
       1         phone during this meeting with you and your attorney?

       2     A   No.

       3     Q   And I want to be very careful on this question.        Outside

       4         of the documents which your Counsel has said were

       5         produced in discovery to us, have you reviewed any

       6         documents or writings of any kind in preparation for this

       7         deposition?

       8     A   No.

       9     Q   Are you working off any notes presently?

      10     A   No.

      11     Q   And since filing your lawsuit have you had any

      12         conversations with any DPD employees?

      13     A   That’s a broad question.      I have friends who are DPD

      14         employees.

      15     Q   Is that a yes or a no, Mr. Ball?

      16                    MR. SKLAR:   objection.   Let me just make my

      17         foundation.   Form and foundation.    Present, past,

      18         currently, exactly what are you asking for?      Anybody in

      19         the world who may work for the City?

      20                    MR. SMITH:   No.   My question I think is pretty

      21         direct.

      22     Q   (By Mr. Smith)   Since he has filed his lawsuit and if you

      23         need me to put it on the record when that lawsuit was

      24         filed, have you had any conversations, well, let me

      25         rephrase it this way.    Since filing your lawsuit, have


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                                                                           Page 15
       1         you had any conversations with any DPD employees about

       2         your lawsuit?

       3     A   No.    I’ve had well-wishers, but no direct conversations

       4         with anybody.

       5     Q   And Mr. Ball since filing your lawsuit, have you spoken

       6         to anyone in the media regarding your lawsuit?

       7     A   Yes.

       8     Q   Okay.    Who have you spoken to and what day did you speak

       9         with them on if you can recall?

      10     A   I don’t recall the date.    One was around the date that I

      11         reported the incident and that was with a gentleman, I

      12         think his name was Colquitt from WDIV and there was

      13         Carolyn Clifford from WXYZ and there was some journalist

      14         from Ohio who was doing a podcast.     I don’t recall her

      15         name.

      16     Q   Let me ask you about the WDIV interview.       What date do

      17         you recall that interview occurring on if at all, if you

      18         recall?

      19     A   It was the date that I had the meeting with Donna McCord

      20         and Ian Severy whatever date that was.

      21     Q   Did you call WDIV?

      22     A   No, sir.

      23     Q   Do you know who called WDIV on your behalf, if anyone?

      24     A   No.    I don’t know who called.   I don’t know who called on

      25         my behalf.


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                                                                          Page 16
       1     Q   So how did you end up on the news?

       2     A   When I went to meet with my attorney.

       3     Q   When did you find out that you would be going to the news

       4         to speak with them about your accusations?

       5     A   When I got to his office he told me.

       6     Q   Do you recall what time that was?

       7     A   It was in the late afternoon.

       8     Q   And so I understand the timeline and we’ll get more into

       9         this, your incident with Lieutenant McCord and Captain

      10         Severy, what part of the day did that occur in?

      11     A   Mid-afternoon.

      12     Q   Mid-afternoon.    Now, your interview with Carolyn

      13         Clifford, WXYZ, did you call them?     How was that

      14         interview set up to your knowledge?

      15     A   That was set up with my attorney.     You’ll have to ask

      16         him.

      17     Q   Okay.    Now Mr. Ball, when were you hired by DPD?       When

      18         did you join the force?

      19     A   July 28, 1986.

      20     Q   And so it’s fair to say you successfully progressed

      21         through the Police Academy and you became a sworn

      22         officer?

      23     A   Yes.

      24     Q   And in carrying out your duties as a sworn officer, you

      25         understand that you have to comply with the US and


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       1         Michigan Constitution.    Correct?

       2     A   Yes.

       3     Q   And as a sworn member of the Department, you understood

       4         that you were required to follow Detroit Police

       5         Department’s Manual of regulations?

       6     A   Yes, sir.

       7     Q   As well as other policies and procedures of the

       8         Department?

       9     A   Yes.

      10     Q   I want to backtrack one second Mr. Ball.      So as far as

      11         the interviews, so I want to be clear.      You didn’t set

      12         the interviews up?

      13     A   No.    You would have to talk to my attorney Mr. Perkins.

      14     Q   And so now I want to talk about your career with DPD.

      15         I’m going to pull up what is labeled as Defendants’

      16         Exhibit 3, with Exhibit 1 being the Notice of Dep and

      17         Exhibit 2 being the Summons and Complaint.

      18     A   Yes, sir.

      19                     (At 10:21 a.m., Defendants’

      20                     Exhibits 1, 2, and 3 marked)

      21                     MR. SMITH:   And Brother Counsel, I’m going to

      22         share my screen to give you a chance to look at the

      23         document here. Can you see that document Brother Counsel?

      24                     MR. SKLAR:   I can.

      25                     MR. SMITH:   And for the record Brother Counsel,


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                                                                          Page 18
       1         this document is Bates stamped 000335.

       2     Q   (By Mr. Smith)    Mr. Ball, are you familiar with DPD’s

       3         Management Awareness System commonly known as MAS?

       4     A   Yes, sir.

       5     Q   Okay.    And here I have what I’m purporting to be your MAS

       6         Sheet and I’m going to give you a chance to look at it

       7         here.    Let me know when I can scroll down.

       8     A   You can scroll down.

       9     Q   Can you see this pretty good?

      10     A   Yes.

      11     Q   Okay.    I am going to take this document back to the top

      12         because I want to focus in just on the part where it

      13         talks about Assignment History.

      14     A   Yes.

      15     Q   Okay.    So according to this, out of the Academy you were

      16         assigned to a mini station section?

      17     A   Yes.

      18     Q   Okay.    And then you were assigned to the 12th Precinct?

      19     A   Correct.

      20     Q   And isn’t that as a patrol officer.     Correct?

      21     A   Yes.

      22     Q   And then as a patrol officer you were assigned to

      23         Narcotics Enforcement?

      24     A   Yes.

      25     Q   Okay.    And then you went back to the 12th Precinct?


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                                                                            Page 19
       1     A   Yes.    I got promoted.

       2     Q   And you were promoted to what?

       3     A   Sergeant.

       4     Q   Okay.    And that’s at the 12th Precinct?

       5     A   Yes.

       6     Q   And what year were you promoted to sergeant in?

       7     A   1996.

       8     Q   And so as a sergeant you went back to the Narcotics

       9         Division?

      10     A   Yes.

      11     Q   Okay.    And who did you report to while at the Narcotics

      12         Division?

      13     A   Rudy Thomas.    Commander Rudy Thomas.

      14     Q   Okay.    So who was your lieutenant that you reported to?

      15     A   James Lasbro. (phonetic).     I had several lieutenants.

      16     Q   Was Jacqueline Pritchard one of them?

      17                     MR. SKLAR:    Hold on for a second.     Wait a sec.

      18         I was knocked off for a while.

      19                     MR. SMITH:    Oh, wow.

      20                     MR. SKLAR:    So I missed probably the last

      21         minute.

      22                     MR. SMITH:    Okay.   I didn’t realize that.

      23                     MR. SKLAR:    Yeah, it froze up.   I’m getting

      24         reconnected.

      25                     MR. SMITH:    Okay.   When you get your issue


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                                                                           Page 20
       1         worked out, I’ll have Madame Reporter readback the

       2         record.

       3                     MR. SKLAR:   Yeah.   Can you do that for me,

       4         please?

       5                     MR. SMITH:   Madame Reporter, would you readback

       6         I guess the last minute of the record?

       7                     MR. SKLAR:   Just what the question was.       I

       8         don’t care about the answer.

       9                     MR. SMITH:   I think the question was regarding

      10         his supervisors while at the Narcotics Division when he

      11         became sergeant.

      12                     MR. SKLAR:   Okay.   All right.   Keep going.

      13                     MR. SMITH:   Okay.

      14     Q   (By Mr. Smith)    Mr. Ball, the question I asked you was

      15         Jacqueline Pritchard one of those lieutenants while you

      16         were at Narcotics Enforcement?

      17     A   I’m not sure if she was or not.     I was assigned out to

      18         the feds.    I had several lieutenants.    She could have

      19         been.    I don’t really recall.   I was there for quite some

      20         time, but I was assigned out even longer, so I couldn’t

      21         tell you for sure if she was or not.

      22     Q   Okay.    So you go to the 6th Precinct and you spent some

      23         time there as sergeant.    Correct?

      24     A   Yes.

      25     Q   Now, were you patrol sergeant or were you in a


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                                                                           Page 21
       1         specialized unit?

       2     A   I was patrol at first and I later went to the Detective

       3         Unit.    I transferred to the 8th Precinct Detective Unit

       4         which was in the same building.

       5     Q   Okay.    And so from there you went over, is that when you

       6         went over to the Criminal Investigation Unit as well?

       7     A   Yes.    Criminal Investigation and the IOU were like hand-

       8         in-hand.

       9     Q   I’m sorry.    You said a designation I’ve never heard.          Was

      10         it IOU?

      11     A   Yes.    It says 8th Precinct IOU on the sheet.     That’s

      12         Investigative Operations Unit.

      13     Q   Now, during your stint in the Narcotics Division, on your

      14         MAS Sheet it says from April 13, 1998 to December 18,

      15         2009.    Why did you leave that particular command?

      16     A   It was on a new command and going in a different

      17         direction and it was time to go.

      18     Q   Were you asked to put in your transfer?

      19     A   No.    I was told that I was transferred.    That’s an at-

      20         will unit.

      21     Q   At-will.    Okay.   At what point did you meet Jacqueline

      22         Pritchard, well, now I believe she’s either a captain or

      23         commander, but at what point did you meet Jacqueline

      24         Pritchard in your DPD career?

      25     A   I met her early on in my career.     I’ve been knowing her


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                                                                          Page 22
       1         for a while.

       2     Q   At what duty location did you meet her?

       3     A   At what duty location?     Probably if I can recall

       4         correctly the 8th Precinct Detective Unit.

       5     Q   And so according to your – well, first, how many years

       6         have you known her?

       7     A   Several.    I mean, I’ve known her throughout my career.

       8     Q   Well, let me help you narrow this down.        Have you known

       9         her more than ten years?

      10     A   Yes.

      11     Q   Have you known her more than 20 years?

      12     A   Probably.

      13     Q   And so to pick up, in July of 2017 to June of 2018 this

      14         says General Assignment.      I don’t understand what that

      15         means.    What assignment was that?     Where did the

      16         Department send you?

      17     A   That was the Illegal Dumping Unit.

      18     Q   Okay.    And who did you report to in that unit?        Who was

      19         your direct report?

      20     A   Lieutenant Rebecca McKay.

      21                     COURT REPORTER:    Excuse me, Mr. Smith.       It

      22         looks like we lost Mr. Sklar again, so maybe we should

      23         hold up for a minute.

      24                     MR. SMITH:   We will.

      25                     THE WITNESS:   Can I step away for one second?


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                                                                          Page 23
       1                    MR. SMITH:   Mr. Ball, Mr. Ball, I am going to

       2         object to you stepping away --

       3                    THE WITNESS:   I’m just going right here.        The

       4         plug is coming out of the wall.      I’m just going to put

       5         the plug in right here.

       6                    MR. SMITH:   Okay.   Because I prefer to have

       7         your Counsel back on.

       8                    MR. SKLAR:   You guys got me?

       9                    MR. SMITH:   Yes.

      10                    MR. SKLAR:   Okay.   I don’t know what’s

      11         happening, but okay.    I apologize.

      12                    MR. SMITH:   Brother Counsel, it might help if

      13         you get closer to your signal based on whatever location

      14         you’re at.

      15                    MR. SKLAR:   I’m as close as I can get.

      16                    MR. SMITH:   Okay.

      17                    MR. SKLAR:   I can’t get any closer than this.

      18                    MR. SMITH:   All right.   Did you miss any part

      19         of the record that I need to go back and repeat, any

      20         questions?

      21                    MR. SKLAR:   I know you were talking about

      22         Jacqueline Pritchard, I believe.

      23                    COURT REPORTER:     We stopped immediately.      I get

      24         a signal when he goes out, I get a tone, and that’s when

      25         I indicated to you Mr. Smith that we lost him and to


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                                                                          Page 24
       1         wait.

       2                     MR. SKLAR:    Okay, cool, so pick up.   I

       3         apologize.    Let’s hope this doesn’t --

       4     Q   (By Mr. Smith)    Okay.   And I think Mr. Ball we left off

       5         with we were talking about your time in the Illegal

       6         Dumping Unit.    I think the last thing you indicated was

       7         that you reported directly to Rebecca McKay?

       8     A   That’s correct.    Yes, sir.

       9     Q   And now did you transfer out of that dumping unit as well

      10         or did you initiate the transfer out of that unit or did

      11         the Department say, hey, were transferring you?

      12     A   Well, it depends on how you look at it.      I made a

      13         complaint against Lieutenant McKay and during the course

      14         of that investigation, they sent me to another unit which

      15         was Domestic Violence.

      16     Q   When did you make that complaint against at the time of

      17         Lieutenant McKay?    What year was that?

      18     A   Let me see when I was there.     Probably around 2018.

      19     Q   So while we’re on the subject, let’s just talk about the

      20         process of what happens when you make a complaint.          So

      21         when you made that complaint, who did you make the

      22         complaint to?

      23     A   I made it to her at first.

      24     Q   Okay.    Then who did you make it to next?

      25     A   I think I went to Commander – I don’t know if he was a


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       1         commander or a deputy chief, but it was Marlon Evans.              I

       2         couldn’t tell you how the chain goes.

       3                    COURT REPORTER:   Marlon Evans?

       4                    THE WITNESS:   Yes.   Marlon Wilson.     I’m sorry.

       5         Marlon Evans is another lawyer.     I’m sorry.     Excuse me.

       6                    COURT REPORTER:   Thank you.

       7     Q   (By Mr. Smith)    And let me ask, was your union involved

       8         in that complaint?

       9     A   If you want to call it that.     When I went to the union, I

      10         talked with Mark Young and I told him my concerns and he

      11         told me some battles weren’t worth fighting and he could

      12         send me wherever I wanted to go.

      13     Q   I’m sorry.   I don’t mean to interrupt you, Mr. Ball.

      14         Finish your statement, sir.

      15     A   And I told him I was (inaudible).

      16     Q   And for the record, who is Mark Young?

      17     A   The Union President.

      18     Q   And just for the record, the union is the Detroit Police

      19         Lieutenants’ and Sergeants’ Association.      Is that

      20         correct?

      21     A   That’s correct.

      22     Q   Commonly known as DPLSA or just LSA.      Is that correct?

      23     A   LSA.

      24     Q   Now, was there an investigation conducted in regards to

      25         your complaint?


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                                                                          Page 26
       1                    MR. SKLAR:     I’ll object to form and foundation.

       2         You can answer.

       3                    THE WITNESS:    I believe so.

       4     Q   (By Mr. Smith)    And were you permitted to stay in the

       5         Dumping Unit while the investigation was conducted or

       6         were you assigned out pending the findings of that

       7         investigation?

       8     A   I was assigned out.     I don’t know if it was pending the

       9         outcome of the investigation, but I was assigned out.

      10     Q   Now, is that typically how the Department handles

      11         complaints between let’s say a sergeant and their

      12         lieutenant or an officer and the sergeant?      I’ll just let

      13         you answer.   Is that typically how they handle that

      14         matter?

      15                    MR. SKLAR:     I’ll object to form and foundation

      16         again.    You can answer if you have one.

      17                    THE WITNESS:    I can’t tell you how all

      18         complaints are handled, but I can only speak under how

      19         mine was handled.

      20     Q   (By Mr. Smith)    Okay.   And how many years have you known

      21         Rebecca McKay?

      22     A   Maybe 15 years.   We worked together when we were at

      23         Narcotics as well.

      24     Q   And what was the subject of the investigation that you

      25         were assigned out for?


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                                                                          Page 27
       1     A   As the OIC of a unit, you have the autonomy to run the

       2         unit the way you see fit as long as you’re – even though

       3         you’re following the rules and regulations, and my

       4         concern was that people who weren’t the focus of the

       5         investigations were being questioned without giving them

       6         their Miranda rights and you knew that they were

       7         eventually going to be arrested and I know in some cases

       8         you don’t have to give the person their Miranda rights,

       9         but I wanted people under my supervision span of control

      10         to advise a known subject who we knew we were going to

      11         arrest, I wanted them to advise him of his Constitutional

      12         rights, especially if an arrest was imminent and she did

      13         not like that.

      14     Q   I understand that, but I quess my question again is, what

      15         was the outcome of the investigation?      You said the

      16         Department conducted an investigation and I’m just

      17         curious what the results were.     What did the Department

      18         say?

      19                    MR. SKLAR:   I’ll object to form and foundation

      20         again.   If you know, go ahead and give a response.

      21                    THE WITNESS:   I don’t know what the Department

      22         said, but I know that I was called into – she was a

      23         commander at the time, Elaine Bryant’s office, and I was

      24         taken down there by Captain Joseph Tucker and when I got

      25         to her office, she told me that I was not a good fit here


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       1         and I would be sent to the 12th Precinct and that was the

       2         reason.   They didn’t give me a reason why I was not a

       3         good fit.   I asked her at the meeting.     I said, “Well,

       4         can I apply again for the Domestic Violence Unit,” and

       5         she said, “No,” and reiterated once again that I was no

       6         longer a good fit.

       7     Q   Did Rebecca McKay remain in charge of that unit --

       8     A   Yes.

       9     Q   -- after you left, and did she receive any promotion

      10         after that in the Department?

      11                     MR. SKLAR:   Hold it.   Let me just get my

      12         objection out.   Form and foundation.     Give an answer if

      13         you have one.

      14                     THE WITNESS:   I don’t know how long after that,

      15         but I am aware now that she is a captain.

      16     Q   (By Mr. Smith)   Okay.     And as a result of filing that

      17         complaint and the investigation that followed, did you

      18         receive any form of discipline from the Department?

      19                     MR. SKLAR:   I’ll object to form and foundation

      20         again.

      21                     THE WITNESS:   No.   I was transferred to the

      22         12th Precinct unwillingly.

      23     Q   (By Mr. Smith)   And did you ask your union representative

      24         to file a grievance about that transfer?

      25     A   I don’t know if I did or not.       After speaking to Mark


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                                                                          Page 29
       1         Young and he told me what he told me, I don’t know if I

       2         did or not because what would be the purpose if he

       3         already told me that some battles are not worth fighting.

       4     Q   Okay.    And so from the Dumping Unit according to your MAS

       5         Sheet, you go over to the 12th Precinct.

       6     A   Yes.

       7     Q   Now, what was your role at the 12th Precinct?

       8     A   I was a Patrol Supervisor.    They call it a one-for-one

       9         transfer.    Apparently, I had heard and I’m not

      10         speculating, they wanted a sergeant from No. 12 to

      11         replace my position at the General Assignment Unit, so

      12         they did what’s called a one-for-one.      I went to the 12th

      13         Precinct and he went to the Illegal Dumping Unit, General

      14         Assignments.

      15     Q   Now, in the period that you joined DPD as a Patrol

      16         Sergeant up until the point you’re at the 12th Precinct,

      17         to your knowledge did any officers or supervisors make

      18         any complaints against you to your knowledge?

      19     A   Not to my knowledge.

      20     Q   And Mr. Ball, you don’t have any issues relating to

      21         female supervisors, do you?

      22     A   I have no issues relating to females, period.

      23     Q   So according to your MAS Sheet you go from the 12th

      24         Precinct where you indicated you were a Road Patrol

      25         Sergeant to where this says Investigative Operations?


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                                                                          Page 30
       1     A   Yes.

       2     Q   Okay.    And it says you go into Investigative Operations

       3         in July of 2018.    I guess tell me about Investigative

       4         Operations?    What does that mean?

       5     A   That’s the same, basically the same thing as the Criminal

       6         Investigation Unit where I had been working.      It’s a

       7         detective unit.    It’s been labeled several different

       8         things.    I think now it’s called the Precinct Detective

       9         Unit, PDU, but that’s where I am.     That’s where I was

      10         until I retired.

      11     Q   Now, Investigative Operations, is that something that is

      12         inclusive of all DPD’s policings?

      13     A   Each precinct has an Investigative Operations Unit.           Mine

      14         was 10-PDU which was 10th Precinct Detective Unit.          The

      15         12th Precinct has one; 12-PDU, 9-PDU and so forth.

      16     Q   And so in your MAS Sheet when it shows you went from 12th

      17         Precinct to Investigative Operations, you were going to

      18         the 10th Precinct’s PDU at that time.      Is that correct?

      19     A   Well, Investigative Operations is a unit within itself

      20         and they can send you to anywhere they seen fit.         Even

      21         though I was assigned to the Investigations Operations,

      22         at any time they could have sent me to any other

      23         Investigative Operations Unit throughout the city.          It

      24         just so happened that they sent me to the 10th Precinct.

      25                     I was sent to the 6th Precinct at first.        When


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       1         I arrived at the 6th Precinct, I was informed by the

       2         commander that I had been transferred to the 10th

       3         Precinct before I even got into the door at the 6th

       4         Precinct, so that’s how that goes.      Wherever they need

       5         you, that’s where you go.

       6     Q   Okay.    Thanks for clearing that up.    So to your knowledge

       7         what month and year did you show up on the doorsteps of

       8         the 10th Precinct’s PDU?

       9     A   7-30-2018.

      10     Q   Okay.    So that date is accurate?

      11     A   That’s approximately.    I couldn’t tell you for sure, but

      12         that seems to be right.

      13                     MR. SMITH:   One moment here, Mr. Ball.

      14                     MR. SKLAR:   Hello?   All right.   Sorry about

      15         that.    I hope this doesn’t continue.   I apologize.

      16                     MR. SMITH:   Did you get kicked off, Brother

      17         Counsel?

      18                     MR. SKLAR:   I did.   I just got kicked back on.

      19         Just keep going whatever is going on.      Just keep asking

      20         your questions.

      21                     MR. SMITH:   All right.   Thank you.

      22     Q   (By Mr. Smith) So I want to take this time and we’ll talk

      23         about some of the duties of a sergeant just overall, so

      24         I’m going to stop sharing my screen here and Mr. Ball and

      25         Brother Counsel, I’m going to present to you what I have


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                                                                          Page 32
       1         labeled as Defendants’ Exhibit 10.     I’m jumping around

       2         here and I’m going to share my screen and give you a

       3         chance to peruse it.

       4                     (At 10:45 a.m., Defendants’

       5                      Exhibit 10 marked)

       6     Q   (By Mr. Smith)    And can you see this document Mr. Ball

       7         and Brother Counsel?

       8     A   Yes, sir.

       9     Q   Okay.    And this is Detroit Police Department Manual,

      10         Directive 101.2 labeled Department Rank Structure and I

      11         want to direct your attention to 101.2-1 labeled Policy

      12         and I’ll give you a chance to read that Mr. Ball.         Let me

      13         know when you’re done.

      14     A   Okay.    Part of it is cut off by the pictures to the

      15         right.

      16     Q   Here.    Let me see if I can enlarge it.    Does that help?

      17     A   It’s still cut off.      I can read:

      18                     “The structure of the Detroit Police Department

      19              (DPD is designed for effect,”--      and then it cuts

      20              off.

      21         Then it goes to:

      22                     “ . . achieving the Department’s mission.         The

      23              Chief of Police is responsible.”

      24                     MR. SMITH:   Can you see that Brother Counsel?

      25         I want to make sure that it’s not a technical issue on my


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                                                                           Page 33
       1         end.

       2                     COURT REPORTER:   You have to make the document

       3         a little smaller so that the photos don’t overlay.

       4                     MR. SKLAR:   There you go.

       5                     MR. SMITH:   Sorry about that.

       6     Q   (By Mr. Smith)    Can you see it now, Mr. Ball?

       7     A   Yes, sir.

       8     Q   Okay.    Now, I want you to look at 101.2-1 Policy.

       9     A   Yes, sir.

      10     Q   Let me know when you’re done reading it, Mr. Ball.

      11     A   Yes, sir.    Okay.    I’m ready.

      12     Q   Okay.    And I’m going to read the third sentence there.

      13         It says:

      14                     “DPD members have responsibilities which are

      15                commensurate with rank.     Within the rank structure,

      16                supervisors may delegate appropriate duties to

      17                subordinates.   Supervisors are accountable for the

      18                activities of members under their immediate control.

      19                It is the policy of the DPD to provide uniform

      20                direction to all members through an established

      21                chain of command in order to promote consistency,

      22                reduce confusion, and enhance public safety

      23                operations.”

      24         And so is it clear to you within the DPD Manual and the

      25         reading of this policy that there are some duties that


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                                                                          Page 34
       1         are specifically attributed to you as a sergeant?

       2     A   Yes.

       3     Q   Okay.    So then I want to go down to, I’ll scroll down to

       4         Directive 101.2-14.      It starts on the bottom of page 7.

       5         I’ll give you an opportunity to read that, Mr. Ball.           Let

       6         me know when I need to scroll down.

       7     A   Okay.    You can scroll down.

       8     Q   Okay.    I’m going to go back up here and read, so 101.2-14

       9         labeled Sergeant.

      10                     “A sergeant shall be directly accountable to

      11                the lieutenant in charge of a specific assignment.

      12                In the absence of a lieutenant, the designated

      13                sergeant or senior ranking sergeant shall assume the

      14                duties and responsibilities of the lieutenant.”

      15         I am going to stop right there for just a second so I can

      16         ask this question.    So based on this policy if your

      17         lieutenant is not around, as a sergeant you have

      18         additional duties that you’re responsible for.        Is that a

      19         fair reading of that policy, Mr. Ball?

      20                     MR. SKLAR:    Object to form and foundation.

      21         Your understanding is fine.     Go ahead.

      22                     THE WITNESS:    Yeah.   Yes, sir.

      23     Q   (By Mr. Smith)    Okay.    Now it says:

      24                     “A sergeant shall be responsible for the

      25                following duties.”


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                                                                          Page 35
       1         I won’t read all that but I want to skip down to point 2.

       2         Subsection 2, I should say. It says:

       3                     “A sergeant shall assume any other duties and

       4              responsibilities, which may be delegated by a

       5              superior officer or as set forth in Department

       6              rules, regulations, directives, orders, or

       7              procedures.”

       8         Here’s my question, Mr. Ball.     On a reading of subsection

       9         2, would you agree that you can have additional duties

      10         based on what’s said in the Department rules,

      11         regulations, directives, orders, or procedures?

      12                     MR. SKLAR:   Well, I’ll object to form and

      13         foundation.    You can answer.

      14                     THE WITNESS:   Yes.

      15     Q   (By Mr. Smith)    I’m sorry.   I didn’t hear you, Mr. Ball.

      16     A   I said yes.

      17                     MR. SMITH:   I’m going to stop sharing my screen

      18         because I have another directive and forgive me.         I have

      19         three computer screens and my mouse is all over the place

      20         here.

      21                     I’m going to present to you Mr. Ball and

      22         Brother Counsel what I have marked as Defendants’ Exhibit

      23         9.

      24                     (At 10:51 a.m., Defendants’

      25                      Exhibit 9 marked)


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                                                                          Page 36
       1     Q   (By Mr. Smith)     I am going to share this document and can

       2         you see that, Mr. Ball?

       3     A   Yes.   This has to be – okay, I can see it now.

       4     Q   And this is DPD Manual Directive 101.10 labeled

       5         Supervision and Mr. Ball, I want to direct your attention

       6         to 101.10-1 Purpose and I’ll just read it for times sake.

       7         It says:

       8                    “The purpose of this directive is to provide

       9                all supervisors of the Department with an overview

      10                of Department expectations and general principles of

      11                supervision.”

      12         The question I have for you Mr. Ball is a sergeant is

      13         considered a supervisor.     Correct?

      14     A   Yes.

      15     Q   And I now want to direct your attention to that same

      16         directive, 101.10-4 General Expectations:

      17                    “The Department has the following general

      18                expectations of supervisors.”

      19         I’m not going to read all that, but I just want to hop

      20         down to (d).      It says:

      21                    “All supervisors shall strive to maintain a

      22                high level of quality in reports generated by

      23                members.   Supervisors shall check all reports for

      24                necessary elements, legibility, and clarity.       When

      25                verifying an arrest report, the supervisor is


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       1                indicating that they have made a determination that

       2                probable cause exists for the arrest.    In the event

       3                a supervisor determines an arrest is lacking in

       4                probable cause, the arrested person shall be

       5                released, and the supervisor shall verify the report

       6                only after it is noted on the report that the person

       7                was not held and the reason(s).”

       8         Mr. Ball, given what I’ve read, would this not apply to

       9         you as a sergeant which we agreed that you are a

      10         supervisor?   Would this provision apply?

      11     A   Yes.

      12     Q   I’m going to stop sharing my screen here.      Now, in that

      13         directive it talks about probable cause.      In your 35

      14         years of policing experience as both a patrol officer and

      15         a sergeant, what do you understand that term to mean?

      16     A   What do I think that term probable cause means?

      17     Q   That’s correct, Mr. Ball.

      18     A   Probable cause to me is that a crime has been committed

      19         and you have probable cause to believe that you, the

      20         person arrested has committed the crime and I go from

      21         there.

      22     Q   And is it your understanding being formed by your years

      23         of policing that probable cause is a requirement of a

      24         valid arrest?

      25     A   Yes.


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                                                                          Page 38
       1                     MR. SMITH:   I am going to share some additional

       2         Department directives with you here.

       3                     (At 10:55 a.m., Defendants’

       4                      Exhibit 8 marked)

       5     Q   (By Mr. Smith)    I am going to share my screen here.

       6     A   Okay.

       7                     MR. SMITH:   And Brother Counsel if you wouldn’t

       8         mind being mindful of the time for us so we don’t miss

       9         our status conference.

      10                     MR. SKLAR:   We got about an hour before we’ve

      11         got to check in.

      12     Q   (By Mr. Smith) Let me reduce this here.      Can you see this

      13         document, Mr. Ball?

      14     A   Yes.

      15     Q   Now, this is Detroit Police Department Manual Directive

      16         202.1 labeled Arrests and Mr. Ball I want to direct your

      17         attention to 202.1-1 Purpose.     It says:

      18                     “To provide guidelines and procedures for

      19                members of the Detroit Police Department (DPD) in

      20                making lawful arrests, the detention of material

      21                witnesses, to provide supervisory review of arrests

      22                for probable cause, and to provide for prompt

      23                judicial review of arrests.”

      24         So upon me reading this to you Mr. Ball, would it be fair

      25         to say that this directive lays out the guidelines that


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                                                                           Page 39
       1         officers must follow when making arrests?

       2     A   I’ll say yes.

       3     Q   Yeah.    I want to direct your attention to 202.1-2 that

       4         talks about Policy.    I’ll read it.

       5                     “Short of the application of force, an arrest

       6              is the most serious action an officer can undertake.

       7              An arrest can cause repercussions throughout a

       8              person’s life, even if eventually found not guilty

       9              or never brought to trial.     The most important legal

      10              question facing an officer at the moment of arrest

      11              is the existence of probable cause.       Without

      12              probable cause, the arrest is illegal and the

      13              evidence of criminality that was obtained because of

      14              the arrest is inadmissible.     It is the policy of the

      15              DPD:

      16              - That no person shall be arrested with less than

      17              probable cause having been established at the time

      18              of the arrest;

      19              - That a DPD supervisor shall review every arrest;

      20              and in all instance in which a probable cause

      21              determination is made, document same on the CRISNET

      22              report;

      23              - That for all arrests unsupported by probable

      24              cause, the Review of Arrest Exception Form) UF-001)

      25              shall be completed within twelve (12) hours of the


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                                                                          Page 40
       1                event;

       2                    - That for every arrestee, a warrant request

       3                for arraignment on the arrest shall be submitted to

       4                the Prosecutor’s Office within forty-eight (48)

       5                hours of arrest;

       6                - That in every instance in which an exception of

       7                this Department’s prompt judicial review policy

       8                occurs, the exception shall be documented on the

       9                Warrant Tracking Hold Form (UF-004/007); and,

      10                - That all arrests in which an arraignment warrant

      11                was not sought, the Warrant Tracking Hold Form (UF-

      12                004/007) shall be completed within twelve (12)

      13                hours.”

      14         The question I have for you Mr. Ball, based on the policy

      15         I just read to you, does this policy not clearly state

      16         that an arrest without probable cause is illegal?

      17     A   Yes.

      18     Q   I want to direct your attention to 202.1-3 Definitions.

      19         Under that there is 202.1-3.1 which talks about Arrest.

      20         It defines arrest and I’ll read it.     It says:

      21                    “An arrest is a seizure of greater scope or

      22                duration than an investigatory or Terry stop.        An

      23                arrest is lawful when supported by probable cause.”

      24         Mr. Ball, the question I have for you is, under that

      25         definition of Arrest, it clearly says that an arrest is


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                                                                          Page 41
       1         lawful if it’s supported by probable cause.      Is that

       2         correct?

       3     A   Yes.

       4     Q   The same subsection also defines Probable Cause at 202.1-

       5         3.4 Probable Cause.    It says:

       6                    “A reasonable belief that an individual has

       7                committed, is committing, or is about to commit an

       8                offense.”

       9         Can we both agree that the DPD Manual lays out its

      10         definition of what probable cause is?

      11     A   Yes.

      12     Q   I want to direct your attention within that same

      13         directive to 202.1-4 Authority and within that, I want

      14         you to look at 202.1-4.3 labeled Illegal Arrest and I’ll

      15         read it.   It says:

      16                    “Unlawful restraint of a person’s liberty for

      17                any length of time is considered an illegal arrest.

      18                    Even if justified, a restraint of an individual

      19                may be considered unlawful if executed in an

      20                unreasonable manner.

      21                    An officer who restrains or arrests a person

      22                unlawfully is subject to criminal and/or civil

      23                sanctions, as is every person who aids in the

      24                unlawful arrest.

      25                    Officers shall bear in mind that every person


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       1                has a lawful right to resist an illegal arrest.

       2                However, a citizen’s right to resist an unlawful

       3                arrest does not include the right to use deadly

       4                force.”

       5         The question I have for you Mr. Ball is this Department

       6         guideline clearly articulates what an illegal arrest is.

       7         Is that correct?

       8     A   Yes.

       9     Q   Okay.    And it also clearly says that an officer who

      10         arrests a person unlawfully is subject to criminal and/or

      11         civil sanctions.     Is that correct?

      12     A   Yes.

      13     Q   Would you agree that an officer who makes an illegal

      14         arrest, that’s misconduct?

      15                     MR. SKLAR:   I’ll object to form and foundation.

      16          You can go ahead and give an answer if you have one.

      17                     THE WITNESS:   I can’t say that it’s misconduct.

      18         I think I’ll have to go by a case-by-case basis, so I’m

      19         not going to make a broad statement and say that it’s

      20         misconduct.

      21     Q   (By Mr. Smith)     But it could be, couldn’t it?

      22                     MR. SKLAR:   I’ll object to the form and

      23         foundation.      Calls for speculation.   You can answer.

      24                     THE WITNESS:   Yeah.   I don’t want to speculate,

      25         but if you want me to speculate, sure it could be, but I


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                                                                          Page 43
       1         don’t speculate when I go over my cases.

       2     Q   (By Mr. Smith)   Okay.   So I want to direct your attention

       3         to 202.1-7.1.    So 202.1-7 talks about Probable Cause and

       4         202.1-7.1 talks about Reviewing Arrests and I’ll read

       5         that Mr. Ball.   It says:

       6                    “When an individual has been arrested is

       7              brought into the DDC, the officer-in-charge (OIC) of

       8              the DDC desk shall review the circumstances of the

       9              arrest and confirm whether or not probable cause

      10              existed at the time of the arrest.      If the reviewing

      11              supervisor determines that there was not probable

      12              cause to detain the person, he/she shall be

      13              immediately released.”

      14         The question I have for you about this question Mr. Ball,

      15         about this provision Mr. Ball, is at the DDC, a

      16         supervisor should be checking that there’s probable cause

      17         for incoming cases.     Correct?

      18                    MR. SKLAR:    Object to form and formation.

      19         That’s each individual case that comes in.      Correct?

      20     Q   (By Mr. Smith)   I’ll read it again Brother Counsel.

      21                    “When an individual who has been arrested is

      22              brought into the DDC, the officer-in-charge (OIC) of

      23              the DDC desk shall review the circumstances of the

      24              arrest and confirm whether or not probable cause

      25              existed at the time of the arrest.”


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                                                                            Page 44
       1                     MR. SKLAR:   Right, for the individual arrest.

       2         I got it.

       3     Q   (By Mr. Smith)    That’s how I would interpret it.         So with

       4         that said Mr. Ball, the DDC supervisor who does the

       5         intake is required to check for probable cause for each

       6         and every arrest.    Correct?

       7     A   According to this, yes, sir.

       8     Q   According to that policy.    I’m going to stop sharing

       9         screen and I’ll go to the next exhibit and by the end of

      10         this, we’ll all be well-versed in DPD directives.

      11                     (At 11:05 a.m., Defendants’

      12                      Exhibit 7 marked)

      13     Q   (By Mr. Smith)    I’m now going to present to you Mr. Ball

      14         Defendants’ Exhibit No. 7.      Can you see that Mr. Ball?

      15         Oh, not yet.    Can you see that Mr. Ball?

      16     A   Yes.

      17     Q   Okay.    And this is the Detroit Police Department’s Manual

      18         Directive 102.3 Code of Conduct and so I want to direct

      19         your attention to 102.3-1 Purpose.     It says:

      20                     “To provide additional specificity to the

      21                standards of conduct embodied in the Law Enforcement

      22                Officer’s Code of Ethics, the Detroit Police

      23                Department’s (DPD) mission and value statement, in

      24                order to enable all officers of this Department to

      25                better understand the prohibitions and limitations


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                                                                          Page 45
       1              pertaining to their conduct and activities, while on

       2              and off duty.

       3                    This Directive is not intended to serve as an

       4              exhaustive treatment of requirements, limitations,

       5              or prohibitions of a member’s conduct and activities

       6              established by this Department.     Rather, it is

       7              intended to alert members to some of the more

       8              serious and often problematic matters involving

       9              police conduct and ethics, specify (where possible)

      10              actions and inactions that are contrary to and

      11              conflict with the duties and responsibilities of

      12              members and guide members in conducting themselves

      13              and their affairs in a manner that reflects

      14              professionalism.     Additional guidance on matters of

      15              conduct is provided by other specific DPD

      16              Directives, policies and procedures, and by DPD

      17              supervisory officers.”

      18         Mr. Ball, the provision I just read to you from the Code

      19         of Conduct, does this put officers on notice that

      20         everything within this Code of Conduct would potentially

      21         govern how they should conduct themselves as DPD members?

      22                    MR. SKLAR:   I object to form and foundation.

      23         You can give an answer, sir.

      24                    THE WITNESS:   According to this, yes.

      25     Q   (By Mr. Smith)   And so also I want to direct your


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                                                                          Page 46
       1          attention to 102.3-2 Policy.

       2                    “Actions of members that are inconsistent,

       3              incompatible or conflict with the values established

       4              by this Department negatively affect its reputation

       5              and that of its members.     Such actions and inactions

       6              detract from the Department’s overall ability to

       7              effectively and efficiently protect the public,

       8              maintain peace and order, and conduct other

       9              essential business.     Therefore, it is the policy of

      10              this Department that all members shall conduct

      11              themselves in a manner that reflects the ethical

      12              standards consistent with the rules contained in

      13              this Directive and otherwise disseminated by this

      14              Department.”

      15          Mr. Ball, would you agree that this particular directive

      16          makes clear the Department’s expectations of how officers

      17          conduct themselves?

      18                    MR. SKLAR:   Object to form and foundation

      19          again.   Go ahead.   You can answer.

      20                    THE WITNESS:   According to this, yes.

      21      Q   (By Mr. Smith)   I want to direct your attention to 102.3-

      22          5 labeled Member’s Responsibilities, in particular,

      23          102.3-5.1 that’s labeled General and I just want to read

      24          the first two provisions.   It says:

      25                    “In addition to the Code of Ethics, a member


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                                                                          Page 47
       1                    must observe all laws, regulations, procedures,

       2                    and lawful commands of all ranking members of

       3                    this department.   Any action taken in violation

       4                    of any laws, regulations, procedures, commands,

       5                    or contrary to DPD policy, shall subject the

       6                    member to possible criminal prosecution, re-

       7                    training or re-instruction, civil liability

       8                    and/or disciplinary action, which may result in

       9                    reprimand, suspension, forfeiture of pay,

      10                    dismissal, or any other penalty the Chief of

      11                    Police may lawfully direct.”

      12          Mr. Ball, that provision I just read, does it not place

      13          DPD sworn officers on notice of the potential punishments

      14          for not following the Department’s laws and regulations

      15          and procedures, etc.?

      16                    MR. SKLAR:    I’ll object to form and foundation

      17          again, but you can answer if you have one.

      18                    THE WITNESS:   According to this, yes.

      19      Q   (By Mr. Smith) In a separate provision, I’m reading from

      20          No. 2.

      21                    “Members must be truthful, polite, and orderly

      22              at all times.    Members must display patience,

      23              command of temper, and always use discretion in

      24              their private as well as professional life, so that

      25              their conduct is unquestioned.     Members who withhold


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       1              information, fail to cooperate with Departmental

       2              investigations, or who fail to report the misconduct

       3              of members to be a supervisor, whether on or off

       4              duty, shall be subject to disciplinary action.”

       5          Mr. Ball, in regards to that provision, does that

       6          provision not make it clear that officers or sworn DPD

       7          personnel have a duty to report the misconduct of other

       8          members?

       9                     MR. SKLAR:   Object to form and foundation

      10          again, but you can go ahead and answer, sir.

      11                     THE WITNESS:   According to this document, yes.

      12      Q   (By Mr. Smith) And so I want to direct your attention to

      13          102.3-6.1 which addresses Prohibited Acts.     I’m sorry.

      14          102.3-6 which addresses Prohibited Acts, specifically

      15          102.3-6.1 General.

      16                     “Members are directly accountable for their

      17              actions, through the chain of command, to the Chief

      18              of Police.   The following acts are in direct

      19              violation of Department policy.     This list of

      20              violations is not exhaustive and does not prohibit

      21              any member from being charged and disciplined,

      22              separately or in conjunction with, a violation of

      23              any other portion of this manual, Department policy,

      24              rule, or procedure.    Violations are listed by

      25              general category for easier reference.”


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       1          And so I want to go to 102.3-6.2 Accountability.         So Mr.

       2          Ball, would you agree that the Department in this policy

       3          is clearly laying out a bright line rule for certain

       4          violations?    Let me rephrase that.

       5                      Isn’t it clear that the Department is laying

       6          out what it believes to be prohibited acts that violate

       7          the express guidelines, policies, and procedures?

       8                      MR. SKLAR:    Object to form and foundation, but

       9          go ahead and answer.

      10                      THE WITNESS:   It could be a little bit clearer,

      11          but according to this document yes.

      12      Q   (By Mr. Smith)    Okay.    So I want to read 102.3-6.2

      13          Accountability and I just want to read the second

      14          subsection.

      15                      “Failure to report the misconduct of any member

      16              and/or take appropriate action.”

      17          Now, given this provision when you consider the one we

      18          just read above it, isn’t it clear Mr. Ball that a sworn

      19          member who failed to report misconduct of another member

      20          has committed a prohibited act under Departmental

      21          guidelines?

      22      A   According to this document, yes.

      23      Q   Okay.    And within that same Accountability subsection,

      24          I’m going to read to you 102.3-6.14 labeled Job Standards

      25          and I want to go down to subsection 7.     It says:


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       1                    “Neglecting to report any member known to be

       2              guilty of violation of any rule or order issued for

       3              the guidance of the DPD or for failure to perform

       4              assigned duties.”

       5          Mr. Ball, doesn’t this particular subsection make it

       6          clear that you violate the Accountability Standards by

       7          neglecting to report members who are guilty of violations

       8          of any rule or order issued by DPD?

       9      A   According to this, yes.

      10                    MR. SMITH:   Brother Counsel, I need a bathroom

      11          break here.   I think we all could use a quick bathroom

      12          break.

      13                    MR. SKLAR:   What, ten minutes?

      14                    MR. SMITH:   Yes, ten minutes will do.      I’ll be

      15          brief.

      16                    MR. SKLAR: Ten minutes is cool.

      17                    MR. SMITH:   All right.   I’m going to stop the

      18          share here.

      19                    (At 11:15 a.m., recess taken)

      20                    (At 11:25 a.m., back on the record)

      21      Q   (By Mr. Smith) I’m going to share my screen.     I’ve got

      22          one last one here and I think I’ll be done glazing

      23          everyone’s eyes over here and we’re still in the Code of

      24          Conduct Mr. Ball and that’s Exhibit 7.     I’m going to

      25          share my screen.   Can you see that, Mr. Ball?


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                                                                           Page 51
       1      A   Yes, I can.

       2      Q   Okay.    And we’re under Job Standards.   Job Standards is

       3          102.3-6.14 Job Standards and I want you to see point 3.

       4          Can you read that for me, Mr. Ball?

       5      A   (Reading):

       6                      “Ignorance of rules or orders.”

       7      Q   Okay. And that’s a subsection just so we’re clear of

       8          Prohibited Acts and so based on that small phrase, is it

       9          clear that the Department expects you to know what’s in

      10          this manual?

      11      A   Yes.    According to this, yes.

      12      Q   So I’m going to stop sharing screen.      And so Mr. Ball my

      13          question to you is, given the different provisions from

      14          the DPD Manual that I’ve read, do you understand that

      15          your conduct was governed by this manual among other DPD

      16          policies and procedures

      17      A   Do I understand that my conduct was?

      18      Q   In your time with DPD as both a patrol officer and a

      19          sergeant, is it clear to you that your conduct was

      20          governed by the directives in the DPD Manual?

      21      A   Yes.

      22      Q   So let’s talk about 10th Precinct PDU.     So you show up to

      23          PDU.    Exactly what was your role at PDU when you showed

      24          up on its doorsteps?

      25      A   I was a supervisor assigned to the Detective Unit.


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                                                                          Page 52
       1      Q   Did you supervise police officers, investigators?        Who

       2          did you supervise?

       3      A   Police officers, detectives.

       4      Q   And about how many officers or detectives did you

       5          supervise?

       6      A   Maybe ten.    We had the lowest number of detectives in the

       7          whole city.

       8      Q   Let’s talk about the composition of that unit when you

       9          showed up.    When you initially showed up at PDU, who was

      10          your direct reports?    Who was your lieutenant?

      11      A   Maseko. (phonetic)

      12      Q   Do you have a first name?

      13      A   Michael, I believe.

      14      Q   And how long was Lieutenant Maseko there before he

      15          transitioned to the next duty location?

      16      A   He may have been down there for maybe a year before he

      17          got promoted to captain.

      18      Q   And who became the lieutenant of the unit after Maseko

      19          left?

      20      A   Starks.

      21      Q   Now, at that time it was Lieutenant Starks.     When did

      22          Lieutenant Starks become the lieutenant of the unit?

      23      A   I’m not sure.    Whenever he left.

      24      Q   Do you recall what year it was?

      25      A   No.


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                                                                               Page 53
       1      Q   And to your personal knowledge, how long did Lieutenant

       2          Starks stay in the role as lieutenant of the PDU?

       3      A   Maybe a couple of years.

       4      Q   Now, when you initially came to the PDU, who was the

       5          commander for No. 10?

       6      A   Kyriacou.

       7      Q   Repeat the name for me one more time, Mr. Ball.

       8      A   Kyriacou.    Don’t ask me to spell it because I would tear

       9          it up if I tried to.

      10      Q   Kyriacou?    And how long to your knowledge was Commander

      11          Kyriacou there at the 10th Precinct?

      12      A   He was there for years.

      13      Q   Do you know when Commander Kyriacou left the 10th

      14          Precinct, what year?

      15      A   No, I don’t recall for sure.     Maybe 2020.

      16      Q   I believe he didn’t leave not long ago.

      17      A   Right.

      18      Q   Okay.    And so who took over for Commander Kyriacou.

      19          Kyriacou.    I’m sorry.

      20                      COURT REPORTER:   Excuse me.     You’re saying

      21          Kyriacou, like Nick Kyriacou.       Right?

      22                      THE WITNESS:   Right.     That’s him.     That’s

      23          correct.

      24                      MR. SKLAR:    Nice job.   That’s after years of

      25          experience coming in.      I like it.


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                                                                          Page 54
       1      Q   (By Mr. Smith)    Let me be clear because I’m a little lost

       2          here, so the actual first name is Nick.     The last name is

       3          Kyriacou?

       4      A   Yes.

       5      Q   Got it.   Okay.   So after Commander Kyriacou left the 10th

       6          Precinct, who took over the commander position?

       7      A   I believe it was Tiffany Stewart.    People were coming and

       8          going quickly there and I think it was Tiffany Stewart.

       9          There might have been somebody there briefly who never

      10          reported, but as I recall, Tiffany Stewart was the one

      11          who was in place.

      12      Q   And if I heard you correctly, you said you believed

      13          Commander Kyriacou left in 2020 and when do you believe

      14          Commander Stewart showed up at No. 10?

      15      A   About 2020.

      16      Q   And was Commander Stewart the commander of No. 10 up

      17          until you left the Department?

      18      A   Yes, sir.

      19      Q   Let’s go back to Lieutenant Starks.    Lieutenant Starks

      20          comes and she’s the lieutenant over the 10th Precinct

      21          PDU.   Who comes after Lieutenant Starks to fill that

      22          lieutenant position when Starks leaves?

      23      A   Lieutenant McCord.

      24      Q   And when does Lieutenant McCord show up to assume the

      25          role of lieutenant of the 10th Precinct PDU?


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                                                                          Page 55
       1      A   I’m not sure.    Maybe 2021, 2020-2021 some time.

       2      Q   And was Lieutenant McCord the lieutenant in charge of the

       3          PDU up until the point you exited the police department?

       4      A   She was until I retired.    Correct.

       5      Q   Okay.    So let’s go over I guess the chain of command from

       6          the point that you believe Lieutenant McCord arrived, so

       7          Lieutenant McCord is the lieutenant.    To your knowledge,

       8          who did Lieutenant McCord report to?    Who was her direct

       9          report?

      10      A   The captain and the commander.

      11      Q   And when you say “captain,” who are you referencing?

      12      A   If Severy was there, it was him.    Whoever the captain

      13          was.

      14      Q   And to your knowledge, when did Captain Severy arrive at

      15          the 10th Precinct?

      16      A   I’m not sure.    Sometime shortly after – before Kyriacou

      17          left.    Maybe six months before Kyriacou left.

      18      Q   Okay. Your prior testimony is that Kyriacou left in what

      19          you believe was 2020, so would it be fair to say that

      20          Captain Severy arrived at the 10th Precinct sometime in

      21          2020 or perhaps 2021?

      22      A   Perhaps, yes.

      23      Q   And so if I understand the chain of command correct,

      24          would Captain Severy – so McCord would report to Severy

      25          and Severy would report to Commander Stewart?      Is that


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                                                                            Page 56
       1          correct?

       2      A   Yes.

       3      Q   Who would Commander Stewart report to?

       4      A   Deputy Chief Fitzgerald.    Charles.

       5      Q   Now Mr. Ball, is that chain of command you just cited to

       6          me specific to just the 10th Precinct?

       7      A   That’s the chain of command for the 10th Precinct, but

       8          each precinct has a similar chain of commander.         Each PDU

       9          has a similar chain of command.

      10      Q   Does PDU have its own chain of command like a dual chain

      11          of command perhaps?

      12      A   Well, PDU is a separate entity remember.       It’s just

      13          downtown. They have their own separate people in charge

      14          like Marlon Wilson was the deputy chief in charge of the

      15          PDUs, the Detective Units.

      16      Q   Okay.    And so you said Deputy Chief Marlon Wilson.         He

      17          oversaw all of the PDUs?

      18      A   Yes.

      19      Q   And just so I’m clear, Deputy Chief Wilson oversees the

      20          PDUs.    Deputy Chief Fitzgerald oversees the command

      21          structure for No. 10.    Is that right?

      22      A   I don’t believe so.    For the west side.

      23      Q   Okay.    But DC Wilson does not report to Deputy Chief

      24          Fitzgerald, does he?

      25      A   I don’t know if he does or not.


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       1                      MR. SKLAR:    Let me just get my objection.       I

       2          object to form and foundation.     Marcellus, go ahead and

       3          answer if you have one.

       4                      THE WITNESS:   I have no idea.

       5      Q   (By Mr. Smith)    Okay.    And so was Captain Severy within,

       6          did Captain Severy have to report to DC Wilson?

       7      A   I’m sure he will at some point in time.

       8      Q   And so what I’m trying to understand Mr. Ball is how the

       9          chain of command works.     PDU seems to be embedded within

      10          each precinct and so I’m trying to understand how that

      11          chain of command works.

      12      A   PDUs are in the precincts.     Each precinct has a PDU.

      13      Q   Okay.

      14      A   Deputy Chief Wilson is in charge of each PDU, each

      15          precinct’s PDU.    Each PDU has a lieutenant.    They report

      16          to the commander.    The commander reports to the deputy

      17          chief and after that, I don’t know quite how it goes

      18          because they have executive meetings and I don’t know

      19          what the structure is because we’re not allowed to attend

      20          those, so I couldn’t tell you after that.

      21      Q   Okay.    Now, Deputy Chief Wilson and Deputy Chief

      22          Fitzgerald, who do they report to if you know?

      23      A   I would have to say the Chief’s Office.      I really don’t

      24          know.

      25      Q   Okay.    Now, do deputy chiefs customarily report directly


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                                                                          Page 58
       1          to the chief or would they report to assistant chiefs?

       2      A   I’m not sure.    It depends, I guess.   It depends on

       3          whatever the situation is.

       4      Q   So I’m clear, if you had an issue with McCord, it would

       5          be permissible to take that issue to Captain Severy?

       6      A   Yes.

       7      Q   If you had an issue with Captain Severy, it would be

       8          permissible to take that issue to Commander Stewart?

       9      A   Yes, if I couldn’t resolve it with either McCord or

      10          Severy at the time.    I usually would try to go to them

      11          and talk to them directly.

      12      Q   Okay.    Now, if you had that same issue and you couldn’t

      13          get it resolved with McCord, you couldn’t get it resolved

      14          with Severy, and you couldn’t get it resolved with

      15          Commander Stewart, would you then go to Deputy Chief

      16          Fitzgerald?

      17      A   I had several options.    I could go to him or I could make

      18          an EEOC Complaint.    It depends on what the circumstance

      19          was.

      20      Q   Okay.    Now, in that same fashion if it was a PDU

      21          specifically related issue and you had an issue with

      22          McCord and Severy, you could go to DC Wilson to address

      23          it?

      24      A   I could.

      25      Q   That sounds about right?    Okay.   Where in that command


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       1          structure does Jacqueline Pritchard fit?

       2      A   She doesn’t fit at all.   She’s not at the 10th Precinct.

       3      Q   At the time that Lieutenant McCord and Captain Severy

       4          were your ranking officers at No. 10, where was

       5          Jacqueline – at that time I think she was commander,

       6          where was Jacqueline Pritchard assigned to if you know?

       7      A   Maybe Narcotics.

       8      Q   At what precinct?   Do you know?

       9      A   Narcotics is not a precinct.    It’s a unit.

      10      Q   A unit.   Okay.

      11      A   It’s city-wide.

      12      Q   And is it right that she was the Commander of Narcotics?

      13      A   Yes.

      14      Q   And just so I’m clear, DC Wilson has oversight of the

      15          PDUs but they’re run within the, the PDUs are run within

      16          the specific precincts?

      17      A   The PDUs are run within the precinct Detective Unit and

      18          the precinct Detective Units report downtown to I believe

      19          it was Captain Sevick (phonetic) at the time.      I’m not

      20          sure exactly who it was, but after it gets out of our

      21          office, I really don’t have too much knowledge of it

      22          because I don’t partake in those meetings.

      23      Q   Captain Sevick.    Do you have a first name for Captain

      24          Sevick?

      25      A   It might be Steven Sevick.   I’m not sure.


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                                                                           Page 60
       1      Q   And who does Sevick report to?

       2      A   Captain Sevick was in PDUs.    He probably reports to

       3          Wilson and he had some dealings with Severy and McCord.

       4      Q   Okay.    Is it possible Mr. Ball that the 10th Precinct in

       5          Investigative Operations, they essentially have a

       6          separate chain of command?

       7      A   As pertains to the precinct itself?

       8      Q   The PDUs within the precinct because I’m trying to

       9          understand how the chain of command goes.      I have two

      10          deputy chiefs.    I have one that has oversight over the

      11          PDUs and I have a deputy chief that has oversight over

      12          the precinct, but the way the chain of command flows from

      13          bottom to top, it seems that you would in some form or

      14          fashion report to both those chain of commands.        Do I

      15          have that correct?

      16      A   If they needed to, you would report to anyone who would

      17          summon you, but like I said before, the PDUs are an

      18          entity within itself.    They’re a unit within themselves

      19          and they have their own division.    They’re not part of

      20          the 10th Precinct.    They’re not included in any roster

      21          that I know of.    They’re included within the Detective

      22          Unit’s roster which is separate from the precincts.

      23      Q   Okay.    Now, given that chain of command in which you were

      24          the sergeant of the PDU with supervision over a number of

      25          detectives, let’s talk about exactly what role and job


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                                                                            Page 61
       1          duties you kind of executed within the PDU, so let’s go

       2          over what were some of your job duties in the PDU?

       3      A   I would review individual cases and assign arrests -–

       4      Q   Okay.

       5      A   -- and I would supervise officers.    I would check their

       6          case notes.    I would go out and help conduct

       7          investigations.    I would interview witnesses.      I would

       8          conduct interrogations.    I would respond to non-fatal

       9          shootings on duty and off duty and I was responsible for

      10          the upkeeping of the officers and detectives case notes

      11          and I would report to the lieutenant for meetings

      12          concerning the cases.

      13      Q   Now, when you said you would go over the cases, what were

      14          you looking for in particular when you were going over

      15          those cases?

      16      A   The Progress Notes.

      17      Q   Okay.    And were you looking for anything else in

      18          particular?

      19      A   As far as?

      20      Q   In executing your job as a sergeant, was there a

      21          checklist of things you needed to look for when you

      22          reviewed the cases?

      23      A   Well, each case was different.    If you’re trying to ask

      24          me something specific, then I might be better to answer

      25          your question, but each case I would supervise was on an


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       1          individual basis.    Each case was different.    Some cases

       2          would require a lot.    Some cases require more.      I would

       3          run through the cases and I would sometimes say you need

       4          to go interview this person.    This statement isn’t

       5          complete.    There were things like that.

       6      Q   And did you review all the cases that came in or was that

       7          one of your jobs was reviewing for probable cause?

       8      A   Probable cause, yes.

       9      Q   Okay.    And so when you reviewed those cases for probable

      10          cause, if you found that there was no probable cause for

      11          the case, what did you do?

      12      A   I talked to the officer-in-charge of the case and in some

      13          cases I would talk to the officers who made the arrest,

      14          if possible.    I’ll get in touch with them and then after

      15          that, I would sit down and I’d make a determination if we

      16          had enough probable cause to proceed or release this

      17          prisoner until we obtain more evidence and then I would

      18          do what’s called if we got the new evidence that

      19          determined we would do what was called a not in custody

      20          arrest.

      21                      Sometimes evidence will be that we’re waiting

      22          for DNA.    Sometimes we’ll be waiting for another

      23          statement.    It all depends on the case.

      24      Q   Okay.    And you did all this, this was done prior to

      25          assigning cases out to individual investigators?


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       1      A   I wouldn’t say it was done prior to.    It may have been

       2          done in the process of.

       3      Q   Well, let me ask you this, Mr. Ball.    Why would you

       4          assign a case to an investigator if you have questions

       5          about the probable cause for the case?

       6      A   It still has to be assigned.    An officer has to be in

       7          charge.   An officer has to do, follow procedure as far

       8          as, you know, being instructed by me or whatever other

       9          sergeant or lieutenant as far as to, you know, what the

      10          process is to release or proceed.

      11                    You have to have an officer-in-charge.        That

      12          doesn’t mean that it’s going to court, but you have to

      13          have an officer-in-charge of the case for the references.

      14      Q   Help me reconcile this, Mr. Ball.     We just read

      15          Department regulations which said an arrest without

      16          probable cause is essentially an illegal act.

      17      A   Ah-huh.

      18      Q   Why would you need investigators to handle files where we

      19          think an illegal act has occurred?

      20      A   Because the person is in custody.    You have to have

      21          somebody to follow-up on it.    You just can’t dismiss it

      22          and say oh, this was illegal, let’s discharge this person

      23          and that’s the end of it.   You have to have somebody

      24          follow-up on it because if you don’t, you may end up in a

      25          proceeding like this now.


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       1      Q   And so if I understand you right, the report comes in.

       2          You see it has an issue with probable cause and that

       3          report then gets assigned to an investigator to

       4          investigate solely the issue of probable cause?

       5      A   The investigator and myself go over the entire case and

       6          if that person is in custody, then I’ll make the decision

       7          to release this person pending or just release the person

       8          completely because no matter what you investigate, there

       9          was no probable cause for the arrest.

      10                    MR. SKLAR:   Hey, Andrae, --

      11                    MR. SMITH:   I know we’re getting at that time.

      12          We’re getting close.

      13                    MR. SKLAR:   Yes.    I wanted to tell you it’s

      14          11:54.   It’s your show.   Whenever you want to break.

      15                    MR. SMITH:   Let’s break now and when we come

      16          back Mr. Ball, I’ll have you walk me through a case so I

      17          can better understand the process that you conduct in

      18          your role as a sergeant, so Madame Reporter, we’re going

      19          to go off the record for about a half hour.     We have a

      20          status conference with the Magistrate Judge in this

      21          matter, so we should be gone about a half hour and then

      22          we’ll be right back.

      23                    MR. SKLAR:   Yeah.   Let’s reconvene at 12:30.

      24                    MR. SMITH:   Yeah, we can do that.

      25                    (At 11:54 a.m., recess taken)


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       1                      (At 12:32 p.m., back on the record)

       2                      MR. SMITH:   Madame Court Reporter, can you read

       3          my last question back?

       4                      COURT REPORTER:    Sure.

       5                      (At 12:33 p.m., the Court Reporter readback the

       6          question as follows:

       7                      “Question:   And so if I understand you right,

       8                      the report comes in.   You see it has an issue

       9                      with probable cause and that report then gets

      10                      assigned to an investigator to investigate

      11                      solely the issue of probable cause?”)

      12      Q   (By Mr. Smith) Okay.     I’ll go on from there.     So Mr.

      13          Ball, a report comes in with an issue that you notice of

      14          probable cause and if my memory serves me correctly,

      15          correct me if I’m wrong, you said you issue that, you

      16          still issue that case to a detective?

      17      A   Yes.

      18      Q   Okay.    Here’s my question.   You were a supervisor.

      19          Correct?

      20      A   Yes.

      21      Q   As a supervisor, why would you still need to issue a case

      22          where there is probable cause concerns to the

      23          investigator?    Aren’t you empowered by the Department

      24          Manual, rules, regulations, and procedures to handle that

      25          on your own?


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       1      A   Yes, sir, and that’s what I – in my duties, that’s what

       2          I’m doing.   You have to understand that each case comes

       3          in and has to be investigated whether it be that it had

       4          probable cause or not and then a disposition is made and

       5          case notes are made and then that case is either closed

       6          out or it is going to be investigated pending further

       7          investigation, and that’s what we do even if it’s not,

       8          even if there is a case where there is no probable cause.

       9                      You still have to have an OIC of that case

      10          because you’re making a record and somebody has to be

      11          responsible for their duties and for why they did what

      12          they did or instructed them to do what they did and

      13          that’s why it has to be assigned.

      14                      There is no non-assignment of any case that

      15          comes into the PDU.    They are either closed out or

      16          they’re investigated.

      17      Q   Help me understand something, Mr. Ball.

      18      A   Yes, sir.

      19      Q   So you have a case with – first of all, the Department,

      20          who says that you need to do, who says that the operating

      21          procedure is this way?   Is that defined by some

      22          Department policy or guideline or who told you that it is

      23          done this way, the way you just described to me?

      24      A   That’s each case is done on an individual basis and

      25          that’s how we do it.    You have to be accountable for each


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       1          case that comes in.    You have to realize that by the time

       2          that case has gotten to me, it’s just been through two

       3          other supervisors who reviewed that case for probable

       4          cause.

       5                      When I get it, I’m the third person that gets

       6          it to review to see if probable cause has been

       7          established.    I can’t assume just because the sergeant or

       8          the lieutenant at the DDC or the sergeant on the desk or

       9          the lieutenant on the desk has reviewed the case and

      10          confirmed that there is probable cause.

      11                      In some cases, the DDC sergeant, lieutenant or

      12          the desk supervisor catches it and those cases don’t get

      13          assigned to me because they make the determination to

      14          release that person because there has been no probable

      15          cause determined, but each case comes to me on a case-by-

      16          case basis and I go over each case regardless of the fact

      17          that if the sergeant or the lieutenant from the DDC or

      18          the front desk has reviewed it and that’s my policy so

      19          some things don’t quote-unquote, slip through the cracks.

      20      Q   Okay.    So I don’t want to put words in your mouth.       I

      21          just want to make sure I’m fully understanding what

      22          you’re saying.    Now, we went over Department guidelines

      23          in the DPD Manual and I do believe you agree with me that

      24          an arrest without probable cause is an illegal act.

      25                      With that said – further in that manual, talks


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       1          about the duty to ensure that that person is released and

       2          so what I’m asking is when you have those concerns about

       3          probable cause, is it the case where you say you still

       4          have to follow these policies and procedures.

       5                     I want to know expressly who told you you have

       6          to do it this way?

       7      A   Who told me?

       8      Q   Yes.   Is it defined in some guideline or policy

       9          somewhere?   Who established this operating procedure for

      10          you that it has to be done this way where I must assign

      11          it to an investigator?

      12      A   I don’t think, I don’t know about a policy.       I don’t do

      13          policy.   I just – this is how I’ve been doing these cases

      14          for 20-something years and, you know, the Department has

      15          rules and regulations that you go by and you also employ

      16          some of your experience into it because you can’t catch

      17          everything and when I get a case, I have to investigate

      18          on a reviewed basis and that’s what I do and that’s what

      19          has worked for me.

      20                     I can’t tell you what other sergeants do and

      21          what other lieutenants do, but this is what I do to

      22          ensure things don’t happen and to make sure that I’m

      23          putting in place some type of procedure where I can catch

      24          things that may slip through the cracks.      It’s just

      25          something that I do.


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       1                     COURT REPORTER:   May I interrupt for a minute?

       2         For the witness, there is really no light on his face.

       3         It’s just a dark – if you could maybe open a shade or

       4         something.   It’s real helpful sometimes -–

       5                     MR. SKLAR:   A little bit better?

       6                     MR. SMITH:   Brother Counsel, I think it might

       7         be better if he closes or kind of dims the one behind him

       8         and leaves the one to the side of him a little more open.

       9         Tammy, I think you want to see his lips?

      10                     COURT REPORTER:   Yes.   Sometimes with the

      11         recording it is a little bit muddled and the whole

      12         deposition I can’t really see him.

      13                     THE WITNESS:   I have a face for radio anyways.

      14         Hold on.    Let me try to do this.

      15                     MR. SKLAR:   Better.

      16                     COURT REPORTER:   Oh, that’s much better.        You

      17         don’t have a light in the room like an overhead light or

      18         anything?

      19                     THE WITNESS:   There is one over me if you would

      20         like me to turn that on?

      21                     COURT REPORTER:   Can we just try it?      It’s

      22         helpful.

      23                     THE WITNESS:   Does that help any?

      24                     COURT REPORTER:   I think it did.    Thank you

      25         very much.


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       1                      MR. SMITH:   May I proceed, Madame Court

       2          Reporter?

       3                      COURT REPORTER:   Yes, and thank you.      I

       4          appreciate it.

       5                      MR. SMITH:   No problem.

       6      Q   (By Mr. Smith)   Now, it sounds like you had your own

       7          individualized process for handling these cases.           Is that

       8          correct, Mr. Ball?

       9      A   I can’t say it was my own individualized.      It worked well

      10          for me.   I had no problems from my lieutenant or any of

      11          my other supervisors.    You know, you have things that you

      12          go by, but you also, you know, from experience, you had

      13          things that will help you be a better supervisor and to

      14          catch things that may come through because if you just

      15          strictly rely on this procedure as you spoke of, then I

      16          would already know or believe that probable cause had

      17          existed because two other supervisors had read the arrest

      18          and reviewed it before I did.

      19      Q   With that said, what’s the procedure for release of an

      20          arrestee?

      21      A   Well, when I review it, sometimes the arrestee has been

      22          given his Constitutional rights.       He’s been interrogated.

      23          I review the case.   I review the body camera.       I review

      24          the totality of the circumstances and from there, I make

      25          a determination if probable cause is here.      If it’s not,


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       1          then we’ll release it.

       2                     Say, for instance, you arrest somebody with,

       3          you arrest three people and a gun is in the car.        The gun

       4          is in the center console. You’ve got three people who

       5          have, you know, within wingspan of it, but the car is

       6          registered to no one in-car driver.    It’s just in a

       7          console.   You can’t prove that anybody went inside the

       8          console. You can’t prove that they know it’s inside the

       9          console, so what, you know, sometimes you can do an

      10          interrogation and that person may admit to it, but if you

      11          don’t have that, you know, the only thing you can do is

      12          release the person and put the gun in for DNA and see if

      13          the gun comes back later and then you would put them back

      14          in custody.

      15      Q   Now, you closed out cases prior to assigning it to a

      16          detective?

      17      A   Yes, I have.

      18      Q   What kind of case have you closed out prior to assigning

      19          to a detective?

      20      A   When you say “close out,” are you talking about release

      21          the prisoner?

      22      Q   Typically, I guess, when you have cases, you have an

      23          intake process and they have some type of disposition

      24          where that involved it being forwarded to the Wayne

      25          County Prosecutor’s Office or it results in the prisoner


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       1          being released, so I’m leaving it broad in that regard

       2          whether you’re done with the case.    It’s going to the

       3          prosecutor or you’re closing it out because the prisoner

       4          needs to be released.

       5      A   That’s not necessarily true.    I’m not closing it out.

       6          I’m submitting evidence, like I’m submitting the gun for

       7          DNA.   I’m waiting for something like that to come back.

       8          If the gun comes back --

       9                     COURT REPORTER:   Excuse me, please.     We lost

      10          Mr. Sklar.

      11                     MR. SKLAR:   All right.   I’m sorry, guys.       I got

      12          kicked off.   I apologize.

      13                     MR. SMITH:   No problem Brother Counsel.

      14                     COURT REPORTER:   The witness was in the middle

      15          of an answer – let me get the question back here.

      16                     MR. SKLAR:   Yes, if you could.    Thank you.

      17                     (Whereupon, at 12:47 p.m., the Court Reporter

      18                 readback the question as follows:

      19                     “Question:   Typically, I guess, when you have

      20                 cases, you have an intake process and they have some

      21                 type of disposition where that involved it being

      22                 forwarded to the Wayne County Prosecutor’s Office or

      23                 it results in the prisoner being released, so I’m

      24                 leaving it broad in that regard whether you’re done

      25                 with the case.   It’s going to the prosecutor or


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       1              you’re closing it out because the prisoner needs to

       2              be released.”)

       3     Q   (By Mr. Smith)    I’ll just pick up from here.     So we’ll do

       4         it this way, Mr. Ball.    Tell me about cases that you have

       5         absolutely closed that were not going to be submitted to

       6         the prosecutor and the prisoner is simply being released.

       7         What were the reasons those cases were closed?

       8     A   There are several reasons.    It could be reluctance of the

       9         victim to prosecute.    It could be the victim isn’t

      10         consistent.   It could be a number of reasons.       It could

      11         be lack of probable cause.    It could be that the

      12         officer’s actions on their body cam don’t reflect the

      13         actions that are recorded in their reports.       There can be

      14         inconsistencies so-to-speak between the actual officer’s

      15         actions in the body cam and inconsistencies in the report

      16         they submitted.   There could be inconsistencies between

      17         what each officer says.    There could be several reasons,

      18         so that’s why I have to review each case on an individual

      19         basis to see exactly what’s going on.

      20                    In those cases, sometimes those cases are the

      21         person is released pending further investigation and if

      22         pending further investigation, then it’s determined if

      23         the case is closed out completely.     I’ve closed out cases

      24         like that.    I’ve closed out cases where – let me see,

      25         kind of give you a better example.


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       1                     I’ve closed out cases where the – I’m not going

       2         to say I closed them out, but – well, I can say that.

       3         I’ve closed out cases where the victim just totally says

       4         I’m not talking, I’m not having this, I’m not doing this.

       5         Basically, you know, forget about this.      I’m done with

       6         it.   We have a lot of cases like that as well.       There’s a

       7         plethora of cases and reasons that comes in that we can

       8         dismiss a case, but you have to remember each one is done

       9         on an individual basis and that’s how we do it.        That’s

      10         how I do it.    That’s how it works so far.

      11     Q   And I understand that and so that’s why I wanted to be

      12         clear about the kind of cases that would be closed out

      13         before even being assigned because what I’m trying to

      14         help me reconcile is is why don’t cases that lack

      15         probable cause fit into that category of case you would

      16         close out before assigning to an investigator if you

      17         agree that the DPD Manual says this is one of the

      18         greatest offenses we could commit against a citizen is to

      19         arrest them without probable cause?     Help me reconcile

      20         that?

      21     A   I’m not saying – well, okay.     Let me put it this way.

      22         Say, for instance, the example I used where you have

      23         three people in the car and a gun is found in the console

      24         and you can’t prove anybody had it.

      25     Q   I am going to stop you --


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       1                     COURT REPORTER:   I’m sorry.   Could you say that

       2         again?

       3                     THE WITNESS:   Let me put it this way.     On a

       4         case where like I indicated where three people are in the

       5         car and a gun was found in the console, I don’t

       6         necessarily have to release those people and close out

       7         the case.   What I could do is that I could submit the gun

       8         in for evidence.    They run the gun for evidence and if

       9         DNA comes back indicating that someone in that car

      10         actually physically had possession of that gun, then I

      11         could submit a not in custody, but if the DNA comes back

      12         and no one in that car is shown to have physical

      13         possession of that weapon, then I would close out

      14         completely for insufficient evidence.

      15     Q   (By Mr. Smith)   Mr. Ball, are all guns submitted for DNA

      16         analysis for fingerprinting purposes?

      17     A   I can’t tell you that all guns are.     I can tell you that

      18         I try to make sure that all our guns are.

      19     Q   And so what determination goes into how you assign cases

      20         to individual detective?      What are you looking for?       I’ll

      21         just leave that for you to answer.     What are you looking

      22         at when you assign particular cases out?

      23     A   Well, we have different units.     We have a General

      24         Assignment Unit and that unit usually handles cases such

      25         as assault and batteries, B&E autos, domestic violence


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       1         cases that don’t meet the criteria for a husband and

       2         wife.    You know, you may have a domestic violence case

       3         for a brother and sister, grandmother and granddaughter.

       4         You know, things like that.     B&Es of dwellings and then

       5         we’ll have the B&E crew.    Those cases, B&Es, breaking and

       6         enterings, are assigned to people assigned to the B&E

       7         crew.    They handle those on a regular basis.

       8                     Then you have the non-fatal shooting team.

       9         Those members usually handle all non-fatal shootings and

      10         they handle gun cases.    It depends on what type of case

      11         comes in, what criteria it meets, and what unit is going

      12         to handle it.

      13     Q   And I don’t want to cut you off, but I want you to

      14         specifically tell me what goes into your determination in

      15         assigning gun cases?

      16     A   Usually, the gun cases are all assigned to the non-fatal

      17         shooting team because in a lot of cases we have non-fatal

      18         shootings where we can’t fund the gun and we find the gun

      19         and we find out that this gun is similar.      They run the

      20         gun and it may come back linking it to the case that

      21         we’re investigating, so usually people in the non-fatal

      22         shooting squad, they handle all gun cases.

      23     Q   And to your recollection, how many gun cases did you

      24         submit when Shanda Starks was the lieutenant of the PDU?

      25     A   I can’t tell you.    Hundreds probably.


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       1     Q   Okay.    And how many gun cases do you believe you

       2         recommended under the direction of Lieutenant McCord?

       3     A   How many cases you say I recommended?

       4     Q   Yeah.

       5     A   What do you mean by “recommended?”

       6     Q   Well, I guess actually assigned out.     I’m sorry.      I used

       7         the wrong terminology.    How many cases do you believe you

       8         assigned out to your detectives while you were

       9         accountable to Lieutenant McCord?

      10     A   I would say maybe a 100 or more.     I think that would be

      11         something that you would have to, you know, she would

      12         probably have a better record of it than I would, but it

      13         was quite a few.

      14     Q   Are those cases that ultimately get assigned or not

      15         assigned, they get sent up to the reign of the county

      16         prosecutor’s office, do you have to sign a warrant before

      17         you send those cases out?

      18     A   Do I sign a warrant?

      19     Q   No.     Must a warrant be signed when you send them to the

      20         Wayne County Prosecutor’s Office?

      21     A   A warrant is signed by the OIC of the case and it’s

      22         submitted.    The prosecutor reads over the case and they

      23         decide if they’re going to sign off on it or not.

      24     Q   Did you sign any of those warrants in any of the related

      25         gun cases?


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       1     A   Not only did I assign some, I was the officer-in-charge

       2         of many of them as well.    I participated.    I didn’t do

       3         anything – I didn’t ask the detectives to do anything

       4         that I wouldn’t do myself.    I helped them in the PDU.          I

       5         took cases.    I investigated cases.   I went on shootings.

       6         I did everything possible to get the work flow going and

       7         continuous.    I didn’t just here, do this, here, just do

       8         that.    I participated as well.

       9     Q   And so in the cases that you signed warrants on, is it

      10         fair to say that those cases didn’t have any probable

      11         cause issues?

      12     A   No, that’s not fair to say at all because I would sign a

      13         warrant if it didn’t have any probable cause.       Would I

      14         sign a warrant like that, no.      Sometimes I’ll even

      15         contact the Prosecutor’s Office before I would even

      16         submit a warrant to tell the prosecutor to go over it and

      17         say, “Hey, this is kind of iffy.      I’m not sure about

      18         this.    It could be” –-

      19     Q   Mr. Ball, I don’t mean to stop you but you’re having some

      20         kind of technical issue and I don’t know if it’s just me

      21         who’s having difficult hearing, but you’re starting to

      22         have like a slow drawl sound, so I’ll give you a chance

      23         to reset here.    I’m sorry for interrupting you.

      24     A   You’re fine.    Can everybody else hear?

      25                     MR. SKLAR:   I got you.


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       1                    COURT REPORTER:    Sometimes, too, it’s good to

       2         just go out and then sign back in.     You get a better

       3         connection.   That’s another possibility.     I’ve been

       4         having problems since we came back on the record.         Sounds

       5         very mumbley to me.

       6                    MR. SKLAR:   Marcellus, you may want to get

       7         closer to the mic and I’m the same way.

       8                    THE WITNESS:   I’m in the hills up here too and

       9         I probably have a bad reception down here, but I got the

      10         mic right at my mouth now.

      11                    MR. SKLAR:   All right.   You’ve got better

      12         weather.   That bothers me.

      13                    THE WITNESS:   It is sunny and 78 right now.

      14     Q   (By Mr. Smith)   We’re all good, Mr. Ball?     You can hear

      15         me, I can hear you?

      16     A   I can hear you very well, sir.

      17     Q   All right.

      18                    MR. SMITH:   Madame Court Reporter, you can hear

      19         everybody?

      20                    COURT REPORTER:    Yes, I can.   Thank you.

      21     Q   (By Mr. Smith)   So I didn’t catch your answer.       I’ll give

      22         the question, Mr. Ball.    In cases in which you signed the

      23         warrants, would it be fair to say that there was probable

      24         cause for the crime that the Defendant, the particular

      25         Defendant was being accused of?


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       1     A   Any cases that I sign, I believe that I have probable

       2         cause.    Some cases, like I said, they required me to call

       3         the Prosecutor’s Office and talk to them before I

       4         submitted a warrant because circumstances were sketchy.

       5         It was right on the borderline and a lot of those cases I

       6         would not submit them and a lot of the cases I was told

       7         to submit the case and let the Prosecutor’s Office figure

       8         it out.

       9     Q   But help me understand something, Mr. Ball.      You’re

      10         signing your name to the warrant?

      11     A   Yes, sir.

      12     Q   Okay.    And so is it fair to say that if you’re signing

      13         your name to the warrant you’re on the hook in a sense

      14         for what that warrant speaks to, so are you telling me

      15         you would sign a warrant where you’re not personally

      16         certain that there is probable cause for the crime that

      17         the Defendant is being accused of?

      18     A   No, that’s not what I’m saying.     I’m saying that there

      19         are cases where the probable cause was not as clear as

      20         you would like it to be.    There is somewhat probable

      21         cause and that’s when I would contact the prosecutor and

      22         tell them, “Hey, this is what I got.”

      23                     It could go either way.   I’m not saying that it

      24         is probable cause.    I’m not saying that it isn’t.       I’m

      25         saying this is what we have and it could be that it’s


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       1         good.    It’s on the borderline and at that time the

       2         prosecutor will tell me, “Well, I can’t tell you what

       3         probable cause is.    You can either submit it or you can

       4         hold it and investigate it further,” and in a lot of

       5         those cases, I was informed to submit the warrant and let

       6         the Prosecutor’s Office figure it out, sort it out.

       7     Q   We’ll come back to that point in one second, but here’s

       8         my question.    Is it Department protocol to call the

       9         Prosecutor’s Office and inquire about probable cause for

      10         a case?

      11     A   It’s not against protocol.    We contact the prosecutors

      12         every day.    When you’re doing shootings, you have a

      13         community prosecutor.    That community prosecutor is

      14         assigned to that shooting and that community prosecutor

      15         is who you contact on a regular basis.      That community

      16         prosecutor is the one you call to get your search

      17         warrants signed.    That community prosecutor is called

      18         when you want to go over cases.     That community

      19         prosecutor in somewhat becomes your partner as far as

      20         when it comes to related to these cases.

      21     Q   Let me rephrase it this way because you’ve raised a very

      22         interesting issue.    Now, would you agree with me that

      23         prosecutors, their purpose is to take a case in which

      24         they believe a crime has been committed and prosecute

      25         that case and potentially seek a term of imprisonment of


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       1         that particular Defendant?

       2                    MR. SKLAR:   I’ll object to form and foundation.

       3         Go ahead and answer.

       4                    THE WITNESS:   I can’t speculate on that.        I

       5         don’t know what the prosecutor’s frame of mind is, what

       6         they’re concerned with.    All I know is that I submit it

       7         to them.   They go over the cases and they determine if

       8         they’re going to proceed.

       9     Q   (By Mr. Smith)   Well, let me rephrase it this way.         I’m

      10         sorry.   I don’t want to cut you off.    You can continue. I

      11         don’t want to cut you off.

      12     A   I was going to say, you know, sometimes when the

      13         prosecutor gets a warrant that we submit, they will send

      14         it back and it’s called adjourned.     They will send the

      15         warrant back and they will have a bunch of items on there

      16         that you need to do A, B, C, D, E, and then you can

      17         resubmit it.   If you get all these A, B, C, D, and E

      18         done, then I’ll review it and then I’ll make a

      19         determination if the warrant is going to proceed or not.

      20     Q   Understood.

      21     A   We get a lot of adjournments.

      22     Q   What do you understand the Wayne County Prosecutor’s job

      23         to be?   What do you understand the role of a prosecutor

      24         in a criminal justice system?

      25     A   To pursue justice.


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       1     Q   And does that include prosecuting criminals?

       2     A   I’m sure it does, yes.

       3     Q   Would you agree that it includes seeking potential jail

       4         time for Defendants that they can prove committed the

       5         crime?

       6     A   I’m not sure I can say that it seeks jail time because

       7         every case is handled on an individual basis.         Every

       8         prisoner or Defendant is handled on an individual basis

       9         and, you know, the Judge determines the time, not me or

      10         the prosecutor.

      11     Q   That said, do you believe it’s a problem to go to the

      12         prosecutors and say, “Hey, do I have probable cause to

      13         give you this case to prosecute this Defendant?”

      14     A   That’s not what I’m doing.     I’m going over to the

      15         prosecutor and I’m discussing the case because there are

      16         certain areas which are sketchy to me and I’m trying to

      17         get clarity from them because they prosecute these cases

      18         and what they are doing, they will tell me to        - I’ll

      19         submit it.   They’ll go over it and then they’ll adjourn

      20         it and if that person is in custody, they’ll release the

      21         prisoner and once we go over what the prosecutor

      22         requested, then it’s determined if a warrant will be

      23         issued which is called a not-in-custody warrant for that

      24         person.

      25     Q   The question I have for you Mr. Ball is who told you it


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       1         was acceptable protocol to take your case to the Wayne

       2         County Prosecutor’s Office and ask if your case has the

       3         valid probable cause?

       4     A   No one told me that.    This goes on an individual basis.

       5         I’ve been doing this for 25 years.     I’ve always presented

       6         my cases to the prosecutor because I’m trying to seek

       7         justice and I’m trying to avoid having people arrested

       8         and going to jail who haven’t done anything wrong.

       9         That’s what I’m trying to do.     I’m trying to get as much

      10         clarity, as much cohesiveness between myself and the

      11         prosecutor as possible because I don’t want to submit bad

      12         warrants.   I’m not in the practice of submitting bad

      13         warrants.   I’m here to do the best job that I can do and

      14         the prosecutor, like I said, they work with us, not

      15         against us.

      16     Q   Well, did anyone in your chain of command authorize you

      17         to go to the Wayne County Prosecutor’s Office and talk

      18         about whether you have probable cause for your cases?

      19     A   No, and no one didn’t authorize it either.

      20     Q   Did Lieutenant McCord ever speak to you about going to

      21         the Wayne County Prosecutor to speak about probable cause

      22         in your cases?

      23     A   Not to my knowledge.    I think Lieutenant McCord would

      24         want us to have probable cause.

      25     Q   And was it documented in your case notes that you spoke


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       1         to the Wayne County Prosecutor’s Office about probable

       2         cause for your individual cases that you worked on?

       3     A   Probably so because that prosecutor would get the

       4         warrant.

       5     Q   And who are the names of the Wayne County Prosecutors

       6         that you would call or speak to about probable cause?

       7     A   It depends.   They had a high turnover rate, but Lori

       8         Mireless and Kim Miles were two of the ones that I spoke

       9         to on a regular basis.

      10                    COURT REPORTER:    The second name?

      11                    THE WITNESS:   Kim Miles; M-i-l-e-s.      I think

      12         she was the supervisor.

      13     Q   (By Mr. Smith)   I’m sorry.   I want to make sure.        You

      14         said Kim Miles was a supervisor?

      15     A   Yes.   That’s my understanding.

      16     Q   So Mr. Ball, you went to Wayne County Prosecutors to ask

      17         questions about probable cause, but help me here.          You

      18         have a chain of command which includes your Lieutenant

      19         Donna McCord, which includes your commander, captain, I’m

      20         sorry, Ian Severy, which included Commander Tiffany

      21         Stewart?

      22     A   Yes.

      23     Q   Which included DC Fitzgerald and to some regard DC Marlon

      24         Wilson.    Why not go to any of them within that chain of

      25         command and say, “Hey, do you think I have probable cause


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       1         on this case to send it to the Wayne County Prosecutor’s

       2         Office?”

       3     A   For one thing, it’s my responsibility, not theirs.

       4         That’s why.   It’s my responsibility.    I would talk to

       5         Lieutenant McCord because she was my immediate

       6         supervisor, but I would not circumsede (sic) her

       7         authority and go to the captain or the commander.         That

       8         would be for Lieutenant McCord to decide and to my

       9         knowledge, there may have been causes where she said,

      10         “Okay, let’s go talk to the commander or let’s go talk to

      11         the captain,” but I would try to minimize that because it

      12         was my job to make sure that each case was handled on an

      13         individual basis and that it was handled meeting all the

      14         standards for a warrant to be approved.

      15     Q   And did you tell Lieutenant McCord – each time before you

      16         went to the Wayne County Prosecutors, did you mention any

      17         of that to Lieutenant McCord?

      18     A   No, and let’s get one thing clear.     I did not personally

      19         go down to the Wayne County Prosecutor’s Office.         I was

      20         speaking to them over the phone most of the time because

      21         of COVID.   They were closed and I would speak with them

      22         over the phone.

      23     Q   To your knowledge, did any of the investigators that you

      24         had supervision over directly call the Wayne County

      25         Prosecutor’s Office to inquire about probable cause for


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       1         their cases?

       2                     MR. SKLAR:   Object to form and foundation.        Go

       3         ahead.   You can answer.

       4                     THE WITNESS:   Some would, I’m sure.    I know

       5         they did.

       6     Q   (By Mr. Smith)    Which detectives did that?    I’m sorry.

       7         Which investigators did that, Mr. Ball?      Give me their

       8         names?

       9     A   I can’t give you any individual names.      I’m just speaking

      10         broadly, but I know that detectives were whatever

      11         detective unit I had worked at, it was not discouraged

      12         for them to call prosecutors.     After all, you’re trying

      13         to build the best case possible, so I had no problem with

      14         officers talking to a prosecutor and we have really

      15         talked to the prosecutors especially on non-fatal

      16         shootings.    That’s where we would really talk to them at.

      17                     A lot of the cases didn’t require us to talk to

      18         the prosecutor.   A lot of gun cases and a lot of non-

      19         fatal shooting cases, it did require us to talk to the

      20         prosecutor.

      21     Q   Something you said earlier I want to circle back to.           You

      22         talked about you were told you had to sign these

      23         warrants.    You said that in some form or fashion.       Who

      24         told you you had to sign these warrants?

      25     A   Oh, I didn’t say I was told that I had to. That’s not


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       1         true.    If I said that, I’ll stand corrected.     No one told

       2         me that I had to sign a warrant.     My job was to review

       3         the warrants and then I would sign.     I can say Lieutenant

       4         McCord has never came to me and said, “You better sign

       5         this.    You got to sign this.”   That has never happened.

       6     Q   Has anyone else in the Department pressured you to sign a

       7         warrant that you weren’t fully on board with?

       8     A   No.   Not to my knowledge, no.

       9     Q   Now Mr. Ball, how many CCW motor vehicle cases with two

      10         or more occupants did you assign to your recollection

      11         from January of 2021 to about May 27th of 2021?

      12     A   Without the records, I can’t tell you.      I can speculate.

      13         Maybe 20 or more, but I don’t have the records in front

      14         of me, so I couldn’t tell you that for sure.

      15     Q   And do you know how many CCW arrests were made in that

      16         same timeframe I just gave you?     What do you recall?

      17     A   I don’t recall.

      18     Q   Do you have an estimate?

      19     A   No.   There were several.

      20     Q   Do you happen to recall for that same timeframe how many

      21         CCW arrests with one person in the vehicle were made that

      22         came through your PDU unit?

      23     A   I don’t recall, sir.

      24     Q   And of those cases where there were two or more occupants

      25         in the vehicle, do you recall how many were found upon


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       1         your investigation and PDU’s investigation, how many

       2         cases were found to have some error made, to have been

       3         made by the arresting officer?

       4     A   An error as to -–

       5                     MR. SKLAR:   I’ll object to form and foundation.

       6     Q   (By Mr. Smith)    I’m sorry.   I couldn’t hear your answer,

       7         Mr. Ball.

       8                     MR. SKLAR:   I objected as to form and

       9         foundation. If you have an answer, Marcellus, you can

      10         certainly give it.

      11                     THE WITNESS:   An error in regards to what?

      12     Q   (By Mr. Smith)    Some defect - well, let me just rephrase

      13         it so I can give you a timeframe.     The timeframe I’m

      14         talking of is January 2021 to May 27, 2021.      How many

      15         cases, CCW cases in motor vehicles where there’s two or

      16         more occupants, in that timeframe did you find or assign

      17         out where you ultimately found or your team found that

      18         there was some sort of defect in the case whether it be

      19         some Constitutional violation, some Departmental

      20         violation, something of that sort?

      21     A   I can’t give you a number, but I can tell you that it

      22         happened and I can tell you that several officers in the

      23         detective unit would bring some of those cases to my

      24         attention because they did not feel comfortable typing

      25         them.


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       1     Q   What were the name of those officers?

       2     A   Let me see.    Kuhar.    He was one.   Panackia was one.

       3     Q   And for the record, I don’t want to interrupt you.

       4         You’re talking about Detective Jason Kuhar?

       5     A   Yes.

       6     Q   What was the other name you gave, Mr. Ball?

       7     A   He’s a sergeant now.     Michael Panackia; P-a-n-a-c-k-i-a,

       8         Markala Moore.    Police Officer Markala Moore, Police

       9         Officer Felesha Gambril, Detective Eric Carthan.

      10     Q   What was the last name for Eric, Mr. Ball?

      11     A   Carthan; C-a-r-t-h-a-n.     At one point in time, all of

      12         those officers expressed concerns to me about gun

      13         arrests.

      14     Q   Okay.    In those cases that they had concerns about, were

      15         those detainees?    Were those detainees released because

      16         there was no probable cause?

      17     A   In some cases they were.

      18     Q   How many cases were they released where there was no

      19         probable cause?

      20                     MR. SKLAR:   Object to form and foundation but

      21         give an answer if you have one.

      22     Q   (By Mr. Smith)    To your recollection.

      23                     MR. SKLAR:   Object to form and foundation, but

      24         give an answer if you have one.

      25                     THE WITNESS:   I don’t have an answer.      I


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       1         couldn’t tell you for sure.     You would have to check the

       2         arrest book for that and the warrant book.

       3     Q   (By Mr. Smith)    Mr. Ball, I am going to pull up

       4         Defendants’ Exhibit 2 which is your Summons and

       5         Complaint.

       6     A   Okay.

       7                     MR. SMITH:    Is this a good size for you to

       8         review this Mr. Ball and Brother Counsel?

       9                     THE WITNESS:   Yes, sir.

      10     Q   (By Mr. Smith)    Okay.    So let’s go through the

      11         allegations in your Complaint.     Now, we’ve already

      12         discussed about you being a veteran of the City of

      13         Detroit.

      14     A   Yes.

      15     Q   I want you to look at No. 11.

      16     A   Yes, sir.

      17     Q   Can you read that for me?     I’ll give you a chance to read

      18         it.

      19     A   Do you want me to read it out loud or to myself?

      20     Q   No.    You can read it to yourself.

      21     A   Okay.    Yes.

      22     Q   Okay.    The first question I have, you’ve had an

      23         opportunity before today to review this Complaint?

      24     A   Yes, I did.

      25     Q   Okay.    And so senior sergeant.   Is senior sergeant a


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       1         rank?

       2     A   Senior sergeant is not a rank, but it’s recognized if the

       3         lieutenant is gone.

       4     Q   Okay.    And was there any other sergeants in the unit with

       5         you?

       6     A   Yes.

       7     Q   Okay.    And so do you mean you were the senior sergeant

       8         amongst the sergeants assigned to the PDU?

       9     A   Yes.    I was the only sergeant in the PDU that was

      10         actually assigned to the Detective Unit.       The other

      11         sergeants that worked in the PDU did not work for the

      12         Detective Unit.    They were assigned in, for lack of a

      13         better term, as a fill in to assist me in the daily

      14         duties of the precinct detective.     They were assigned to

      15         the 10th Precinct.    I was never assigned to the 10th

      16         Precinct.    They were.

      17     Q   Okay.    And I want you to read allegation 12 and

      18         allegation 13 of your Complaint.

      19     A   Yes, sir.

      20     Q   Okay.    So Special Operations Unit, what do they do?

      21     A   They are a specialized unit.     They usually handle high

      22         crime.    They investigate serious crimes.     They respond to

      23         all serious runs.    They investigate, like I said, all,

      24         you know, serious crimes and that’s their main duty.

      25         It’s a specialized unit and a lot of times they are out


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                                                                          Page 93
       1         of service so they can concentrate in high crime areas

       2         and address crime issues in those areas.

       3     Q   Okay.    And the officers in SOU, are they typically

       4         regular patrol officers or that is a special assigned

       5         unit?

       6     A   No.   It’s an assigned unit within the precinct and those

       7         officers usually in a perfect situation, those would be

       8         veteran officers with a lot of experience and who have

       9         handled different types of cases, but with the manpower

      10         the way it is now, you have officers with little or no

      11         experience working those units which causes a problem

      12         because they don’t have anybody to teach them and to show

      13         them –-

      14     Q   Now, is the – I’m sorry.    I didn’t mean to cut you off.

      15     A   No, you go ahead.    I was just going to say in some cases

      16         you might have two officers working in the Special

      17         Operations Unit who are only separated by months in

      18         seniority and they both have a total of two years or

      19         less.

      20     Q   Now, is the SOU set up in similar fashion to PDU where

      21         there is a chain of command made up of sergeants,

      22         lieutenants?

      23     A   They have a sergeant.    They have a lieutenant.

      24     Q   And once we get to the lieutenant level, who do those

      25         lieutenants in SOU, who is their direct report?


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                                                                          Page 94
       1     A   I believe the captain and the commander.

       2     Q   And what captain are you talking about or speaking of?

       3     A   The captain of the 10th Precinct.     That would be whoever

       4         the captain is.    In this case, it would have been Captain

       5         Severy.

       6     Q   Okay.    So SOU officers, you have the SOU officer who

       7         answers to whoever the particular sergeant is, who

       8         answers to whoever that particular lieutenant was, who

       9         answers to Captain Severy, who answers to Commander

      10         Stewart. Does that sound about right?      Did I get that

      11         right?

      12     A   Yes, and in some cases they might talk to Captain Severy

      13         or come in and talk to Lieutenant McCord about certain

      14         cases of theirs.

      15     Q   But you raise a good point.     To be clear, Lieutenant

      16         McCord does not have span of control over the SOU

      17         officers, does she?

      18     A   She has not span of control, but she has rank.

      19     Q   Now, in regards to allegation 13, you say:

      20                     “SOU utilizes aggressive, “proactive” police

      21              tactics, including pretextual traffic stops, to

      22              justify otherwise unlawful searches and seizures of

      23              citizens and their personal property.”

      24         So what tactics are you speaking of in particular, Mr.

      25         Ball?


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                                                                           Page 95
       1     A   Okay.    I can tell you, for instance, walking in the

       2         street where a sidewalk is provided.     That would be one.

       3         Tinted windows.    What else?

       4     Q   Go ahead.    I’m going to let you finish.

       5     A   And I’m not saying that tinted windows is not a crime

       6         itself and I’m not saying that walking in the street

       7         where a sidewalk is provided is not a crime in itself or,

       8         you know, seatbelts which is a crime.      I’m not saying

       9         that.    None of these are crimes.   I’m just saying that I

      10         had noticed that a lot of these had been used to stop and

      11         investigate and in many cases the officers did not even

      12         give the person a citation for the stop which they

      13         initially stopped the person for and many times they had

      14         to be instructed that if you’re stopping this person for

      15         A, B, C, or D, then you have to give them – where’s the

      16         ticket at?    Where’s your probable cause?     You said you

      17         stopped them for, you know, tinted windows.       Where’s the

      18         ticket for tinted windows, you know.     Those are things

      19         that was going on.

      20     Q   So help me understand.    You’ve pointed to me tinted

      21         windows, walking on the sidewalk --

      22     A   No.   Walking in the street where a sidewalk is provided.

      23     Q   Correct.    Walking in the street where a sidewalk is

      24         provided.    As it relates to these offenses --

      25     A   Oh, another one would be I smelled a strong odor of


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       1         marijuana.

       2     Q   Okay.    And I’ll add that to the list.    Can you describe

       3         to me in your 35 years of policing, can you articulate

       4         for me what you understand reasonable suspicion to be?

       5     A   Reasonable suspicion?    It depends on each case.

       6         Reasonable suspicion.    It could be, you know, you suspect

       7         that a crime was about to take place and the persons that

       8         you’re investigating, you know, it’s more likely than not

       9         that they are participants in it.     It all depends.       It

      10         all depends.     I can’t sit here and give you a textbook,

      11         you know, definition, but that’s not appropriate because

      12         it all depends on a case-by-case basis.

      13     Q   Okay.    Here.   I’m going to pull up Exhibit 8 really

      14         quickly because I want you to see what DPD defines

      15         reasonable suspension as.    I’m going to share my screen.

      16     A   Yes, sir.

      17     Q   Can you see that, Mr. Ball?

      18     A   Yes, sir.

      19     Q   And so you know, we’re under Arrests.      The directive we

      20         looked at earlier for Arrests, Exhibit 8, and under

      21         202.1-3.6, Reasonable Suspicion.     Can you read that for

      22         me?

      23     A   Yes.    (Reading):

      24                     “The facts and circumstances that existed at

      25                the time of the stop that would lead a reasonable


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                                                                          Page 97
       1              officer to believe that criminal activity was (or

       2              had been or was about to be) afoot.”

       3     Q   Okay.    So the Department articulates for its sworn

       4         officers what reasonable suspicion is.      Is that fair to

       5         say, Mr. Ball?

       6                     MR. SKLAR:    I’ll object to form and foundation.

       7          You can answer.

       8                     THE WITNESS:   Okay.   Yes, sir.

       9     Q   (By Mr. Smith)    Okay.    In the examples you just presented

      10         to me, would you agree that tinted windows is an offense?

      11         I believe it’s under the City Ordinances.      Is that an

      12         offense under the City Ordinances?

      13     A   I believe so, yes, but there’s a lot of factors.         You

      14         have to determine the amount of tint, the darkness of the

      15         tint.    There’s a lot of factors that go into it.       You

      16         just can’t go and arrest a guy because he’s got or, you

      17         know, investigate him because he has tinted windows.           It

      18         has to be somewhat -–

      19     Q   Additionally, the offense you pointed out about walking

      20         in the street when a sidewalk is present, do you

      21         understand that to be a criminal offense or at a minimum,

      22         a misdemeanor offense?

      23     A   It all depends.    A lot of people walk in the street

      24         because they have stray dogs out there.

      25     Q   To be clear, I’m not asking about the reason why they’re


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                                                                          Page 98
       1         in the street.    I’m just talking about the letter of the

       2         law because you brought it up and so I’m just asking.

       3     A   Yeah.    You brought up --

       4     Q   Do you have an understanding – let me finish.       I’m going

       5         to let you go.    Let me finish my question.    You seem to

       6         understand that that is some kind of an illegal act.

       7                     MR. SKLAR:   I’ll object to form and foundation.

       8     Q   (By Mr. Smith)    And I ask that because this is the

       9         example you gave to me.

      10     A   Okay.    I was trying to give you an example.    It might be

      11         an illegal act in itself, a ticketable offense, but if

      12         you’re walking down the street and people have loose dogs

      13         out, so your other alternative is to walk down the middle

      14         of the street to protect yourself, that’s not an offense

      15         that I would investigate somebody for.      I would rather

      16         investigate the people who had this dog outside who’s

      17         making it impossible for people and impeding people from

      18         walking down the sidewalk.

      19     Q   Hold that thought because we’re going to come back to

      20         that.    Mr. Ball, I used to work over in 36th District

      21         Court as a City attorney that handled misdemeanor

      22         offenses.

      23     A   Okay.

      24     Q   There was a ticket that always I would see come across

      25         every now and again.     Do you remember those little


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                                                                           Page 99
        1         Christmas trees, the air fresheners that people would

        2         hang in their rear-view mirror?

        3     A   Yes, I vaguely remember that.

        4     Q   In your 35 years of experience, did you know that you can

        5         be written an Obstruction of View ticket for having those

        6         little Christmas tree mirrors hanging on your rear-view

        7         mirror?    Have you ever heard that before?

        8     A   Yes, sir.

        9     Q   Okay.    So we both agree on that?

       10     A   Yes, sir.

       11     Q   Would you write that kind of ticket to a citizen of

       12         Detroit?

       13     A   Would I write it?

       14     Q   Would you issue a ticket to someone for hanging a

       15         Christmas tree air freshener in their rear-view mirror

       16         under the criminal offense of Obstructing View?

       17     A   I can’t tell you that I would write it.     You also have

       18         the opportunity to advise and release and tell them to

       19         remove it, so I have options.     You don’t have to arrest

       20         or ticket everyone for every offense that you find.           You

       21         have that right to advise and release.     You get to be

       22         objective.

       23     Q   Would you agree what you just described to me is called

       24         discretion?

       25     A   Yes.    We all have discretion.   Each police officer has


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                                                                         Page 100
        1         discretion.

        2     Q   So, for instance, if I’m pulled over by an officer for

        3         going 15 miles per hour over the speed limit, is it

        4         within the officer’s discretion to give me a warning and

        5         release me or must they write me a ticket for going 15

        6         miles per hour over the speed limit?

        7     A   I think that’s on a case-by-case basis.     You have to talk

        8         to the arresting officer or investigating officer.          I

        9         can’t tell you.   I’ve hardly ever written a speeding

       10         ticket in my entire career, but I know that officers that

       11         I know who are traffic officers, always known them to

       12         issue those tickets.

       13     Q   So it’s fair to say, we’re going to use the same analogy

       14         I just gave to you about the speeding ticket.       We’re

       15         going to apply this to what you just talked about the

       16         tinted window, the walking in the street when a sidewalk

       17         is available, and I want to ask you this question.          Just

       18         because you wouldn’t write a ticket for those offenses,

       19         that doesn’t necessarily make what the officers who do

       20         write those tickets, that doesn’t make what they’re doing

       21         illegal, does it?

       22     A   If they wrote a ticket for those offenses?

       23     Q   Yes.   It doesn’t make it illegal, and I’ll frame it this

       24         way.   You mentioned the lack of probable cause and some

       25         other things.   That doesn’t make them lack probable cause


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                                                                         Page 101
        1         just because they would issue a ticket and you would not,

        2         would it?

        3     A   No.   It’s discretionary.

        4     Q   I’m going to share screen here and keep the Complaint up.

        5         So it sounds like these and I don’t want to put words in

        6         your mouth, but thus far the offenses that you described

        7         as aggressive, proactive police tactics, including

        8         pretextual traffic stops, sounds like officers exercising

        9         discretion and that they may handle a situation

       10         differently from you?

       11                     MR. SKLAR:   I’ll object to form and foundation.

       12          You can answer.

       13                     THE WITNESS:   Okay.   Looking at this, that’s

       14         fine, but when you use these kinds of stops to get

       15         everybody out of the car to investigate them, to search

       16         the entire car, to go into areas of the car that you

       17         would not normally have any right to because it is a

       18         ticketable offense and you’re not impounding the car and

       19         you’re looking for probable cause.     You’re looking for

       20         guns.    When you use these things as a pretext stop to

       21         find those things, then that’s when we have a problem and

       22         that’s what’s been happening.

       23     Q   (By Mr. Smith)    What you just said to me, it sounds like

       24         this to me, Mr. Ball.      What you said is a criminal

       25         offense has been committed.     The officer exercised his


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        1         discretion to enforce that criminal offense which led to

        2         his ability to gain access to a car where he found other

        3         criminal offenses and if what I’m hearing correctly is,

        4         you don’t like the initial offense that he enforced that

        5         allowed him into that car.    That’s discretion.      That does

        6         not make it, what they did illegal.     Do you see that

        7         distinction?

        8                    MR. SKLAR:   Object to form and foundation

        9         again.   I don’t understand the question, but go ahead.

       10                    THE WITNESS:   And first of all, you said, “I

       11         don’t like it.”   I don’t understand what you mean by what

       12         I don’t like.   I’m not here to like or anything.        I’m

       13         here to investigate each case on its own merits and I’m

       14         not here to say I don’t like this or I don’t like that.

       15         I’m here to investigate each case and when you see these

       16         cases come in on a regular basis and I guess for lack of

       17         a term they use it as a boilerplate arrest where

       18         everything is the same except for the persons’ names,

       19         then you become suspicious.     That’s where you have the

       20         problem.

       21     Q   So Mr. Ball – I’m sorry, sir.    Go ahead.   I’m sorry.        I

       22         didn’t mean to interrupt you.

       23     A   No, go ahead.   I’m finished.

       24     Q   So what do you under “pretextual” to mean?

       25     A   Just what I was saying.    When you use these walking down


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        1         the street when a sidewalk is provided.     What else?        I

        2         smelled strong odor of marijuana coming from the car.

        3         You know, those are pretextual stops, too.     A lot of

        4         these become pretextual stops and it’s known and the

        5         officers working these specialized units, they are

        6         looking for ways to get into a car to search them.

        7         That’s their job. They’re working on stats and numbers.

        8         They’re out there to get guns.    They’re out there to

        9         arrest the bad, sort of bad so-to-speak criminals out

       10         there.

       11     Q   But Mr. Ball, can you say that those stops are

       12         definitively without probable cause or reasonable

       13         suspicion?

       14                   MR. SKLAR:   I’ll object to form and foundation.

       15          You can answer if you have one.

       16                   THE WITNESS:    I’m saying that those stops have

       17         – let me try to say it, have increased dramatically and

       18         they’re becoming more common.

       19     Q   (By Mr. Smith)   That’s not my question, Mr. Ball.        My

       20         question is not about the number of cases of that are

       21         increasing.   Okay.   They increase as long as you have

       22         probable cause and reasonable suspicion to make the stop.

       23         My question to you is, again, can you definitively say

       24         that those stops that you are saying that the SOU made

       25         which were pretextual traffic stops were without


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        1         reasonable suspicion to make the stop or probable stop to

        2         make the stop?

        3                     MR. SKLAR:   I’ll object to form and foundation.

        4         Again, I think you’re referring to every stop that he’s

        5         reviewed.   You haven’t provided him one document of a

        6         stop, but you can answer Mr. Ball to the extent you know.

        7                     THE WITNESS:   I don’t have an answer for that,

        8         sir.   Like I say, each case is reviewed on its individual

        9         merit.   I can’t sit here and tell you that all cases are.

       10         I can only tell you about the ones that I investigate on

       11         on a day-to-day.    I can’t group them all together.        I can

       12         just tell you that each case is investigated on its own

       13         merit individually and then decisions are made from

       14         there, but if you get these arrests on a daily basis and

       15         the circumstances are always the same, that raises a red

       16         flag and that’s where you have to investigate a little

       17         bit more because even the Judges are noticing in court.

       18         They bring it up.

       19     Q   (By Mr. Smith)   Would it be fair to say that if the

       20         initial reason why you stop a vehicle, there is probable

       21         cause for reasonable suspicion for the initial stop, say

       22         I pull you over for a broken tail light.

       23     A   Yes, sir.

       24     Q   If there’s adequate probable cause of reasonable

       25         suspicion to make that stop, then would the unlawful,


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        1         well, let me give use a different example. Maybe a broken

        2         tail light is not the best.      I pull you over and you

        3         don’t have a Driver’s License.     I pull you over for

        4         speeding. You don’t have a Driver’s License.

        5     A   Yes, sir.

        6     Q   If I have adequate probable cause and reasonable

        7         suspicion and I search the car subject to your arrest,

        8         would anything I find in the car in that plain view, that

        9         would be fair game, would it not?

       10                     MR. SKLAR:   I’ll object to form and foundation.

       11         It assumes facts not in evidence and calls for a

       12         hypothetical.    To the extent you have an answer Mr. Ball,

       13         feel free to give one.

       14                     THE WITNESS:   I’m kind of lost on that.      You

       15         said you’re arresting somebody, incident to an arrest?            I

       16         mean --

       17     Q   (By Mr. Smith)   I’ll rephrase, Mr. Ball.    I don’t want to

       18         cut you off.    I’ll rephrase.   I’ll use the example you

       19         gave for the tinted windows.     If an officer pulls someone

       20         over for having tinted windows in violation of the law

       21         and I clearly have reasonable suspicion that the crime

       22         has been committed, can that lead to other criminal, me

       23         finding out about other criminal offenses?     I’m talking

       24         about me as an officer?    It would be lawful to charge for

       25         those other crimes, would it not?


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        1                     MR. SKLAR:   Let me object to form and

        2         foundation again.    The same objection.   I’m not sure if

        3         you’re assuming there’s reasonable suspicion for the stop

        4         in your question or if you’re assuming there’s probable

        5         cause for a subject to be searched based on your

        6         question.    I think that’s a problem.

        7                     MR. SMITH:   I’ll phrase it better for you,

        8         Brother Counsel.    I gotcha.   I’ll phrase it better for

        9         you.

       10     Q   (By Mr. Smith)    Mr. Ball, we’ll assume that there’s

       11         probable cause for the stop.    We’re going to assume that

       12         there’s probable cause for the initial stop, but as a

       13         result of that stop, the officer finds out about other

       14         criminal activity.    Now, based on there being probable

       15         cause for the initial stop, that officer could

       16         investigate and enforce the law as it relates to the

       17         other criminal offenses he finds after the initial reason

       18         he stopped that person.    Would that be fair to say?

       19     A   It depends on how he found out about these other criminal

       20         offenses.

       21     Q   The allegation in 13 – we’ll go to 14.     I’ll give you a

       22         chance to read that one.

       23     A   Yes, sir.

       24     Q   Okay.    What is unusually high?   What does that mean to

       25         you?


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        1     A   They’re spikes.    You know, you might go along and you’ll

        2         have maybe three or four arrests and then all of a sudden

        3         you’ll notice that those three or four arrests have

        4         become ten arrests and even though you ask questions and

        5         then you look at the arrest and they all, like I said

        6         before, have the same similar circumstances.      The only

        7         thing that’s changed is the type of vehicle and the names

        8         on the Defendants.

        9     Q   So let’s attempt to establish a baseline period.         Over

       10         what timespan did you note this increase in arrests?

       11     A   This wasn’t a particular timespan.     It was something that

       12         I had been noticing for a while.

       13     Q   What is a while Mr. Ball, time-wise.     What is a while?

       14     A   Maybe almost a year or so and it just got progressively

       15         worse.

       16     Q   Okay.    So you say for over a year you noticed these

       17         numbers, and I don’t want to put words in your mouth, so

       18         I want to make sure I’m clear on this.     So for over a

       19         year, you noticed this number of CCW cases alleged in

       20         your Complaint, you saw those numbers increase?

       21     A   I’m not saying over a year.    Approximately a year, but

       22         you have to understand when things are – I’m not the only

       23         one who noticed this.    The other officers who I indicated

       24         to you before, they also noticed this and they brought it

       25         to my attention.    It wasn’t like I was the only one


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        1         sitting there noticing this.

        2     Q   Respectfully, Mr. Ball, I’m just concerned with you

        3         because you’re the only one who’s filed suit to my

        4         knowledge and so I want to establish the timeframe that

        5         we’re talking about so I can insist and know what you

        6         understand the baseline to be for when these cases

        7         started to increase.    Was it weeks, months?     Thus far,

        8         you said approximately a year.     Again, to your

        9         recollection, it was approximately a year?

       10     A   To my recollection, I don’t want to be pinpointed to a

       11         certain amount of time, but I did notice an increase and

       12         I did notice the circumstances of the arrests and I did

       13         get complaints from other officers as well.

       14     Q   And to be clear, I’m not looking in your response for

       15         scientific data down to the date and time.      I’m just

       16         trying to get a general understanding of the timeframe

       17         you saw this increase occur, so we’re at approximately a

       18         year.    Okay.   So in that year timeframe, does that

       19         predate the arrival of Lieutenant McCord to the unit?

       20     A   I couldn’t answer that.    I don’t exactly recall when

       21         Lieutenant McCord came to the unit and I’m not going to

       22         sit here and tell you that arrests like this hadn’t been

       23         made prior to her getting there.

       24     Q   Did you notice this increase during the time that

       25         Lieutenant Starks was there?


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        1     A   I’m not going to even tell you that there was an increase

        2         like that when Lieutenant Starks was there.      She would

        3         have to better answer that question.     A lot of things

        4         that happened when Lieutenant Starks was there did not

        5         occur.    I mean, a lot of things that happened when

        6         Lieutenant Starks was there, they had nothing to do with

        7         when Lieutenant McCord was there.

        8                     A lot of things that happened when Lieutenant

        9         McCord was there never would have happened when

       10         Lieutenant Starks was there.    Those are questions that I

       11         can only speculate on.    Like I said before, I can only

       12         answer the questions related to each case that I’ve been

       13         investigating.    I can’t paint this with a broad brush and

       14         say this is how it was.

       15     Q   To be clear Mr. Ball, I’m not asking you to paint with a

       16         broad brush.    I’m using the timeframes that Shanda Starks

       17         and Lieutenant McCord were in the unit as markers in

       18         time.    Now, I believe your earlier testimony was that

       19         Starks left that unit in 2020 or 2021 which corresponded

       20         with McCord arriving, and so if you tell me that this

       21         happened, you know, during the time Starks was there, I

       22         get a sense that, okay, this happened pre ’20, 2021.

       23                     If you tell me this happened after McCord was

       24         there, according to your earlier testimony, that sets the

       25         time marker at, you know, late ’20, early 2021, so that’s


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        1         why I’m asking that question.    So, again, I’ll ask it

        2         just one more time.    Did you notice this increase when

        3         Starks was the lieutenant or when McCord was lieutenant?

        4     A   Well, you want me to pinpoint to just two people.         It’s

        5         more than two people involved.      You’re missing some key

        6         people and I can’t tell you that it happened because --

        7     Q   No, I’m not talking about involvement.     Their involvement

        8         does not matter.

        9     A   I think it does because --

       10     Q   Who was running the unit when you look back and say,

       11         okay, I’m seeing this uptick in cases, who was the

       12         lieutenant running the PDU?

       13     A   It wasn’t – I couldn’t tell you if it was Lieutenant

       14         Starks or Lieutenant McCord.    I can tell you that it was

       15         occurring.   It could have occurred under both of their

       16         watches, but it became more prevalent when a certain

       17         number of individuals started coming back there and

       18         working with Lieutenant McCord.     It seems like you’re

       19         trying to make me pinpoint Lieutenant McCord, but there

       20         were other people involved such as Lieutenant Adams and

       21         Captain Severy.

       22     Q   We’ll get to that -    I’m sorry.   Go ahead.   We’ll get to

       23         them shortly.

       24                   MR. SMITH: I’m sorry, Tammy.     I don’t mean to

       25         step on your record.


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        1     Q   (By Mr. Smith)    I’ll let you finish, Mr. Ball.

        2     A   I’m done.    You know, we’re just, you know, answering the

        3         questions as best as I can and I’m trying to be fair and

        4         honest.

        5     Q   And I thank you for that and so I’m just trying to –

        6         because you said approximately a year and if you left the

        7         Department in say sometime what, May, June, July, that

        8         timeframe, when you say approximately a year, that takes

        9         us into 2020, I believe, and so that’s why I’m trying to

       10         get a sense of the time, so I’ll go with the answer you

       11         initially gave.

       12                     You said approximately a year, so we’ll stick

       13         with that.    With that said, who did you report it to

       14         initially?    Who’s the person you initially reported to

       15         what you saw?

       16     A   What I saw?

       17     Q   With the increase in the number of CCW cases?

       18     A   I spoke to the sergeants and the officers and the Special

       19         Ops Unit.    Those are the first persons I believe I went

       20         and spoke to and I asked, “Hey, what’s going on with

       21         this?”    I spoke to certain – that’s when everybody in the

       22         car – see, my main concern was all these arrested,

       23         everybody getting arrested in the car.

       24                     I’m not saying that everybody stopped was

       25         getting arrested.   I’m saying that the number of arrests


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        1         had increased dramatically.    Say, for instance, you’ll

        2         find one car and six people.    You have six people who get

        3         arrested.    In some cases, five people would get arrested.

        4                     I remember a case where a young lady was the

        5         only one in the car with a CPL.    They let her go and

        6         arrested the five other people in the car.     Those are the

        7         kind of cases I’m talking about, sir.

        8     Q   And I understand that, so the question I have, when you

        9         saw these cases you said (inaudible) very issue, you said

       10         you went to the sergeants and lieutenants of the SOU.

       11     A   No.   I went to the sergeants and officers there.

       12     Q   I’m sorry.   You’re correct.   Why did you not immediately

       13         tell Lieutenant McCord as your direct supervisor?

       14     A   Lieutenant McCord already knew because the officers had

       15         been expressing this already in the PDU and Lieutenant

       16         McCord was aware of this.    She knew about this because of

       17         the fact that I was discharging all these prisoners and

       18         doing not in custodies.    She was aware of this.

       19     Q   So when you say she was aware, you heard people tell you

       20         in her presence about these matters?

       21     A   I heard – I can’t say what I heard people tell her about

       22         in her presence.   I can tell you that the PDU personnel

       23         would say this in her presence.    I can’t tell you what

       24         other people would say, but the detectives will say

       25         things and they will bring it to my attention and I would


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        1         bring it to her attention and as a result, I was told

        2         that I could no longer release a prisoner without

        3         consulting her because of my involvement.

        4                     I can’t say because of my involvement, but I

        5         had started releasing a lot of people because the

        6         probable cause wasn’t there and I had my privilege to

        7         release prisoners revoked.

        8     Q   And so you did that because you believed that was a part

        9         of your job to do that.    Correct?

       10     A   It was my job, sir.

       11     Q   Okay.    And so --

       12     A   And then it was taken away.

       13     Q   Let’s go back to the Special SOU officers.      Who are the

       14         SOU officers and lieutenants that you spoke to?

       15     A   I don’t know all the names because they change.         You

       16         know, they had a high turnover rate, but I know that I

       17         talked to Hopegradle. (phonetic).     I don’t know how to

       18         spell his first name.

       19                     COURT REPORTER:   Hopegradle?

       20                     THE WITNESS:   Yes.   I talked to Sergeant

       21         Brannock.    I spoke to a brand-new sergeant regarding

       22         this.    I spoke to the officers and some of the responses

       23         that I received were quite disturbing.      Like I spoke to

       24         one officer, one brand-new sergeant and I said, “Hey,

       25         what’s going on with these arrests?     You guy are


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        1         arresting everybody in the car and you don’t have

        2         probable cause,” and his response was, “I was ordered to

        3         do what I do.    I’m trying to get confirmed.”

        4     Q   (By Mr. Smith) What is the name of the sergeant you spoke

        5         to?

        6     A   He was a brand-new sergeant.    Not Hopegradle, but he’s

        7         working in the PDU right now.    He said it in front of

        8         everybody.    He’s the most junior sergeant back then

        9         because he was trying to get confirmed and that’s what

       10         his answer was. “I’m trying to get confirmed.        I was

       11         ordered to do this.”    Who ordered you to do this?

       12         Lieutenant Adams.    Sergeant Brannock, I asked him the

       13         same thing.    I said, “What’s going on with this?”

       14         “Lieutenant Adams ordered us to do this.       Talked to the

       15         Special Ops officers.    “Hey, we were ordered by

       16         Lieutenant Adams everybody got to go.”

       17     Q   Okay.    So Mr. Ball, I don’t want to put words in your

       18         mouth, sir.    I’m going to repeat what I thought I heard

       19         you just say.    Did I hear you say that you told the new

       20         sergeant that you guys are making these stops or making

       21         these arrests without probable cause?     Did I hear that

       22         correctly?

       23     A   I asked him what was going on with all these arrests with

       24         all these people getting arrested in cars when everybody

       25         doesn’t have individual probable cause.     His response


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        1         was, “I’m trying to get confirmed.     I was ordered to do

        2         this.”

        3     Q   Again Mr. Ball, given what we just read of the Department

        4         Regulations regarding arrests without probable cause,

        5         clearly the regulations say that’s an illegal act which

        6         could subject those officers who participated to criminal

        7         sanction, so did you immediately go and report that up

        8         your chain of command that these criminal stops were

        9         being made?

       10     A   I spoke to Lieutenant Adams.    He was the boss.      He’s my

       11         boss, so-to-speak.   I spoke to him and as a result, I was

       12         basically told that I didn’t know what I was doing.           We

       13         had an argument about it in front of Sergeant Brannock.

       14         He called me a CRTP sergeant which means a CRTP is

       15         Complainant Refused to Prosecute and he said that was all

       16         I was concerned with and, you know, I took offense to

       17         that because in order to get a CRTP, you have to have a

       18         Defendant acknowledged and in order to – and if you get a

       19         Defendant acknowledged, then you can prepare a warrant

       20         and get a witness detainer from the prosecutor because

       21         the victim has identified the suspect and being the CRTP,

       22         that’s just another investigative tool which, you know,

       23         they tried to use against me.

       24     Q   So I have a question.    I’m sorry.   Go ahead, Mr. Ball.

       25     A   I’m done.


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        1     Q   Well, I have a question.    You said he was kind of sort of

        2         your boss.    Well, he doesn’t have, Lieutenant Adams

        3         didn’t have span of control over you, did he?

        4     A   He’s a ranking supervisor.

        5     Q   No, that’s not my question.

        6     A   Yes.

        7     Q   Did he have span of control over you?

        8     A   Span of control as far as a ranking supervisor?         We

        9         worked together and he did have.     He was my ranking

       10         supervisor.    I couldn’t go in there and tell him I don’t

       11         have to listen to you.    You don’t have span of control

       12         over me.    That was not protocol.   I had to listen to him.

       13         He was a supervisor.    I was his subordinate.

       14     Q   Let’s just say going hypothetically with you that he was

       15         your supervisor and you see your supervisor as doing

       16         something that goes against the regulations.       Who was his

       17         supervisor?

       18     A   Captain Severy.

       19     Q   Okay.    Did you report that to Severy?

       20     A   I spoke with Severy and Severy told me the same thing.

       21         He argued with me.    I tried to talk to people.       Nobody

       22         would listen to me.

       23     Q   Okay.    Who’s the next person up the chain of command

       24         regarding these acts did you go to?

       25     A   That was it.


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        1     Q   You didn’t go to your Commander Stewart about these

        2         violations?

        3     A   No, I didn’t.

        4     Q   Why not?

        5     A   Because in my opinion they were all conspiring against me

        6         and that in order for me to get proper relief and help in

        7         this, I had to go outside the command.

        8     Q   Okay.    Before you go outside the command though, this is

        9         kind of where I want to stay before you go outside the

       10         command.    Did you reach out to Deputy Chief Fitzgerald

       11         and tell him your concerns?

       12     A   No.

       13     Q   Hey, Deputy Chief.    They’re making stops without probable

       14         cause?

       15     A   No.

       16     Q   The deputy chief is in your chain of command.       Correct?

       17     A   He’s not in my chain of command.     Marlon Wilson is.

       18     Q   Okay.    Prior to being assigned out, prior to going

       19         outside the Department, did you reach out to Deputy Chief

       20         Marlon Wilson and say, “Hey, Deputy Chief, they’re making

       21         stops without probable cause?”

       22     A   I sent a correspondence that you should have received

       23         indicating everything I talked to Marlon Wilson about.            I

       24         don’t recall it verbatim right now, but I did talk with

       25         Marlon Wilson.    I sent him a text message.   You should


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        1         have that and he understood.

        2     Q   And I do, but I’m asking -–

        3     A   No, I’m saying he understood.

        4     Q   My question is very particular.

        5     A   Okay.

        6     Q   Prior to you being assigned out.     I’m not talking about

        7         what you did after you got assigned out or attempted to

        8         be assigned out, I should say.    Prior to the Department

        9         attempting to assign you out and prior to you going

       10         outside of the Department with your concerns, did you

       11         reach out to Deputy Chief Marlon Wilson with your

       12         concerns and say, “Hey, they’re making stops without

       13         probable cause?”

       14     A   I spoke to Marlon Wilson and you keep saying I went

       15         outside of the Department.    I never went outside of the

       16         Department.    Marlon Wilson is the deputy chief in charge

       17         of the Detective Unit.    If there would be anyone I would

       18         go talk to, it would be him.    I (inaudible) advice and I

       19         spoke to him.

       20     Q   So when you spoke to him, when you spoke to DC Wilson,

       21         was that after you had the sit-down with Severy and

       22         McCord?

       23     A   That was way after I had the sit-down.     Well, the sit-

       24         down with McCord and Severy, that happened probably about

       25         the same time that I spoke to – that I text Marlon


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                                                                           Page 119
        1         Wilson.    I never did get to speak to him.

        2     Q   Okay.    And -–

        3     A   Go ahead, sir.

        4     Q   And so I just want to make sure we have the timeline

        5         here.    So are you testifying that you sent the text to

        6         Marlon Wilson prior to sitting down with Severy and

        7         McCord to talk about a potential investigation?

        8                     MR. SKLAR:    I’ll object to form and foundation.

        9          Go ahead.    Go on.

       10                     THE WITNESS:   I can’t tell you the exact time,

       11         but I know that Marlon Wilson was advised.

       12     Q   (By Mr. Smith)    All right.    Okay.   I’ll give you a chance

       13         to read allegation 15, Mr. Ball.

       14                     MR. SKLAR:    Excuse me.    Is that a question?

       15                     MR. SMITH:    No.   I was saying I will give him

       16         an opportunity to read allegation 15.

       17                     MR. SKLAR:    Oh, all right.

       18                     THE WITNESS:   Okay.

       19     Q   (By Mr. Smith)    Okay.    When you say you suspected that

       20         these arrests, searches, and seizures, violated the

       21         Fourth Amendment’s prohibition against unreasonable

       22         search and seizures, was that as a result of the cases

       23         coming to you through the PDU?

       24     A   Yes, sir.

       25     Q   Okay.    And that’s when you noticed.      Did you assign those


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                                                                         Page 120
        1         cases out?

        2     A   Yeah.    Remember, all the cases would get assigned whether

        3         they would get processed or not, they always got

        4         assigned.

        5     Q   And did any of those cases that you suspected had some

        6         kind of Constitutional defect that you assigned out, did

        7         warrants did get signed on those cases?

        8     A   I couldn’t say.    There may have been some that have

        9         warrants and then there were some that didn’t get

       10         warrants signed on.

       11     Q   Why is it possible that you believe that these cases have

       12         some kind of Constitutional defect and you allow warrants

       13         to be signed?

       14     A   Okay.    For one thing, that’s my professional opinion as a

       15         sergeant working in a Detective Unit for 24 or 25 years.

       16         If I felt, and once again I had spoke – we had trouble

       17         with this earlier.    I told you there were some cases that

       18         were iffy and I would go to the Prosecutor’s Office and I

       19         would talk to them and tell them what I had, and I also

       20         told you that in a lot of these cases like this, we were

       21         told to send the warrants down and let the Prosecutor’s

       22         Office make the determination and get it off of us.

       23     Q   In allegation 16, I’ll give you an opportunity to read

       24         that.

       25     A   Okay.


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                                                                         Page 121
        1     Q   Now, you spoke about this earlier?

        2     A   Yes.

        3     Q   Did you send any emails to anyone within DPD regarding

        4         your allegations in number 16?

        5     A   About this particular paragraph 16?

        6     Q   And I say this in relation to number 16, you testified

        7         that you went directly to Adams --

        8     A   Yes, I did.

        9     Q   -- and some of the sergeants.

       10     A   Each one in this paragraph I spoke to individually.

       11     Q   And did you send any emails, any kind of communication

       12         outside of the text you sent to Marlon Wilson, did you

       13         send any emails, any kind of communication to anyone in

       14         DPD about what they told you?

       15     A   No, not that I recall.    No.

       16     Q   So why would you text Marlon Wilson versus sending an

       17         email to the chain of command?

       18                    MR. SKLAR:   I’ll object to form and foundation.

       19          You can go ahead and give an answer.

       20                    THE WITNESS:   Marlon Wilson is part of my chain

       21         of command.   If I didn’t feel comfortable and I felt that

       22         the people who I was talking to in the beginning were

       23         retaliating against me, I did not feel comfortable and I

       24         had that recourse to go talk to or send a text message to

       25         Marlon Wilson and that’s what I exercised my right to do.


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                                                                          Page 122
        1         I didn’t do anything wrong.

        2     Q   So, again, this happened on May 20, 2021 that you spoke

        3         with him.   Correct?

        4     A   Approximately, yes.

        5     Q   So when you speak to him and you --

        6                     MR. SMITH:   Did we lose somebody?

        7                     MR. SKLAR:   I’m here.

        8                     MR. SMITH:   What did you miss Brother Counsel?

        9                     MR. SKLAR:   Nothing.

       10                     MR. SMITH:   Okay.   I thought I heard somebody

       11         get kicked.

       12                     MR. SKLAR:   I’m good.

       13     Q   (By Mr. Smith)   Okay.   So you said this happened

       14         approximately on May 20th?

       15     A   Yes, sir.

       16     Q   So after you had that conversation with Lieutenant Adams

       17         and the sergeants, what do you immediately do next?

       18     A   I can’t tell you what I did immediately next.        I can’t

       19         tell you that because I don’t recall exactly what I

       20         immediately did, but I continued to work in the PDU and I

       21         continued to address this and I continued to release

       22         prisoners that I felt that probable cause was lacking or

       23         there were questionable circumstances and as a result of

       24         that, I was told that I could no longer do that by

       25         Lieutenant McCord.


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                                                                          Page 123
        1     Q   Let’s back up, Mr. Ball.

        2     A   Ah-huh.

        3     Q   The question I asked you was what you immediately did

        4         next.    It sounds like what you just told me is you went

        5         back to work.    Is that accurate?

        6     A   I was at work.

        7     Q   Okay.    So you went back to just doing your sergeant

        8         duties at the PDU.    Is that fair?   I don’t want to put

        9         words in your mouth.

       10     A   I went back to doing what I was doing that led me to

       11         investigate this and I kept a record and I kept doing

       12         what I felt was right as far as discharging prisoners and

       13         not proceeding with cases and as a result, I was called

       14         in by Lieutenant McCord who told me that I no longer had

       15         the (inaudible)to just release a prisoner.      I had to go

       16         through her which I never had to do and which no other

       17         sergeants in PDU had to do to my knowledge and there was

       18         really no reason given, and I assumed that it was because

       19         of the allegations I had made and that’s where I went and

       20         I continued to do what I was doing and --

       21     Q   Mr. Ball, I don’t mean to interrupt you, Mr. Ball.           It

       22         looks like you’re reading off something.       What are you

       23         reading off of?

       24     A   I’m not reading off of anything, sir.     I’m looking at the

       25         screen that you provided.


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                                                                          Page 124
        1     Q   Gotcha.    Okay.   I’ll let you finish.

        2     A   I’m done.

        3     Q   Now, here’s the concern, Mr. Ball.     This happened on

        4         approximately May 20th.      Did you send that text message

        5         to DC Marlon Wilson on May 20th?

        6     A   I don’t know, sir.    I would have to see it.     I can’t

        7         recall.

        8     Q   Okay.    So it sounds like you went back to work.

        9     A   I was always at work.    I was always at work.

       10     Q   Okay.    You were at work.   So this happened at work.         When

       11         I’m saying you went back to work, you continued on with

       12         your duties.    So this happens.   You continue on with your

       13         duties, but help me understand here.      You just told

       14         officers that you’re doing something that as I read to

       15         you earlier the Department regulations say is a serious

       16         offense.    You’re making arrests without probable cause

       17         which they define as an illegal act?

       18     A   No.   You said I just told officers.      I had just spoken

       19         with Lieutenant Adams, Sergeant Brannock, Sergeant

       20         Wiencek, about what was going on with all these arrests

       21         coming in here.

       22     Q   And you told them that – well, let me do it this way.

       23         Did you tell Lieutenant Adams, Brannock and Wiencek that

       24         you believed that those stops lacked probable cause?

       25     A   What I told them – I didn’t tell them anything.         I


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                                                                         Page 125
        1         questioned them and at that time I was told, first

        2         Sergeant Wiencek told me, “Hey, I don’t know.       I’m just

        3         doing what I was told to do.    I’m trying to get

        4         confirmed.”    That was -–

        5     Q   What questions did you ask him specifically to your

        6         recollection?

        7     A   That was regarding the arrests and I said, “What’s going

        8         on with all these arrests, all these people getting

        9         arrested for a gun in a car and we don’t have individual

       10         probable cause?”    And you have to have individual

       11         probable cause to arrest anybody for a gun and this was

       12         not going on.

       13     Q   That’s my point, Mr. Ball.    You’re telling me you

       14         informed the people you just cited that, hey, what’s

       15         going on with all these cases?    They lacked individual

       16         probable cause.    That is a violation of the DPD

       17         regulations and I’m trying to understand why you went

       18         back to assuming your normal duties as opposed to

       19         immediately reporting that as required by the DPD

       20         regulations?

       21     A   I reported it to Jason Adams who was a lieutenant.          He

       22         was the one who gave out the order.

       23     Q   Okay.

       24     A   And then --

       25     Q   Help me understand.    So you reported it to the lieutenant


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                                                                         Page 126
        1         that you claim made the offense?

        2     A   I didn’t know he had made the offense at that time.           I

        3         told you when I spoke to him, that’s when it was brought

        4         to my attention that Lieutenant Adams had gave the order.

        5         Even the officers assigned to the Special Operations Unit

        6         had been telling people that Jason Adams, and I know

        7         that’s hearsay, but I know they had been spreading rumors

        8         that Lieutenant Jason Adams were telling to arrest

        9         everybody.    Everybody goes.

       10                     That was what I was told.   Everybody in the car

       11         goes with a gun no matter what.    Everybody goes.

       12     Q   And I think I heard you say you kept records.       What

       13         records did you keep?

       14     A   It wasn’t that I kept records.    I said I kept monitoring

       15         all the arrests that were coming in and when I found out

       16         that they had these irregularities, I would continue what

       17         I had to do and if they lacked probable cause, then I

       18         would release them pending and --

       19     Q   When you say “monitor,” did you just have some case

       20         numbers that you kind of looked in the system at or did

       21         you segregate those files and keep them apart from

       22         everything, from your other -–

       23     A   Yeah.    They’re segregated anyway because --

       24                     COURT REPORTER:   Excuse me.   We’re cutting each

       25         other off here and I’m not getting the full question and


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                                                                         Page 127
        1         answer.   “. . . did you segregate those files and keep

        2         them apart from everything, from your other” --

        3     Q   (By Mr. Smith)   From your other cases?

        4                     COURT REPORTER:   Thank you.

        5                     THE WITNESS:   Okay. The gun cases are set apart

        6         from each case anyway.     Each case comes in and has its

        7         own category, so it was easy to sign the gun cases as

        8         opposed to a B&E auto case.     Each case was categorized

        9         and it was put into the arrest book; charged CCW motor

       10         vehicle, charged CCW person.     That’s how we kept the

       11         record.

       12     Q   (By Mr. Smith)   Now, against the backdrop of this, did

       13         Commander Stewart have weekly meetings regarding gun

       14         cases, if you recall?

       15     A   She had meetings, but I was not privy to those meetings.

       16     Q   You never attended any of those meetings?

       17     A   I may have attended one meeting, but --

       18     Q   Well, when did you attend that one meeting?

       19     A   That was a while ago.      I couldn’t even tell you when, but

       20         that was Lieutenant McCord.     She chose who she wanted to

       21         go to those meetings with her and I was not the person

       22         she chose.

       23     Q   You were a senior sergeant.     Why didn’t you attend those

       24         meetings?

       25     A   Because I was not invited or ordered to, sir.


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                                                                         Page 128
        1     Q   Okay.    Did you receive any emails regarding the gun

        2         cases, the statistical numbers that the Department, you

        3         know, had record of?

        4     A   No, sir.

        5     Q   Now, I want to make sure I heard you right.      Did you say

        6         that Lieutenant McCord advised you to notify her in

        7         regards to expired CCW arrests?

        8     A   No.    Lieutenant McCord told me that I would no longer be

        9         able to release prisoners on my own.      I had to go through

       10         her.

       11     Q   Okay.    And did she give you a reason for why she said

       12         that to you?

       13     A   No, not that I can recall.    I just know that that had

       14         never happened to me during my entire career and I know

       15         that’s part of my job responsibilities to determine if a

       16         person is held in custody or not.

       17     Q   So I’m going to give you an opportunity to read number 17

       18         of the Complaint.

       19     A   Yes, sir.    Okay.

       20     Q   So this unwritten “order”, if I heard your testimony

       21         right, is it that this unwritten order came from

       22         Lieutenant Adams?

       23     A   Yes, sir.    That was my understanding.

       24                     MR. SKLAR:   Do you want to take a break,

       25         Marcellus?    We can take a five minute if you’re getting


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                                                                           Page 129
        1         antsy?

        2                     MR. SMITH:    Yes.    Let’s take about a five

        3         minute break.

        4                     MR. SKLAR:    Yeah.   Let’s reconvene at 2:25.

        5         Six minutes.

        6                     (At 2:19 p.m., recess taken)

        7                     (At 2:28 p.m., back on the record)

        8     Q   (By Mr. Smith)    I still should be sharing my screen.

        9                     MR. SKLAR:    I think you’re on Paragraph 17.

       10                     MR. SMITH:    Yes.

       11     Q   (By Mr. Smith)    Okay.   I just want to jump down to number

       12         20 and I’ll give you a chance to read that, Mr. Ball.              Is

       13         Mr. Ball back?    Where is my screen at?     Oh, there he is.

       14         Okay.    I had my screen set up funky.     So I’ll give you an

       15         opportunity to read Paragraph 20.

       16     A   Yes, sir.

       17     Q   Okay.    So earlier it says you spoke to Lieutenant Adams

       18         on May 20th.    So you also spoke to him again on May 24th.

       19         Is that correct?

       20     A   I’m not sure if that’s correct or not, but I did speak to

       21         him and that was the last correspondence that I had with

       22         him.

       23     Q   What did you say?    What was the conversation about, first

       24         of all?

       25     A   Basically, I believe it was about the arrest and the lack


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                                                                         Page 130
        1         of probable cause.

        2     Q   And do you recall what you said to him in particular?

        3     A   No, sir, I don’t.

        4     Q   Okay.    And in allegation 21, I’ll give you a chance to

        5         read that.

        6     A   Okay.

        7     Q   Is that connected to number 20?

        8     A   That’s connected not to 20.    That’s connected to when I

        9         went to Lieutenant Adams regarding the allegations of him

       10         making that order to arrest everybody.     I believe that’s

       11         when that was.    On the 24th, that’s the day I spoke to

       12         him briefly, but I think all that other, it may have been

       13         related to when I spoke to him, Brannock, Wiencek, about

       14         the blanket order to arrest everybody.

       15     Q   Okay.    And I’ll give you an opportunity to read through

       16         22.

       17     A   I had been contacting Lori Mireless and Kim Miles all the

       18         time and I had been --

       19     Q   Well, let me stop you, Mr. Ball.     There wasn’t quite a

       20         question yet.

       21     A   Oh, okay.

       22     Q   Thank you.    Okay.   So when you contacted the prosecutors,

       23         what was the form of communication?     Was it an email, a

       24         phone call?    How did you guys connect?

       25     A   On the phone.


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        1     Q   And what did you tell the Wayne County Prosecutors you

        2         referenced?

        3     A   I can’t remember verbatim, but it was in regards to your

        4         arrests and the lack of probable cause.

        5     Q   Now, you reached out to the Wayne County Prosecutors.

        6         Did you ever try to contact then Chief of Police Craig?

        7     A   I tried to contact Chief of Police Craig prior to this on

        8         other incidents and he would not talk to me.

        9     Q   Okay.    But my question is did you reach out to him on

       10         this incident?

       11     A   No, sir.

       12     Q   Okay.    Did you reach out to any of the assistant chiefs

       13         on this incident?

       14     A   No, sir.

       15     Q   You also reached out to Jacqueline Pritchard which I find

       16         very interesting.     Was Jacqueline Pritchard, she was

       17         commander over at No. 8 I believe you said.      No, not No.

       18         8.   It was a different unit.   What was she commander of

       19         at that time?

       20     A   Narcotics.

       21     Q   Narcotics.    Okay.   So she’s not at No. 10.   Why did you

       22         reach out to Commander Pritchard at that time?

       23     A   Because I thought she was the only executive that I could

       24         trust.

       25     Q   And so what did you tell Commander Pritchard?


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        1     A   I told her my concerns and once I told her that, I

        2         believe she had no recourse but to inform Marlon Wilson.

        3     Q   So was it Commander Pritchard who reached out to DC

        4         Wilson on your behalf?

        5     A   I don’t know if she did or not.    I know I did.      You would

        6         have to ask her.

        7     Q   Okay.

        8     A   I don’t know what she did.    She didn’t talk to me about

        9         her, you know, correspondence with -–

       10     Q   You – I’m sorry.    I don’t want to step on you.      You

       11         obviously seem to have a comfort with Jacqueline

       12         Pritchard.    What is the nature of you and Commander

       13         Pritchard’s relationship?

       14     A   No.   I have a comfort with Lieutenant – I mean, Deputy

       15         Chief Wilson as well.    I have a comfort level somewhat

       16         with Tiffany Stewart.    We all used to work together.

       17     Q   But that’s not my question.    I’m sorry.

       18     A   I’m trying to tell you it’s a different comfort level

       19         with different people.    I felt like on this incident I

       20         couldn’t trust anybody within the 10th Precinct, so I,

       21         you know, spoke to Commander Pritchard who I believe was

       22         non-bias and would help me make the right decisions and

       23         she couldn’t help me make a decisions and I believe

       24         that’s when she went to Marlon Wilson and forwarded my

       25         concerns.


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        1     Q   So she went to Marlon Wilson?     Did I hear you right that

        2         she went to Marlon Wilson and told --

        3     A   I said I don’t know --

        4     Q   You don’t know.    Okay.

        5     A    -- whether she did.     I said she may have, but I know

        6         that I did.    I told you I don’t know what her

        7         correspondence was with Marlon Wilson, but I would not be

        8         surprised.

        9     Q   And just so I’m clear, at some point in the course of

       10         your DPD career prior to you being at No. 10, did you not

       11         work with Jacqueline?      You worked with Jacqueline

       12         Pritchard?    Correct?

       13     A   I worked with her at Narcotics.     I worked with her at the

       14         8th Precinct Detective Unit.

       15     Q   Okay.    And isn’t it also true, correct me if I’m wrong,

       16         but didn’t Jacqueline Pritchard sit on one of your

       17         commander actions?

       18     A   I only had two in my whole career.

       19     Q   No, no.    My question is didn’t she sit on one of your

       20         commander actions?    I’m not talking about the disposition

       21         or how many you had?

       22     A   Yes.

       23     Q   She did sit on one of your commander actions, and prior

       24         to you working at No. 10, had you also worked with then

       25         Deputy Chief Marlon Wilson?


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        1     A   No.

        2     Q   But you had never worked with him – okay.      I gotcha.

        3     A   None other than working under his command at the

        4         detective group.

        5     Q   Now, did I hear you correctly when you said prior to

        6         coming to No. 10 you had also worked with Commander

        7         Stewart in some form or capacity?

        8     A   Yes.    We were both detectives together.

        9     Q   But you felt you could not trust her to take your

       10         concerns to?

       11     A   Correct.

       12     Q   And so let’s go over allegation 23.     I’ll give you a

       13         chance to read that.

       14     A   Yes, sir.

       15     Q   Okay.    But before I even go there, DC Fitzgerald, had you

       16         worked with him prior to arriving at No. 10?

       17     A   I worked with him at Narcotics.

       18     Q   So would it be fair to say that you had some form of work

       19         relationship with some pretty high – well, at least the

       20         mid-level manager level with some high-ranking DPD

       21         officials?    Is that fair to say?

       22     A   Yes, it is.

       23     Q   So as it relates to allegation 23, I’ll give you an

       24         opportunity to read it.

       25     A   Yes, sir.


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        1     Q   Okay.    So on May 27th, Captain Severy and McCord met with

        2         you to tell you you were being reassigned until further

        3         notice to the Data Quality Unit effective at 6:00 a.m.

        4         I’m reading that right.    Correct?

        5     A   You’re reading it, but it was – they told me that I was

        6         being reassigned because I was being investigated for

        7         spreading rumors.

        8     Q   For spreading rumors?

        9     A   Yes, sir.

       10     Q   Would it fair to say that’s also known as gossiping?

       11     A   Yes, sir.

       12     Q   Okay.    I’m going to pull up Exhibit 7 and I’m still

       13         sharing my screen and I’m in the record regarding Code of

       14         Conduct and I’m going to direct your attention to 102.3-

       15         6.15.    Can you see that, Mr. Ball?

       16     A   What is the number again?

       17     Q   102.3-6.15.    It says Miscellaneous.    Can you see that?

       18     A   Yes.

       19     Q   Read subsection 2 for me, please.

       20     A   (Reading):

       21                     “Gossiping about a member of the DPD concerning

       22                personal character or conduct.”

       23     Q   Okay.    And per the Department Manual, that is considered

       24         prohibited conduct?

       25     A   Yes.


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        1     Q   Would you agree with that representation, Mr. Ball?

        2     A   Yes, sir.

        3     Q   Okay.    So I’ll pull the Complaint back up and we’ll dig

        4         into this allegation.    Who did Captain Severy or Donna

        5         McCord say you were gossiping about?

        6     A   They never said who I was gossiping about.     They never

        7         said who made the allegation.    They never said anything

        8         about it.    When I went in there, gossiping was the last

        9         thing I expected to hear from them.     I don’t know where

       10         this gossiping came from.    As a matter of fact, I don’t

       11         even know what the results of the investigation was or

       12         who the complainant was.    I never heard anything about

       13         gossiping this whole time.

       14                     I believe this was something that was

       15         fabricated in order to justify my being removed without

       16         it looking like I was being retaliated against.

       17     Q   Understood.    So just so I’m clear, Captain Severy or

       18         Donna McCord never told you what the -–

       19     A   No.

       20     Q   -- they just told you it was for the offense of

       21         gossiping?

       22     A   That’s exactly correct, sir.    They never told me who was

       23         the complainant, what was allegedly said which I had the

       24         right to know.    I asked them did I have the right to

       25         know.    I told them I had a right to know.    They would not


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        1         tell me, neither one of them.

        2     Q   And what time did this sit-down occur or approximately?

        3     A   This happened mid-afternoon.

        4     Q   So mid-afternoon on May 27th.    Is that fair?

        5     A   Yes, sir.

        6     Q   And so what else did they tell you to do in regards to

        7         being assigned out?

        8     A   Nothing.    I went back out.   I was getting ready to sit

        9         down at my desk, finish out my tour of duty.       I was on

       10         overtime, I believe.    Captain Severy relieved me of my

       11         duties.    I told the unit that I was being transferred.

       12         He told me I was being reassigned until further notice

       13         and I was told to get my things and leave.

       14     Q   Okay.    Now, is it typical from your personal knowledge

       15         that when there’s a pending investigation that the

       16         officer, that the investigation is assigned to a

       17         different unit or a different precinct while that

       18         investigation is going on?     Isn’t that customary?

       19     A   No, not in all cases and in this case, nothing was

       20         customary.    Nothing was going on with the Department

       21         Standards and Regulations.     Commander Stewart was not

       22         notified.    Personnel was not notified.   They circumvented

       23         all the means to properly transfer someone or have them

       24         reassigned and they spoke directly with Captain Sevick

       25         and basically asked him could he keep me down there and


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        1         he agreed and everything regarding the transfer or

        2         reassignment process was not followed.

        3                     They didn’t adhere to it at all.   Commander

        4         Stewart found out about it.    She said she did not know

        5         anything about this.    She did not authorize it and she

        6         became very upset about it.

        7     Q   Did DC Wilson have any knowledge?      Did he know you had

        8         been assigned out prior to you being assigned out?

        9     A   I don’t believe so.    I don’t know.   I didn’t speak to him

       10         regarding that.

       11     Q   Okay.

       12     A   And I don’t know – oh, I’m sorry.

       13     Q   Did you immediately contact your union rep after were you

       14         assigned out?

       15     A   No.

       16     Q   Did you contact your union rep at all?

       17     A   I had spoke with my union rep like I had told you before.

       18         I had spoke to my union rep regarding another incident

       19         and I lost faith in him when he told me that I could go

       20         anywhere that I wanted to and I lost faith in him.

       21                     I had lost faith in a lot of people at that

       22         point in time because I felt like, you know, I was being

       23         ostracized, felt like I couldn’t trust anybody.        I felt

       24         like I was under the radar and I felt like they were

       25         trying to find reason to get rid of me.     It was hard to


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        1         work.

        2     Q   And so you felt like you couldn’t trust your union to

        3         represent you in a matter in which you felt you were

        4         aggrieved?

        5     A   Yes, sir.

        6     Q   Now, how soon after that meeting ended did you contact

        7         Commander Pritchard?

        8     A   I didn’t contact her after that meeting.

        9     Q   When did you contact Commander Pritchard?

       10     A   This was all done before.    Once I left there, once I was

       11         basically told to get out, I contacted my attorney.

       12     Q   So if I heard you right, you had your discussions with

       13         Pritchard before McCord and Severy attempted to assign

       14         you out. Is that correct?

       15     A   Yes.

       16     Q   Okay.    And how soon after leaving your meeting with

       17         Severy and McCord did you contact DC Wilson?

       18     A   I’m not sure, but I know that I had contact with him.             I

       19         don’t know exactly what time I contacted him.

       20     Q   And so was it hours that it took you to contact him?            Was

       21         it days?

       22     A   I don’t believe it was hours or days.     I don’t know

       23         exactly when, but I know it wasn’t days.       It should be

       24         timestamped on the correspondence.

       25     Q   So it’s fair to say sometime after you get assigned out,


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        1         you contact Wilson.    Now, was the only communication you

        2         had with Wilson via text or did you speak to him on the

        3         phone at some point?

        4     A   Text.

        5     Q   Okay.    So allegation 27.   It says:

        6                     “Deputy Police Chief Wilson informed Plaintiff

        7              Marcellus Ball that he was unaware of the transfer.”

        8         So in that text message exchange you had with Deputy

        9         Chief Wilson, he said he was unaware of the transfer?

       10     A   I believe so.    I would have to see the actual text

       11         message to comment on that.

       12     Q   And so No. 28.    It says:

       13                     “Deputy Police Chief Wilson told Plaintiff

       14              Marcellus Ball all transfers of personnel assigned

       15              to the Detective Unit must be approved by him and no

       16              request for the transfer was made to him.”

       17         Now, of course, the text may not have been stated just

       18         the way it’s in this Complaint, but some form of

       19         communication similar to that was had via that text

       20         exchange considering the only communication you had with

       21         Wilson was via text?    Is that correct?

       22     A   I’m not sure of how that response was made, sir.         I can’t

       23         tell you exactly how it was made because I don’t

       24         remember.

       25     Q   I’m a little confused.    You said the only communication


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        1         you had with DC Wilson was via text and so I just want to

        2         be sure that I’m clear on that because it seems like

        3         there were a lot of things said on this text.       I just

        4         want to make sure this is all stacking up.

        5                     So I want to be clear.   No. 28.   In some form

        6         or fashion, that communication was via text?      That’s from

        7         your prior testimony.

        8     A   If this was not in that text, it was communicated to me

        9         by someone else or I don’t know if Wilson had talked – I

       10         don’t believe Wilson had spoken to me, but I have found

       11         out that Deputy Chief Police Marlon Wilson did not know

       12         about this.    I can’t remember exactly how I found out

       13         about it, but I was informed that he didn’t know anything

       14         about it and that’s when I had found out that they had

       15         totally circumvented the transfer system.

       16     Q   So given your testimony --

       17     A   And I think it was, it might have been even Tiffany

       18         Stewart, the commander.

       19     Q   Okay.    So given your testimony, then allegation 28 is

       20         incorrect.    You were not told by Deputy Chief Wilson that

       21         the transfer had to be approved by him and no request for

       22         the transfer was made.    You heard about it secondhand?

       23         Is that what I’m understanding now?

       24     A   I’m not going to say that, sir, because I don’t remember.

       25         There was a lot going on at that time.     I was under a lot


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        1         of duress and I’m going to tell you that, but I know that

        2         I was informed some kind of way that Chief Wilson did not

        3         know about it and that was confirmed.

        4     Q   Okay.    And let’s go to allegation 29.   It says:

        5                     “Plaintiff Marcellus Ball later learned that

        6              captain Ian Severy and Lieutenant Donna McCord had

        7              circumvented the chain of command to relieve

        8              Plaintiff of his duties because he expressed his

        9              concerns regarding the unlawful Order and practice

       10              to conduct blanket searches, seizures, and arrests

       11              when a gun was found in a vehicle, irrespective of

       12              ownership, knowledge, or responsibility.”

       13         Who told you in the Department that Ian Severy and McCord

       14         were transferring you because you were speaking out about

       15         this unlawful order?

       16     A   Let me read this again.

       17                     MR. SKLAR:    Did I lose everybody?    Oh, no.       I

       18         got you.    Everyone looked still.

       19                     MR. SMITH:    I’m still here Brother Counsel.

       20                     MR. SKLAR:    Okay.

       21                     MR. SMITH:    Were you here for the last

       22         question?

       23                     MR. SKLAR:    I wasn’t.

       24     Q   (By Mr. Smith)    Okay.   The last question I asked was in

       25         regards to allegation No. 29 Mr. Ball, who in the


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        1         Department told you that Captain Severy and Lieutenant

        2         McCord were attempting to essentially assign him out

        3         because he spoke out about what he alleges is the

        4         unlawful order?

        5                     MR. SKLAR:   Okay.   Got it.

        6                     THE WITNESS:   Okay.   I can’t say exactly who

        7         told me what, but I was getting a lot of anonymous

        8         information regarding this incident and that I should

        9         look into it.    I can’t tell you exactly who told me that

       10         Captain Severy and Donna McCord had circumvented the

       11         chain of command, but I found out very shortly because I

       12         was – the transfer was immediately rescinded and I think

       13         that was via Tiffany Stewart.

       14     Q   (By Mr. Smith)    And to be clear Mr. Ball, I’m going to

       15         give this as a qualifier.    When you say you can’t tell

       16         me, do you mean you can’t recall or you will not tell me?

       17     A   I can’t recall and I do believe that it was – in fact, I

       18         can think about it correctly now.     I do believe that I

       19         think it was Commander Stewart because at the time they

       20         did this, she was not in the office.

       21     Q   Okay.    And so I want to be clear, so you believe it was

       22         Commander Stewart who told you that Captain Severy and

       23         McCord were assigning you out because you expressed

       24         concerns about this unlawful order?

       25     A   And she had no knowledge of it.


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        1                    MR. SMITH:   I’m going take a quick little break

        2         here, a couple minutes.

        3                    MR. SKLAR:   Okay.   When do you want to

        4         reconvene?

        5                    MR. SMITH:   We’re just going to go off the

        6         record really quickly here.

        7                    (At 2:53 p.m., recess taken)

        8                    (At 2:55 p.m., back on the record)

        9     Q   (By Mr. Smith)    So Mr. Ball, I want to go back to – where

       10         is it at, No. 29, where you seem to indicate that you

       11         learned about this from Commander Stewart.

       12     A   I believe so.

       13     Q   You believe so.   Correct me if I’m wrong.    You testified

       14         earlier that you didn’t take your initial concerns about

       15         the probable cause to Stewart.    Is that correct?

       16     A   Yes.

       17     Q   So prior to being assigned out, you didn’t take your

       18         concerns to DC Wilson.    Is that correct?

       19     A   I’m not -–

       20     Q   I’m talking about prior to you being assigned out or at

       21         least attempted to be assigned out.

       22     A   You have to check the timeline, but I don’t know, but I

       23         know that I did reach out to him regarding my concerns.

       24     Q   So Mr. Ball, if you didn’t go to Commander Stewart to

       25         inform her of these probable cause issues, how is it


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        1         possible that she’s able to come back and tell you they

        2         assigned you out or attempted to assign you out because

        3         you spoke out about these probable cause issues?

        4                     MR. SKLAR:   Object.   You haven’t laid a

        5         foundation and assumes facts not in evidence.       Go ahead.

        6         Calls for a hypothetical.     Go on.

        7                     THE WITNESS:   You said how is it possible?

        8     Q   (By Mr. Smith)   Yeah.     I’m trying to close the knowledge

        9         gap here.   You didn’t go to Commander Stewart with your

       10         PC issue, about probable cause?

       11     A   No.

       12     Q   And so now you’ve testified that you believe that it was

       13         Commander Stewart who told you that Lieutenant McCord and

       14         Captain Severy circumvented the chain of command because

       15         you expressed, you know, you spoke out about these

       16         probable cause issues?

       17     A   Yes.

       18     Q   How is it possible she would have known about this if you

       19         didn’t tell her?

       20     A   If I didn’t tell her?

       21                     MR. SKLAR:   Foundation.   Go on.

       22                     THE WITNESS:   What do you mean if I didn’t tell

       23         her?   I didn’t tell her anything.     Commander Stewart is

       24         the commander of the 10th Precinct.     She would get

       25         informed of things.      These would be questions that you


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        1         would have to ask her.    All I know is that she was not

        2         aware of the transfer or the reassignment.     She had no

        3         knowledge of it.

        4                     She was upset about it because the process of

        5         me being reassigned was circumvented.     There was no

        6         notification to DC Wilson.    There was no notification to

        7         Personnel.    There was, from my knowledge and my

        8         understanding, there was only conversation between

        9         Captain Severy, Donna McCord, and Captain Sevick.

       10     Q   Gotcha.    Now, allegation 30:

       11                     “Plaintiff Marcellus Ball’s work environment

       12              became increasingly hostile and threatening causing

       13              him, among other things, hardship, and distress.”

       14         Mr. Ball, how did your work environment become hostile?

       15     A   How did it become?    First of all, it was increasingly

       16         hostile all along regarding this.     It was hostile and my

       17         duties were being taken away from me.

       18     Q   Okay.    What duties were taken away from you, Mr. Ball?

       19     A   My right to discharge a prisoner without – because I felt

       20         that there was not probable cause.     That was one of the

       21         main things.    That’s one of the main things that I need

       22         to perform my duties and that was taken away from me and

       23         no reason was given and it led me to believe that it was

       24         because of what I had done.

       25     Q   Okay.    What other incidents did you experience that made


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        1         you feel that this was a hostile and threatening work

        2         environment?

        3     A   Officers that came to me and told me that Lieutenant

        4         McCord had told them not to listen to me and --

        5     Q   What officers came -–

        6     A   Pardon?

        7     Q   I’m sorry.   What officers came to you?

        8     A   Is that something I have to disclose?

        9     Q   Yes.

       10                     MR. SKLAR:   What is the question?    I’m sorry.

       11     Q   (By Mr. Smith)   What officers came to him and instructed

       12         him, well, informed him that McCord told them not to

       13         listen to the direction from Marcellus Ball?

       14                     MR. SKLAR:   Yeah.   If you know, give an answer.

       15          Absolutely.

       16                     THE WITNESS:   I know one for sure and that was

       17         Officer Moore.

       18     Q   First name for Officer Moore?

       19     A   Markala, and it got to the point where Markala was

       20         sitting behind me and Lieutenant McCord moved her across

       21         the room.

       22     Q   Let’s address that real quickly.     Correct me if I’m

       23         wrong.    Did Lieutenant McCord ever have conversations

       24         with you regarding your interactions with Officer Markala

       25         Moore?


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        1     A   Yes, she did.

        2     Q   Okay.    And what was the subject of that conversation?

        3     A   The subject to me, it was several conversations.

        4     Q   Okay.

        5     A   Basically, I’ll just give you one of the concerns.          I

        6         don’t know. I can only speculate, but I believe that she

        7         thought that Markala and I were close.     We were friends

        8         and that she did not like that.    I know that she did not

        9         like that for sure.    I know that personally and she would

       10         always make comments about it.

       11     Q   Well, is it true that you and Officer Markala Moore are

       12         friends?

       13     A   I’m friends. I was friends with everybody involved.

       14     Q   No, no.    I’m just asking about Officer Markala Moore.

       15     A   No, I can’t just say.    Markala Moore is a friend.       I’m

       16         friends with her mother.    I’m friends with her

       17         grandmother. I’m friends, I’m almost like a grandfather

       18         to her child. I have no problem with Markala Moore.

       19         Nothing is inappropriate.    I call her my work daughter.

       20         Markala Moore is a smart individual.     She’s been going

       21         through a lot of things.    She’s accomplished a lot of

       22         things and for her to have the time on the job and to

       23         come to the PDU, that says a lot for her.      She does good

       24         work and I don’t think you’ll find anybody involved in

       25         this case who will say she didn’t, and if anybody wants


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        1         to say that there was something inappropriate, they’re

        2         wrong.

        3     Q   And so when you say “work daughter,” that is pretty

        4         strong language.   That implies somewhat of a familiar

        5         relationship.    Is that a fair takeaway from that kind of

        6         comment, Mr. Ball?

        7                   MR. SKLAR:   I’ll object as to argumentative,

        8         form and foundation.   You can give an answer.

        9                   THE WITNESS:    I’ve had people who call me their

       10         work dad for years. I mean, it’s nothing – it’s a term of

       11         endearment, nothing else.

       12     Q   (By Mr. Smith)   Just to be clear, I’m not trying to imply

       13         anything under current there.    I just want to make sure I

       14         understand when you’re talking about a work daughter, I

       15         understand what you mean by that.

       16     A   I have a couple of guys who I call my work sons.         I mean,

       17         I’m a different type of supervisor.     I have a supervisory

       18         skill that works for me.    I have a supervisory skill that

       19         seems to get the best out of the officers.     It seems to

       20         make them trust me more and I’m always open.      You can

       21         come to me.

       22     Q   I’m sorry.    I don’t want to cut you off, Mr. Ball.

       23     A   Ah-huh.

       24     Q   Were there any other members of the PDU that you

       25         considered like your work daughter or work son?


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                                                                           Page 150
        1     A   No.   I had close friends. Gambril was a close friend.

        2         I’ve been knowing her for a long time.     Jason Kuhar was a

        3         very close friend.   Michael Panackia was a very close

        4         friend.   All these guys were close friends.

        5     Q   And so Mr. Ball, they took away your, you claim they took

        6         away your ability to just do releases in cases that

        7         didn’t have probable cause.    Is it that they took it away

        8         or Lieutenant McCord wanted to review the cases first?

        9     A   No.   She told me I couldn’t do it.    She told me anything

       10         that I had to do, I had to contact her.     I told her what

       11         about when she’s off on the weekends.     She told me you

       12         got to get in contact with me.    You can’t release

       13         prisoners anymore and that was her statement and that had

       14         never happened to me before, period.     Never.

       15     Q   And what other hardship or distress did you suffer from

       16         what you claim as a hostile working environment?

       17     A   There was no more communication between myself and

       18         Lieutenant McCord.   The officers seemed to lose their

       19         respect and they were taking sides.     There was a female

       20         sergeant who was there.    I can’t remember her name now,

       21         but the office became divided and it seemed like I was

       22         the odd man out and I had no problems with that because I

       23         was still trying to do my job, but it made it

       24         increasingly harder to do this with this type of

       25         environment, and like I said, I felt like I was


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        1         ostracized.

        2                     I couldn’t trust anybody.   I stayed to myself

        3         and I tried to do the best that I could until my

        4         retirement date.

        5     Q   And I want to hop down to allegation 37.       It says:

        6                     “Defendants Captain Ian Severy, Lieutenant

        7                Jason Adams and Lieutenant Donna McCord retaliated

        8                against Plaintiff Marcellus Ball because of his

        9                protected activity.”

       10         So tell me how did Captain Severy retaliate against you?

       11     A   How did he retaliate against me?     When I was accused of

       12         rumors and I was reassigned and the system was

       13         circumvented.

       14     Q   Did you have any other acts that you can point to that

       15         Captain Severy committed that you would consider

       16         retaliation?

       17     A   Consider retaliation?

       18     Q   Yes.    Do you have any other acts that you believe were

       19         committed by Captain Severy that you would consider

       20         retaliation against you for what you allege is you

       21         speaking out about these Constitutional violations?

       22     A   Other than the fact that I was attempted to be

       23         reassigned.    Captain Severy and I had limited contact

       24         with each other --

       25     Q   Okay.


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                                                                         Page 152
        1     A   -- and there was one point in time where we spoke and he

        2         asked me, “You don’t have anything else to say?”         I told

        3         him, “I think I’ve said enough,” and that was it.         I just

        4         thought that I just didn’t feel protected at my job

        5         anymore.    I felt like I was, like I say, I felt like the

        6         odd man out.    You could hear rumors.   You could hear

        7         people talking, but I don’t believe rumors even though I

        8         was supposedly spreading rumors.

        9     Q   And so, okay, if I got you right, the only act of

       10         retaliation you had for Ian Severy is his attempt to

       11         assign you out, but I want to be clear.

       12                     MR. SKLAR:   Form and foundation.   That wasn’t

       13         his testimony.    His testimony was more complete than

       14         that.

       15                     MR. SMITH:   Fair point.   I’ll rephrase.

       16     Q   (By Mr. Smith)    To be clear, you were not actually

       17         assigned out, were you, Mr. Ball?

       18     A   No.   I was attempted to.   Like I said, the system was

       19         circumvented and it was rescinded.

       20     Q   Okay.    To your recollection, how did Lieutenant Jason

       21         Adams retaliate against you?

       22     A   Lieutenant Jason Adams when I reported to him, he became

       23         belligerent.    He started yelling at me calling me the

       24         CRTP sergeant.    He told me I didn’t know what I was

       25         doing.    I needed to go back there and focus on learning


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        1         how to be a PDU lieutenant.    He told me that I don’t have

        2         any right to come in there and question him about what he

        3         does and what he doesn’t do or what his crew doesn’t do

        4         and he basically told me that I was inadequate as a

        5         sergeant, and he kept reiterating that all I wanted to do

        6         is have people sign forms to not prosecute, but what he

        7         really didn’t realize is that the CRTP form is a form

        8         that is used as an investigative tool because in order to

        9         get somebody to CRTP, first of all, you have to have

       10         established who the suspect is and then after you

       11         establish who the suspect is, that’s when I would go to

       12         the Prosecutor’s Office and get a witness detainer and

       13         try and legally make this person prosecute and that’s

       14         what the CRTP form is.

       15                   There was nothing wrong with the CRTP.         It was

       16         a good stat because it was a case closer once you got

       17         that person identified and arrested, so for him to call

       18         me that, it bothered me because he didn’t know what he

       19         was saying and that I knew what I was doing and I was

       20         trying to do the best job possible and --

       21     Q   So how did Lieutenant McCord retaliate against you?

       22     A   McCord, like I said, on the basis where she told people

       23         not to listen to me.   She took my responsibilities away.

       24     Q   Thank you.   And so we’re going to to Count II which is

       25         your Monell Claim against the City of Detroit and so I’m


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        1         going to go to allegation 44. It says:

        2                     “At the time of the Constitutional deprivations

        3              described above, Defendant City of Detroit had an

        4              illegal policy or custom of retaliating against and

        5              attempting to silence employees, Like Plaintiff

        6              Marcellus Ball, who exercised their clearly

        7              established First Amendment Constitutional rights to

        8              speak out as citizens on matters of substantial

        9              public concern as described above.”

       10         Mr. Ball, are you aware of a written policy of the City’s

       11         that explicitly states that members of DPD can retaliate

       12         against their co-workers when they speak out about

       13         Constitutional violations?

       14     A   No, sir, I’m not aware of a policy of that.

       15     Q   Okay.    So it’s not a written policy?

       16     A   I’ll say I’m not aware of.

       17     Q   Okay.    And so for No. 44, are you basing this policy on

       18         this unwritten order you say that Lieutenant Adams

       19         essentially created or made or command he gave?

       20                     MR. SKLAR: I’m going to object to form and

       21         foundation.    You can answer if you have one.

       22                     THE WITNESS:   I don’t have an answer for that.

       23         I think that that would be something that, you know,

       24         would be greater covered by my attorney than myself

       25         because they help me and I don’t know if I have an


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        1         adequate answer and I don’t want to answer wrong.

        2                    MR. SKLAR:   You’re not doing anything wrong.

        3         Just answer truthfully.    That’s all you’ve been doing.

        4         You can give your best or go ahead.

        5                    THE WITNESS:   I don’t even have a comment on

        6         that, sir.

        7                    MR. SKLAR:   Okay.

        8     Q   (By Mr. Smith)   I’ll ask again.   What illegal policy or

        9         custom are you referring to when you said the City had an

       10         illegal policy or custom of retaliating against employees

       11         like yourself?

       12                    MR. SKLAR:   Let me just place an objection.

       13         The Complaint speaks for itself, but go ahead and give an

       14         answer if you have one, sir.

       15                    THE WITNESS:   It’s just like it says.      I didn’t

       16         have any problems until I brought these to light,

       17         especially the unwritten policy by Lieutenant Adams.           He

       18         made a policy that everybody in the car goes to jail for

       19         a gun regardless of the circumstances.     Right after I

       20         made these allegations, there was a teletype sent out

       21         describing arrests.     You should have that in your packet

       22         as well.

       23                    I was informed by – strike that.    There were

       24         people going around the precinct saying that they had no

       25         idea of what Lieutenant Adams had done and what he had


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        1         said and these were people who were executive.

        2     Q   (By Mr. Smith)    So the executives didn’t know this was

        3         going on?

        4     A   According to them, yes.    They didn’t know of the

        5         unwritten rule by Lieutenant Adams.     That’s what I was

        6         told.

        7     Q   I’m sorry.

        8                     COURT REPORTER:   Excuse me.   I didn’t get that

        9         because you’re speaking over each other.       Your answer,

       10         please?

       11                     THE WITNESS:   I know that Captain Severy

       12         indicated that he was not aware of it.

       13     Q   (By Mr. Smith)    So at the captain level in the precinct,

       14         Captain Severy wasn’t aware of it, so Lieutenant Adams,

       15         he’s just a lieutenant within SOU.     To your knowledge,

       16         who establishes the Directives and Orders for police

       17         officers in the City?

       18     A   The General Orders are.    We have General Orders.        We have

       19         training manuals and you have to understand that when a

       20         new captain or a new commander comes into a precinct,

       21         they have directives as well and they tell you what their

       22         expectations are.    I don’t think that I have the right to

       23         comment on something like that because that’s not part of

       24         my job responsibility.

       25     Q   Well, I’ll ask you this.      A lieutenant of SOU doesn’t


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        1         have the last word on what a police officer under his

        2         command should or should not be doing.     Correct?

        3                   MR. SKLAR:   I’ll object to form and foundation.

        4          You can answer.

        5                   THE WITNESS:    I don’t believe so, no.

        6     Q   (By Mr. Smith)   But because if the officer who he’s

        7         giving the command to disagrees, he can go to, in this

        8         case, it would be the captain and seek guidance from the

        9         captain about what the lieutenant said if he thinks, if

       10         the officer thinks what the lieutenant said is incorrect.

       11         Isn’t that correct?

       12     A   No.   It’s strange that you brought that up.     The officers

       13         went to, from my understanding, went to the commander and

       14         told him that they no longer wanted to work for

       15         Lieutenant Adams because there were some things going on

       16         between him and Sergeant Brannock.

       17     Q   What commander are you speaking about, Mr. Ball?

       18     A   Commander Stewart, and as a result, Lieutenant Adams was

       19         removed and Sergeant Brannock remained at the SOU SOS,

       20         Special Operations Section.    There was also an officer

       21         who spoke out against Lieutenant Adams and his practices.

       22     Q   Were you privy to that conversation or was this something

       23         you just heard kind of secondhand?

       24     A   It’s not something that I heard secondhand.      Lieutenant

       25         Adams is now working the shift.


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        1     Q   No.    I’m talking about the reason why he’s working the

        2         shift.   Did you hear about the reason why?    Did you hear

        3         that secondhand or someone directly told you that?

        4     A   I heard it secondhand.

        5     Q   Thank you, and so these issues with what you state is

        6         this unwritten order, was it limited to just Lieutenant

        7         Adams?

        8     A   When you say “limited to just Lieutenant Adams,” do you

        9         mean that he’s the only one who made that order?

       10     Q   Yes.   Was it limited to Lieutenant Adams within SOU?

       11     A   I don’t know.    I know that Lieutenant Adams was the one

       12         who issued it.   I can’t tell you who, if anybody else,

       13         issued it or approved it.    I can’t tell you that.       All I

       14         can speak of is to Lieutenant Adams’ actions.

       15     Q   And to your knowledge, you didn’t hear of this or to your

       16         knowledge, you don’t know of this going on in any other

       17         precincts within the Detroit Police Department?

       18     A   I know that there have been investigations into the CCW

       19         arrests of multiple people. I know that I reviewed some

       20         arrest body cam shortly after the memo was sent out after

       21         I made my complaint regarding multiple arrests of people

       22         in cars and having individual probable cause, and I can

       23         remember reviewing some body cam footage where officers

       24         were still attempting to arrest multiple people in

       25         vehicles with guns.


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        1                     In several occasions, I saw myself where two

        2         officers spoke up and said, “Didn’t you just see the memo

        3         that came out?    You can’t do this anymore.   I’m not

        4         taking part of it.”

        5     Q   Now, you said you knew that there was an investigation.

        6         Were you a part of that investigation?

        7     A   What investigation, sir?

        8     Q   You said you knew there was an investigation into the CCW

        9         violations.    Were you contacted by Internal Affairs

       10         regarding any investigation?

       11     A   Yeah.    I talked to Internal Affairs.   Yes, sir.

       12     Q   Okay.    Did you contact Internal Affairs initially?

       13     A   No, I did not.

       14     Q   Do you know who contacted Internal Affairs about these

       15         CCW violations you allege?

       16     A   No, sir.

       17     Q   Okay.    But, again, --

       18                     MR. SKLAR:    Andrae, are you frozen?   If he’s

       19         not frozen, he’s the greatest still actor in the history

       20         of the world.    That’s just incredible.

       21                     COURT REPORTER:   I think he’s frozen.

       22                     MR. SKLAR:    Oh, I’ve been there, usually in the

       23         most unappealing ways.     You know, the face is contorted.

       24         It’s frightening.    There we go.

       25                     MR. SMITH:    I guess it was my turn.   Was it me


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        1         or was it everybody here?

        2                     COURT REPORTER:       Your last question we just

        3         have two words.    You said, “But, again,” and then you

        4         were gone.

        5                     MR. SMITH:    Okay.   I made my graceful exit.

        6     Q   (By Mr. Smith)    Okay.   I want to be clear, Mr. Ball.          You

        7         don’t have any personal knowledge of the Constitutional

        8         violations you allege occurred at No. 10 occurring in

        9         other precincts?

       10     A   Personal knowledge, no.

       11     Q   Okay.    Thank you.

       12     A   If you want to talk about other detectives calling

       13         me –-

       14     Q   You have to wait until a question is asked, Mr. Ball.

       15     A   This was still in regards to the question that you just

       16         asked me.

       17     Q   The question I asked was based on regarding what you have

       18         personal knowledge of.     I think what you are prepared to

       19         offer is what you heard from other detectives and so with

       20         that, I’m going to move on to my next question,

       21         respectfully.

       22     A   Well, that’s not exactly what I was going to say, but go

       23         right ahead.

       24     Q   Thank you so much.    Let’s go down to 46.     I’ll give you

       25         an opportunity to read 46, Mr. Ball.


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        1                     MR. SKLAR:   I don’t think it’s on the screen.

        2                     MR. SMITH:   Oh, yeah.   It got kicked out.       I’m

        3         sorry.

        4                     MR. SKLAR:   Maybe it’s just me.

        5                     MR. SMITH:   When I got kicked out, I need to

        6         come back in and share.

        7     Q   (By Mr. Smith)    Can you see that, Mr. Ball?

        8     A   Yes.    If you could scroll up a little bit.

        9     Q   45.

       10     A   45?

       11     Q   Yes.

       12     A   Okay.

       13     Q   The question is do you have any personal knowledge of the

       14         training that Lieutenant McCord received?

       15     A   Personal knowledge other than the Academy?

       16     Q   Yes.

       17     A   And 24-hour training?

       18     Q   Yes.

       19     A   No.

       20     Q   Okay.    Do you have any personal knowledge of any training

       21         that Captain Severy may have received from the

       22         Department?

       23     A   The same with him.

       24     Q   Okay. Do you have any personal knowledge of any training

       25         that Lieutenant Adams may have received from the


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        1         Department?

        2     A   The same applies to him as well.

        3     Q   You were not assigned out.    Correct?

        4     A   When, sir?

        5     Q   When you had the sit-down with Captain Severy and

        6         Lieutenant McCord.    You were never assigned out.         Is that

        7         correct?

        8     A   I was getting assigned out.

        9     Q   No.    My question is you were not assigned out ultimately?

       10                    MR. SKLAR:   Object to form and foundation.

       11                    THE WITNESS:   At that time, I thought I was

       12         assigned out because I was going on the information that

       13         I received from them, so I was under the impression that

       14         I was assigned out.     That’s what I was told.

       15     Q   (By Mr. Smith)    And is it fair that to your knowledge

       16         somebody stopped you from being assigned out?

       17     A   Somebody stopped me?

       18     Q   Yes.

       19     A   Somebody cancelled it.    I don’t know exactly who, but I

       20         know it was rescinded and if I’m not mistaken, either

       21         Lieutenant McCord or Captain Severy told me that I wasn’t

       22         going anywhere.   I can’t remember which one.

       23     Q   And so after you found out that you were not going to be

       24         assigned out, did you ever report to another unit?

       25     A   No, sir.


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                                                                         Page 163
        1     Q   So you remained at 10th Precinct PDU?

        2     A   I remained at 10th Precinct PDU until July 28th when I

        3         retired.

        4     Q   So let’s talk about that retirement.

        5                    MR. SMITH:   I’m just going to pull up documents

        6         now if you’ll bear with me.     I’m going to stop sharing

        7         here so I can get the documents together.

        8                    Did we lose somebody?   We lost Joel.      Am I

        9         still here?

       10                    THE WITNESS:   I see you.

       11                    COURT REPORTER:   Yes, you’re still there.

       12                    MR. SKLAR:   I’m going to use my phone.       This is

       13         just driving me nuts, so keep going and I’ll just listen

       14         in and I can see you.     I can see (sic) the question.        I

       15         can’t see much else, but this should make things a little

       16         bit quicker.

       17                    MR. SMITH:   Okay.   Brother Counsel, I’m going

       18         to present Exhibit 5 to Mr. Ball which is the Master

       19         Agreement between the City of Detroit and the Detroit

       20         Police Lieutenants’ and Sergeants’ Association.        I’m

       21         going to put that on screen now.

       22                    MR. SKLAR:   Okay.

       23                    (At 3:27 p.m., Defendants’

       24                    Exhibits 5 and 6 marked)

       25                    MR. SMITH:   We’re back on the record, Ms.


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                                                                         Page 164
        1         O’Connor?

        2                     COURT REPORTER:    Yes, we are.

        3                     MR. SKLAR:   Tamara, can I try to still click in

        4         otherwise or do I got to stay on the phone?

        5                     MR. SMITH:   If I may, Joel, one thing I’ve had

        6         success with with these Zooms when you’re having trouble,

        7         you can do the camera portion on your computer and the

        8         listening part with your phone.

        9                     MR. SKLAR:   Okay.   Keep going and I’m going to

       10         try to connect in also.     Okay?

       11                     MR. SMITH:   Okay.

       12     Q   (By Mr. Smith) And so Mr. Ball, I’m presenting to you the

       13         Master Agreement between the City of Detroit and the

       14         Detroit Police Lieutenants’ and Sergeants’ Association

       15         and this is from 2014 to 2019.      I’m only using it for

       16         this point is that you’ve already commented that you were

       17         a member of LSA.    Correct?

       18     A   Yes, sir.

       19     Q   And this is the Collective Bargaining Agreement that

       20         essentially governed your union’s relationship with the

       21         City.    Is that correct?

       22     A   Yes, sir.

       23                     MR. SMITH:   Okay.   I am going to take that one

       24         down and put up Exhibit 6 and Joel if you can hear me,

       25         Exhibit 6 is the Memorandum Of Understanding between the


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                                                                          Page 165
        1         City of Detroit and the Detroit Police Lieutenants’ and

        2         Sergeants’ Association.

        3                     MR. SKLAR:    I got it.

        4     Q   (By Mr. Smith)      And I just want to read from the first

        5         subsection.    It says:

        6                     “Extension of 2014-2020 Master Agreement.”

        7                     MR. SMITH:    I’m going to admit you here, Joel.

        8                     MR. SKLAR:    Okay, thanks.   I apologize.      I’ll

        9         stay on it until I’m on the other one, I guess.

       10                     MR. SMITH:    Just turn the sound down on your

       11         computer and you can keep the sound on on your phone.

       12                     MR. SKLAR:    Okay, that’s great.   Okay.      Let me

       13         mute.    Hold on.   Is that better?

       14                     MR. SMITH:    Yes, we’re good.

       15     Q   (By Mr. Smith) And so Mr. Ball, I’m going to read the

       16         Extension of 2014-2020 Master Agreement.        It says:

       17                     “The terms and conditions of the 2014-2020

       18              Master Agreement between the City of Detroit and

       19              DPLSA (“Master Agreement”) shall be extended,

       20              subject to the amendments specified in this MOU,

       21              until June 30, 2022.”

       22         Now, I’m going to go down to subsection VI which talks

       23         about the DROP Plan?

       24     A   Yes, sir.

       25     Q   Okay.    I’m going to read this really quickly.


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                                                                         Page 166
        1                     “The City of Detroit shall use its best efforts

        2              to obtain Bankruptcy Court approval to modify its

        3              confirmed bankruptcy plan of adjustment to permit it

        4              to amend Article 12 of the Combined Plan for the

        5              Police and Fire Retirement System of the City of

        6              Detroit, (“Combined PFRS Plan”), such that any

        7              Member meeting certain qualifications may

        8              participate in the DROP program for a maximum of ten

        9              (10) years.    Such amendments will not affect those

       10              Members who are current,” it should say currently,

       11              “currently grandfathered into the unlimited DROP

       12              program.    To facilitate this change, the City of

       13              Detroit shall seek approval to amend Section 12.1 of

       14              the Combined PFRS Plan to add a new paragraph (3)

       15              along the following lines.”

       16         And I won’t read all that.    I don’t think that’s really

       17         relevant for what we need.

       18     A   Okay.

       19     Q   But the point I wanted to take out of there is:

       20                     “The City of Detroit shall use its best efforts

       21              to obtain Bankruptcy Court approval to modify its

       22              confirmed bankruptcy plan.”

       23     A   Yes, sir.

       24     Q   So based on that language, it’s fair to say that to

       25         adjust the pension under the Police and Fire Retirement


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                                                                          Page 167
        1         System, we need to get approval from the Bankruptcy

        2         Court?

        3     A   That’s my understanding.

        4     Q   Okay.    So there can’t be any changes made to your pension

        5         without approval from the Bankruptcy Court first?

        6     A   As regarding to the DROP.

        7     Q   Regarding to the DROP.    Now, in the next line it says –

        8         and you were in the DROP Program.     Correct?

        9     A   Yes, I was.

       10     Q   Okay.    And so the next line says:

       11                     “Any Member meeting certain qualifications may

       12              particulate in the DROP Program for a maximum of ten

       13              (10) years.”

       14         So that line is clear that you can only participate in

       15         DROP for ten years.    Is that pretty clear to you?

       16     A   Yes, sir.

       17     Q   Okay.    I’m going to now present to you Exhibit 4,

       18         Defendants’ Exhibit 4.

       19                     (At 3:37 p.m., Defendants’

       20                      Exhibit 4 marked)

       21     Q   (By Mr. Smith)    The document that I’m presenting to you,

       22         I’m purporting it to be the DROP Election Form that you

       23         initially signed when you signed up for the DROP Program.

       24         Now, there’s some changes here.    I’ve redacted out your

       25         personal information because I don’t want your Social


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        1         Number and Pension Number to get out.

        2     A   Okay.

        3     Q   Okay.    So what do you understand the DROP Plan to be?

        4     A   The DROP Plan was a supplement to our pension and you

        5         could participate for up to ten years at the time.           The

        6         City would get a certain percentage of it and at the end

        7         of the ten years, you would no longer be in the DROP

        8         Plan.

        9     Q   Okay.    Did you also understand that at the end of that

       10         ten years, you essentially would leave, that you would

       11         have to exit the City?    You would have to exit your

       12         employment?

       13     A   Yes.

       14     Q   Okay.    And when do you recall signing up for the DROP

       15         Plan?

       16     A   On the 28th of July, 2011, I believe.

       17     Q   Okay.    And so I’m going to present to you, I believe I’m

       18         sharing it.    Did I stop sharing?   No, it’s there, and so

       19         I’m going to give you a chance – can you see that?           Too

       20         small?

       21     A   I can see it, sir.

       22     Q   Okay.    I’ll give you a chance to review that.      This

       23         should be a blast from the past for you.

       24     A   Yes.

       25     Q   Okay.    Is this your signature on this document?


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                                                                         Page 169
        1     A   Yes, it is.

        2     Q   Okay.    And who is this signed by?   Who is this person

        3         that it’s signed by?

        4     A   I believe she’s from the Retirement Systems.

        5     Q   Okay.    And this what’s called a DROP Election Form, I see

        6         it’s signed June 17th of 2011?

        7     A   Yes, sir.

        8     Q   Okay.    And I want to direction your attention to Step 2 –

        9         DROP Election Date.

       10     A   Ah-huh.

       11     Q   Here I believe that’s a 7?

       12     A   Yes, sir.

       13     Q   28-2011.    Who chose that date?

       14     A   That’s my date of hire.

       15     Q   Say that - I’m sorry, I didn’t catch that. Say that one

       16         more time, Mr. Ball?

       17     A   That’s my hiring date.    That’s when I started.

       18     Q   With the City?

       19     A   Yes, sir.    No, 2011?   No.   I’m looking for 1986.

       20     Q   That says July it looks like a 7.     It says, “July 28,

       21         2011.”

       22     A   Right.

       23     Q   And I’ll ask the question again.      My question is who

       24         selected that date?

       25     A   I think the Retirement System did, sir.


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                                                                          Page 170
        1     Q   Okay.    Bear with me one second here.   Bear with me, Mr.

        2         Ball.

        3     A   Okay.

        4     Q   So that date was selected and so I just want to read a

        5         little bit of this.    In that first section where it says

        6         DROP Election Date, it says:

        7                     “I am eligible for 25-year service retirement.”

        8     A   Yes.

        9     Q   So when you signed up for the DROP Program, you were

       10         eligible to retire at that time?

       11     A   Yes.    That’s what that means.   That would be my 25th

       12         year.

       13     Q   Okay.    And then I want to go to the Member

       14         Acknowledgement.    It says:

       15                     “I irrevocably elect the above DROP election

       16                date for participation in the Deferred Retirement

       17                Option Plan (DROP) of the Police and Fire Retirement

       18                System of the City of Detroit. I have read and

       19                understand the “Guidelines for Making the DROP

       20                Decision.”   I have had an opportunity to consult

       21                with my own personal financial advisor.     I

       22                understand that I cannot change my DROP election

       23                after this form is received by the System.       I also

       24                understand and acknowledge that due to the time

       25                necessary to properly establish and record keep my


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                                                                         Page 171
        1               DROP, there may be an administrative delay between

        2               my DROP election and when funds are first allocated

        3               to my DROP account.     By signing below, I acknowledge

        4               that I have read and understand this statement.”

        5         So the question is from what I’ve just read and given

        6         your signature there, you understood that once you signed

        7         up for the DROP Program, there was no getting out?

        8     A   Getting out?

        9     Q   In the sense of that you couldn’t revoke the decision to

       10         exit the DROP Plan.      Once you signed up, you were in it

       11         at the time you executed that document?

       12     A   At the time I signed, yes.

       13     Q   Did I miss your answer, Mr. Ball?     I hope I’m not frozen.

       14     A   At the time I signed this, that was my understanding.

       15     Q   Okay.    And at the time you signed this document back in

       16         2011, was it ten years you could be in the DROP or was it

       17         a different number?

       18     A   I believe it was ten years.

       19     Q   Could it possibly have been five?

       20     A   No.   I think mine was ten.

       21                     COURT REPORTER:   We lost Mr. Sklar again.

       22                     MR. SKLAR:   Hello.

       23     Q   (By Mr. Smith)    And I’ll keep going and so Mr. Ball, once

       24         you were in DROP, did you start to receive some kind of

       25         paymentwas a result of being in the DROP Plan?


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                                                                         Page 172
        1     A   You didn’t get an actual payment.     Mine was put into your

        2         DROP account and you weren’t able to access it until you

        3         totally separated from the Department.

        4     Q   Okay.    And so was it your understanding that at the end

        5         of that ten years that you would have to leave your

        6         employment with the City of Detroit?

        7     A   Had to at that time, but that’s the language, yes.

        8     Q   Okay.    So when did that ten years run?   What was the date

        9         to your knowledge that that ten years was up?

       10     A   July 28, 2021.

       11     Q   Okay.    So you’ve known for a number of years that you

       12         would have to leave your employment with the City by July

       13         28th, 2021.    Is that fair to say?

       14     A   Yes.

       15     Q   So when you were having your issues with what you allege

       16         are these Constitutional violations, this was I want to

       17         say after I believe you said was May 2021.     Correct?

       18     A   Yes, sir.

       19     Q   You knew you were going to be leaving the City in July of

       20         2021.    Correct?

       21     A   That’s not actually correct.

       22     Q   Okay.    Why is that incorrect?

       23     A   Because they had started negotiating and there was talk

       24         of an extension and when I spoke to Mark Young from the

       25         LSA regarding this, he told me yes, there was a good


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                                                                         Page 173
        1         possibility and his words to me was that “I was all

        2         right,” and I said what do you mean “I’m all right?”

        3                     He said, “You’re not going anywhere.”      So I

        4         said, “Okay.”    He sent the --

        5                     COURT REPORTER:   Excuse me.

        6                     THE WITNESS:   That I was not going anywhere and

        7         that I was safe.   He told me that the Bankruptcy Judge

        8         had the petition on his desk and was going to sign and

        9         that I was safe.   Ironically, after my retirement date,

       10         it was signed after I retired.    I was, you know, due to

       11         the DROP Plan, I had to leave and I just found it ironic

       12         that after I left, then it was signed and all he had to

       13         do was call, write the letter to the Chief and appeal to

       14         him for five more years and I was never afforded that

       15         opportunity.

       16     Q   (By Mr. Smith)   But we just and I’ll go back here and can

       17         you see my screen?

       18     A   Yes, sir.

       19     Q   Just so I’m clear, the extension of the DROP Plan being

       20         on the Bankruptcy Judge’s desk is not the same as him

       21         actually signing it and giving it force and effect.

       22         Would you agree with that?

       23                     MR. SKLAR:   I’ll object to form and foundation.

       24                     THE WITNESS:   I don’t know what the process is

       25         with him signing it, but if that is the process, then


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                                                                         Page 174
        1         yes.

        2     Q   (By Mr. Smith)    Okay.    And clearly in here it says the

        3         City of Detroit and I’m reading from the subsection on

        4         DROP Plan.

        5                     “The City of Detroit shall use its best efforts

        6                to obtain Bankruptcy Court approval to modify its

        7                confirmed bankruptcy plan of adjustment to permit it

        8                to amend”, essentially the retirement fund.

        9         And so, again, in order for you to have made that cutoff,

       10         the Bankruptcy Court would had to have approved the

       11         extension prior to your DROP date.     Is that correct?

       12                     MR. SKLAR:    I’ll object to form and foundation.

       13         Calls for a legal conclusion.

       14                     THE WITNESS:   I can’t be certain because like I

       15         said, they were in negotiations with getting it extended

       16         and I don’t know the process.     I don’t know what was

       17         agreed.    I just know that July 28th I was gone.

       18     Q   (By Mr. Smith)    Just for the record, Mark Young, he’s not

       19         the Bankruptcy Judge.      Correct?

       20     A   Mark Young?

       21     Q   Yes.

       22     A   He works in negotiations with the Bankruptcy Judge, sir.

       23     Q   Okay.    And the question I now have is you’ve heard of the

       24         Police and Fire Retirement System of the City of Detroit?

       25     A   Yes.


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                                                                          Page 175
        1     Q   Okay.    That’s who administers your retirement plan.

        2         Correct?

        3     A   Yes.

        4     Q   Did you know that the Police and Fire Retirement System

        5         City of Detroit is not actually a city entity?

        6     A   No, I didn’t know that.

        7     Q   Okay.    Did you know that it is its own legal, separate

        8         entity?

        9     A   I knew that part, yes.    I thought it was in conjunction

       10         with the City.    I thought that they worked together.

       11                     MR. SKLAR:   They do.

       12                     MR. SMITH:   A brief pause, Brother Counsel.           I

       13         want to confer with Counsel here real quickly, my Co-

       14         Counsel.

       15                     (At 3:48 p.m., recess taken)

       16                     MR. SMITH: Okay.   Brother Counsel, are you

       17         there?

       18                     MR. SKLAR: I’m here.

       19                     (At 3:50 p.m., back on the record)

       20     Q   (By Mr. Smith)    So I’m going to stop sharing screen so I

       21         can put the Complaint back up.      So I’m going to share

       22         Exhibit 2 again.

       23                     Okay, Mr. Ball.    I want to discuss what you

       24         assert your damages are.      I just want to discuss with you

       25         what you assert your damages are, Mr. Ball.       Can you see


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                                                                          Page 176
        1         what’s on my screen?

        2     A   Yes, sir.

        3     Q   Now, this is what you’re requesting as far as relief,

        4         legal relief:

        5                     a. a judgment for lost wages and benefits.”

        6         What wages did you lose as a result of the violation of

        7         the Constitutional – I guess, what wages did you lose as

        8         a result of the retaliation you say occurred?

        9     A   As a result of the retaliation?    I don’t think that I

       10         actually lost any wages due to the retaliation other than

       11         the fact that I had stopped working overtime.        My claim

       12         was that I lost wages and suffered other damages due to

       13         the fact that I believe that it was purposely set that

       14         after I retired, then they reinstated the DROP Program

       15         where you could request an extension.

       16     Q   Okay.    So I just want to make sure I’m clear.      A part of

       17         your damages is your belief that you were forced to DROP

       18         and then they came and they got approval to do extensions

       19         on the DROP Program and you couldn’t benefit from that.

       20         Is that fair?

       21     A   Yes.    After my conversations with Mark Young who told me

       22         that I was safe –-

       23     Q   And, again, Mark Young is – I’m sorry.     I don’t mean to

       24         step on you, Mr. Ball.    Finish your comment.

       25     A   No, go ahead.


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                                                                         Page 177
        1     Q   I’m sorry.    Just when I share documents, it makes the

        2         screen small and there’s a little bit of a delay, so when

        3         it seems like you’re done talking and I start, then I see

        4         that you’re still talking so I’m sorry for that.

        5                     So what benefits do you felt like you lost as a

        6         result of this litigation or the damages you claim you

        7         suffered?

        8     A   Like I told you before, I believe that the extension was

        9         approved after I got – I left.    I found that to be ironic

       10         and I don’t know exactly what day the extension was

       11         approved by the Bankruptcy Judge, but I just find it

       12         ironic and after I did leave, you know, I had to find

       13         insurance for myself which was in excess of $1,000 a

       14         month

       15                     I lost income because I was no longer on the

       16         DROP Plan.    You know, it was just, you know, I had to

       17         seek other employment.    I had to relocate.   There was a

       18         lot of things going on after this and I’m sure that my

       19         attorney can address a little bit more of this than I

       20         can, but I’m just going on what my belief is and, of

       21         course, that’s something to be litigated between yourself

       22         and my attorney.

       23     Q   And question.    What was your monthly pension payment once

       24         you essentially left the City and your DROP participation

       25         ended?


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                                                                         Page 178
        1      A   Approximately, $4,000 dollars.

        2      Q   Is that monthly?     How is that --

        3      A   Yes.

        4      Q   Monthly

        5      A   Yes, sir.

        6      Q   Okay.     And what was your monthly income as a sergeant?

        7      A   As a sergeant, I was making over $100,000 and some

        8          thousand dollars a year with overtime.

        9      Q   Okay.     Without overtime, what would your salary have

       10          been?

       11      A   Probably it was $69,000 dollars a year.

       12      Q   And did you have any stocks, bonds, any things of that

       13          sort?

       14      A   Yes, I do.

       15      Q   What about an annuity?

       16      A   Yes.

       17      Q   And so what’s the value of the annuity?

       18      A   Post or pre-divorce?

       19      Q   Post-divorce will be fine.

       20      A   Post you said?

       21      Q   Yes.

       22      A   About $169,000 dollars.

       23      Q   Okay.     And so how much do you get a month from that

       24          annuity?

       25      A   I don’t get anything from it.     It’s upon request.


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                                                                         Page 179
        1     Q   Upon request, and when were you divorced again?

        2     A   2011.

        3     Q   And what is the value of the stocks?     Again, let me

        4         preface it by saying I don’t expect you to give it to me

        5         down to the dollar amount because you don’t have a

        6         calculator.    Give me an estimate what you believe the

        7         value of your stocks are?

        8     A   Right now?

        9     Q   Yes.

       10     A   Maybe $160,000.

       11     Q   And do you receive any, do you typically cash any of

       12         those stocks in or you just kind of let the market do

       13         what the market does?

       14     A   I let the market do what it does.     The only time I

       15         touched any of that is when my daughter was in school and

       16         I took money out for that.    That was it.

       17     Q   And so earlier I do believe you said that with your new

       18         job you got medical benefits, so I’m trying to see what

       19         the gap was between you getting medical benefits with the

       20         new job versus when you left the DROP Plan, so that’s

       21         kind of where I’m heading here.    So when you leave the

       22         City, does the City give you medical benefits?        Do you

       23         have access to medical benefits?

       24     A   No. You get like medical benefits for 30 days and, you

       25         know, I’m on certain medications and those medications


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                                                                         Page 180
        1         are very expensive and I had to come out of my pocket

        2         substantially for those.

        3     Q   So how long were you without medical benefits before the

        4         medical benefits kicked in at your new job?

        5     A   I didn’t start my new job until November.

        6     Q   So is it fair to say that entire period before November

        7         you didn’t have medical benefits?

        8     A   No.   I had generic insurance, the plans, and they just

        9         didn’t do anything.      It was horrible.

       10     Q   Is that something you pay out-of-pocket for?

       11     A   Yes, sir.

       12     Q   And what economic loss are you claiming that you suffered

       13         as a result of what you allege in this litigation?

       14     A   Economic loss?   I had to uproot myself.    I had to move.

       15         I had to come all the way across Michigan to Atlanta to

       16         seek out employment just so that I could have, you know,

       17         good medical.

       18     Q   Where did you live prior to leaving for Atlanta?

       19     A   In Southfield.   Now, I’m paying for an apartment and I’m

       20         paying my house note.

       21     Q   So you still own the house in Southfield?

       22     A   Yes, sir.

       23     Q   It’s a hot real estate market right now.     Are you

       24         attempting to sell that home?

       25                     MR. SKLAR:   I’ll object to form and foundation.


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                                                                         Page 181
        1                     THE WITNESS:   At the moment, no because it’s a

        2         hot real estate market everywhere and the prices are

        3         going up as we speak.      Georgia is fine.

        4     Q   (By Mr. Smith) And so is the only economic loss that you

        5         allege to have is in reference to you having to move to

        6         Atlanta in pursuit of the new job?

        7     A   Economic loss as far as insurance.     Now, I’m paying for

        8         two homes instead of one.     It’s a lot but, you know, it

        9         is what it is at this point in time.

       10     Q   Okay.    In some of your claims you allege and, for

       11         instance, I’ll got to No. 54.     You allege and here it

       12         talks about you:

       13                     “Suffered economic loss, lost wages, non-

       14              economic injuries, including but not limited to,

       15              mental anguish, physical and emotional distress,

       16              humiliation, mortification, outrage, embarrassment,

       17              anxiety, depression, degradation, fear, loss of

       18              enjoyments of life, loss of earnings, and other

       19              damages.”

       20         So in regards to the physical and the mental injuries you

       21         allege to have suffered, the non-economics, did you treat

       22         with any medical professionals regarding any injuries you

       23         allege you claim or you allege you suffered?

       24     A   I didn’t have insurance.

       25     Q   So is that a no, you did not treat with any medical


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                                                                            Page 182
        1         professionals regarding the injuries you allege to have

        2         sustained?

        3     A   No.    I basically self-medicated.    I had friends who were

        4         psychologists.    I would speak to them.      You know, I

        5         consulted with them, but with the situation as is.

        6     Q   What was the name of – you said you had a friend who was

        7         a psychologist.    What was the name of the psychologist

        8         that you spoke to?

        9     A   I would rather not disclose her name. She doesn’t even

       10         live here.

       11                     MR. SKLAR:    That’s okay.   Marcellus, you should

       12         disclose the name.

       13                     THE WITNESS:   Okay.   Marsha.

       14     Q   (By Mr. Smith)    And can you spell that for me, Mr. Ball?

       15     A   Yes.    M-a-r-s-h-a.

       16     Q   Last name?

       17     A   Hold on one second.      Rowe.   R-o-w-e.

       18     Q   And is it Dr. Marsha Rowe?

       19     A   No.

       20     Q   Okay.    And where is her practice located?

       21     A   She’s in California.

       22     Q   What city?

       23     A   Where does she live or –-

       24     Q   Yeah.    Just the city.    You can tell me --

       25     A   I don’t know where her practice is.         I just know she’s in


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                                                                          Page 183
        1         California.

        2     Q   Okay.    What city in California?   What city does she

        3         reside in?

        4     A   She lives in Fontana.

        5     Q   Fontana.    And so when you treated with her, did you speak

        6         with her on the phone, Zoom with her?     How did you

        7         communicate with her?

        8     A   When you say “treated,” we spoke.     We were friends and we

        9         were in a relationship and she would notice things about

       10         me and she would talk with to them about me as far as

       11         being depressed and so forth.

       12     Q   So let me understand this right.     Ms. Rowe was your

       13         girlfriend?

       14     A   At the time we were in a dating relationship.

       15     Q   Okay.    Is there anyone else that you treated with?

       16     A   No.

       17     Q   Now, earlier you talked about medication being expensive.

       18     A   Yes.

       19     Q   What were those medications?

       20     A   Anti-rejection medicine.

       21     Q   Do you happen to know the name of that medication, either

       22         the common name, generic version?

       23     A   Mycophenolic.    Let me go get the bottle.     I can give you

       24         the exact name.    One second.   It’s right here. Okay.

       25         It’s spelled M-y-c-o-p-h-e-n-o-l-i-c and it has acid.


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                                                                         Page 184
        1     Q   And Mr. Ball, I’m going to ask this question very

        2         carefully because -–

        3                     MR. SMITH:   Brother Counsel, I’ll send a

        4         request, I’ll send a HIPAA over.

        5     Q   (By Mr. Smith)    Was this medication used to treat you and

        6         you don’t have to disclose now the illness which this

        7         medication treats, but was this medication to treat an

        8         illness that occurred before you retired or you separated

        9         from the City or after you separated from the City?

       10     A   Both.    It happened before I retired and I can tell you.

       11         I have no problem telling you.    I had a kidney

       12         transplant.

       13     Q   When did you have the kidney transplant?

       14     A   I had two.    The last one was in 2010.

       15     Q   And so is it fair to say you take several different

       16         medications in relationship to that kidney surgeries?

       17     A   Yes, sir.

       18     Q   Are there any other medications that you were taking not

       19         related to the kidney surgery?

       20     A   No.   I take blood pressure medicine, but that’s, you

       21         know, in conjunction with the kidney because you have to

       22         regulate your blood pressure, so.

       23     Q   Did you have an expectation that you would receive

       24         medical benefits from the City once you dropped?

       25     A   All of us did.    That’s what we signed up for.     Everybody


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                                                                          Page 185
        1         who signed up for the job had the expectation of medical

        2         benefits after they retired.

        3     Q   But was that expectation not adjusted by the Bankruptcy

        4         Court doing the bankruptcy?

        5     A   Yes, sir.

        6                     MR. SMITH:   Joel, give me a couple minutes with

        7         my Co-Counsel and I’m gonna see if there’s a few more

        8         additional questions I need to answer here.

        9                     (At 4:09 p.m., recess taken)

       10                     (At 4:11 p.m., back on the record)

       11                     MR. SMITH:   Okay.   I’m back on here.     Okay.

       12     Q   (By Mr. Smith)    Mr. Ball, I just want to be clear.         So

       13         after the City left bankruptcy, did that change the fact

       14         that you were going to be entitled to the same benefit

       15         that you signed up for?    Is that fair to say?

       16     A   Yes.

       17     Q   Okay.    And so after – I know you might have come in the

       18         door expecting that you would have benefits after you

       19         retired, but once the Bankruptcy Court got involved, you

       20         didn’t have that same expectation after bankruptcy, did

       21         you?

       22     A   I had the expectation.    I was hopeful that they would

       23         work things out and from what I understand, they’re still

       24         trying to work things out, so I still have – I’m hopeful

       25         right now.    I don’t really have that much of an


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                                                                         Page 186
        1         expectation right now because my expectation is not

        2         helping me with my medical costs.

        3     Q   Are you aware of any of your colleagues who may have

        4         retired, you know, recently that received benefits,

        5         medical benefits when they retired?

        6     A   No.    I don’t really associate with anybody who is

        7         retired.

        8                     MR. SMITH:   Okay.   I have no further questions

        9         at this time, Mr. Ball.

       10                     MR. SKLAR:   Mr. Ball, I got a few to follow-up.

       11         Could we keep the Complaint up and go to Paragraph 17,

       12         please?

       13                     MR. SMITH:   Sure.

       14                           EXAMINATION

       15     BY MR. SKLAR:

       16     Q   Marcellus, can you take a look at Paragraph 17 and I’ll

       17         let you read it for a sec.

       18     A   Okay.

       19     Q   And I don’t believe you were asked about this paragraph

       20         during your deposition.    You allege that there was an

       21         unwritten “Order” and practice to arrest all occupants of

       22         a vehicle when a gun was found.     Correct?

       23     A   Yes.

       24     Q   And did you believe that that unwritten order and/or

       25         practice was a violation of the Constitution?


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                                                                         Page 187
        1     A   I believed, yes.      I believed that it violated people’s

        2         rights because there was no individual probable cause.

        3     Q   Now, in your job you look at individual cases on a case-

        4         by-case basis.    Correct?

        5     A   Yes, sir.

        6     Q   Is it part of your ordinary job duty to critique or

        7         criticize orders, written or otherwise?

        8     A   No.

        9     Q   Is it your job within your ordinary job duties to

       10         determine whether or not a order, written or unwritten,

       11         is constitutional or unconstitutional?

       12     A   No.

       13     Q   Is it fair to say that your speech and complaints in this

       14         case were extraordinary for you?

       15     A   Yes.

       16     Q   Okay.    Excellent.   Do you have a child?

       17     A   A child?

       18     Q   A son.

       19     A   I have a daughter.

       20     Q   A daughter.    Forgive me.

       21     A   Yeah.

       22     Q   Did you have any concern that your daughter may be

       23         impacted by this unconstitutional order, policy, or

       24         practice that you allege in Paragraph 17?

       25     A   Very concerned because it was getting a lot of positive


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                                                                          Page 188
        1         and negative criticism and, you know, my daughter, you

        2         know, she was worried about it.      My daughter has epilepsy

        3         and one of the ways that her epilepsy can be brought on

        4         is through stress and I was doing everything in my power

        5         to alleviate that stress from her because I didn’t want

        6         her to be worried and he was.

        7                     She still is.   She still asks questions and I

        8         think she finds a little relief now knowing that I am now

        9         in Georgia now and away from Detroit.

       10     Q   Okay.    Good.   And when you made your complaints and

       11         reports of what you thought was unconstitutional policy,

       12         practice or order, when you went to the Wayne County

       13         Prosecutor, was that outside your chain of command?

       14     A   Yes.

       15     Q   Okay.    And when you spoke out, did you speak out as a

       16         citizen on a matter of public concern as far as you knew

       17         or as an employee of the City of Detroit?

       18     A   As far as I knew, I was speaking out as, you know, a

       19         citizen.

       20     Q   Okay.    Good.

       21                     MR. SKLAR:   I have nothing else.

       22                     MR. SMITH:   Okay.    I do have some additional

       23         questions.

       24                          RE-EXAMINATION

       25     BY MR. SMITH:


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                                                                         Page 189
        1     Q   Mr. Ball, how old is your daughter?

        2     A   Twenty-four.

        3                   MR. SMITH:   I have no further questions.         Thank

        4         you for your time, Mr. Ball.

        5                   (At 4:16 p.m., deposition concluded)

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                               C E R T I F I C A T I O N

            STATE OF MICHIGAN)

            (COUNTY OF OAKLAND)



                        I certify that this transcript, consisting of

            190 pages, is a complete, true and correct record of the

            deposition testimony of MARCELLUS BALL taken in this case by

            Zoom video conferencing on Wednesday, February 23, 2022. The

            term “inaudible” is used where audio fades out or audio

            interference causes testimony to be unintelligible.

                        I further certify that prior to taking this

            deposition, MARCELLUS BALL was duly sworn to tell the

            truth, the whole truth and nothing but the truth.



            2-23-22       Tamara A. O'Connor
            _________   ____________________________________________

            Date           TAMARA A. O'CONNOR, CSMR-2656, CER-2656

                           Notary Public

                           My Commission Expires: 6-25-27

            to*




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